                                           UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF KANSAS
                                                   WICHITA DIVISION

              In re: WB SERVICES, LLC                                                           § Case No. 16-10759
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on April 28, 2016. The undersigned trustee was appointed on April 28, 2016.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $            1,128,462.90

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                           59,763.33
                                    Administrative expenses                                         191,525.67
                                    Bank service fees                                                37,891.84
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                         0.00
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $               839,282.06
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)


                           Case 16-10759              Doc# 568          Filed 08/16/21           Page 1 of 95
               6. The deadline for filing non-governmental claims in this case was 08/15/2016
       and the deadline for filing governmental claims was 02/11/2017. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $55,310.99. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $55,310.99, for a total compensation of $55,310.99.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $9,203.72
       and now requests reimbursement for expenses of $1,122.83, for total expenses of
                  2
       $10,326.55.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 08/13/2021                    By: /s/Carl B. Davis
                                               Trustee, Bar No.: 13705




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)


                           Case 16-10759              Doc# 568           Filed 08/16/21           Page 2 of 95
                                                                                                                                                        Exhibit A


                                                                       Form 1                                                                           Page: 1

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 16-10759                                                          Trustee:        (360110)     Carl B. Davis
Case Name:       WB SERVICES, LLC                                              Filed (f) or Converted (c): 04/28/16 (f)
                                                                               §341(a) Meeting Date:        05/23/16
Period Ending: 08/13/21                                                        Claims Bar Date:             08/15/16

                               1                                2                         3                      4              5                   6

                    Asset Description                        Petition/           Estimated Net Value         Property       Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)          Unscheduled      (Value Determined By Trustee,   Abandoned       Received by     Administered (FA)/
                                                              Values           Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                             and Other Costs)                                         Remaining Assets

 1       Bank of Oklahoma-Operating Account x3475                    0.00                     Unknown                                0.00                   FA

 2       Bank SNB                                                    0.00                         0.00                               0.00                   FA

 3       Bank SNB-Flexible Spending holding account                  0.00                     Unknown                                0.00                   FA

 4       Bank SNB-Operating Account x4640                            0.00                         0.00                               0.00                   FA

 5       Bank SNB-Payroll Account                                    0.00                         0.00                               0.00                   FA

 6       Legacy Bank-Operating Account x9397                         0.00                         0.00                               0.00                   FA

 7       Simmons First-Checking Account x5090                        0.00                         0.00                               0.00                   FA

 8       Simmons First-Operating Account x5872                       0.00                  35,853.71                            35,813.71                   FA

 9       Simmons First-Flexible Spending holding account             0.00                         0.00                               0.00                   FA

10       Simmons First-Payroll Account x0877                         0.00                         0.00                               0.00                   FA

11       Simmons First x4434                                         0.00                         0.00                               0.00                   FA

12       Pre-paid insurance account with IMA                         0.00                         0.00                               0.00                   FA

13       Chevy Colorado (See Footnote)                         16,546.95                   16,546.95                                 0.00                   FA

14       2015 Chevy Silverado VIN 1GC1KUE82FF161766.           46,143.08                   46,143.08                            36,500.00                   FA

15       2015 Chevy Silverado VIN 1GC1KUE88FF162002            46,143.08                   46,143.08                            32,000.00                   FA

16       2015 Chevy Silverado VIN 1GC1KUE84FF160733            46,143.08                   46,143.08                            37,000.00                   FA

17       2014 E-Z-Go Express S/N 3088191                        9,000.00                      9,000.00                               0.00                   FA

18       2015 Kia Optima VIN XXGM4A70FG353805                  21,969.78                   21,969.78                             8,800.00                   FA

19       2015 Kia Optima VIN XXGM4A78FG357133                  21,969.78                   21,969.78                             7,400.00                   FA

20       2014 GMC Sierra VIN 3GTU2VEC4EG502105 (See            49,182.61                   11,343.95                                 0.00                   FA
         Footnote)

21       2009 GMC Sierra VIN 3GT3K33M99G241466                 14,507.04                   14,507.04                             8,250.00                   FA

22       2009 GMC Sierra VIN 3GT3K33M59G257373                 14,507.04                   14,507.04                            12,900.00                   FA

23       2004 GMC 2500 HD VIN 1GTHK23U94F189709                25,583.00                   25,583.00                                 0.00                   FA
         (See Footnote)

24       2007 Denali XL VIN 1GKFK66897J398242                  57,133.00                   57,133.00                             5,500.00                   FA

25       2011 Denali VIN 1GKS2MEF7BR230242 (See                47,007.72                   47,007.72                                 0.00                   FA
         Footnote)



                                          Case 16-10759             Doc# 568          Filed 08/16/21             Page 3 Printed:
                                                                                                                        of 9508/13/2021 04:33 PM         V.20.34
                                                                                                                                                            Exhibit A


                                                                           Form 1                                                                           Page: 2

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                                                                   Values          Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                                 and Other Costs)                                         Remaining Assets

26       2011 GMC Sierra VIN 1GT12ZCG9BF138969                      35,979.51                   35,979.51                           10,000.00                   FA

27       2004 Ford F250 Super Duty VIN                              10,821.20                   10,821.20                            2,500.00                   FA
         3FTNF20L54MA13744 (See Footnote)

28       2001 GMC Sierra 2500 HD VIN                                 9,500.00                      9,500.00                          2,700.00                   FA
         1GTHC29U71E224060

29       2012 GMC Sierra Denali VIN 3GTP2XE27CG138579               51,807.68                   51,807.68                           19,100.00                   FA
         (See Footnote)

30       2013 Acura MDX VIN 2HNYD2H37DH511590 (See                  49,819.32                   49,819.32                           12,500.00                   FA
         Footnote)

31       2013 Ford F150 VIN 1FTFW1ET7DFB90397 (See                  40,734.21                   11,185.65                                0.00                   FA
         Footnote)

32       2012 Ford Expedition VIN 1FMJU2A5XCEF45365                 52,744.01                   32,661.14                                0.00                   FA
          $60,248.61 lien split with asset no 33 and 34. (See
         Footnote)

33       2013 Ford F150 Platinum VIN 1FTFX1CF2DKD25206              57,838.37                   37,755.50                                0.00                   FA
          Ford Credit $29,548.56 and TD Auto Finance
         $60,248.61 - $60,248.61 lien split with asset no. 32
         and 34. (See Footnote)

34       2011 Ford F350 Super VIN 1FT8W3DT0BEA21475                 50,000.00                   29,917.13                                0.00                   FA
          $60,248.61 lien split with asset no. 32 and 33 (See
         Footnote)

35       2012 Jeep Wrangler VIN 1C4HJWDG2CL261322                   40,609.85                   40,609.85                                0.00                   FA
         (See Footnote)

36       Equity investment - LAWE, LLC                              48,000.00                   48,000.00                                0.00                   FA

37       Equity Investment- Rodeway Inn                             30,000.00                   30,000.00                                0.00                   FA

38       A/R Over 90 days old [Face amount]                        163,000.00                  163,000.00                                0.00                   FA

39       Inventory, Parts & Pipes                                  901,109.93                      Unknown                               0.00                   FA
          In possession of Cecil Obrate in Garden City.

40       Machinery, fixtures and equipment (excluding ...        5,637,810.54                 5,637,810.54                          22,450.00                   FA

41       Marquis Energy LLC Hennepil IL: E150 SWOFF                149,221.74                          0.00                              0.00                   FA

42       Cetane pilot plant                                          Unknown                           0.00                              0.00                   FA



                                            Case 16-10759                Doc# 568         Filed 08/16/21             Page 4 Printed:
                                                                                                                            of 9508/13/2021 04:33 PM         V.20.34
                                                                                                                                                             Exhibit A


                                                                           Form 1                                                                            Page: 3

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                                  1                                  2                        3                      4              5                    6

                    Asset Description                             Petition/          Estimated Net Value         Property       Sale/Funds          Asset Fully
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                                                                   Values          Less Liens, Exemptions,      OA=§554(a)       the Estate       Gross Value of
Ref. #                                                                                 and Other Costs)                                          Remaining Assets

43       Membrane pilot plant                                        Unknown                          0.00                                0.00                   FA

44       4Q 2013 Capitalization of pump added to skin                2,408.39                         0.00                                0.00                   FA

45       Renewable diesel technology use agreements (3) s        3,000,000.00                         0.00                                0.00                   FA

46       300 E Industrial Drive Sedgwick Ks 67135                  750,000.00                 342,830.09                                  0.00                   FA

47       200 E Industrial Drive Sedgwick Ks 67135                  140,000.00                  30,773.41                                  0.00                   FA

48       Preference- AT&T Mobility                                   1,286.52                     1,286.52                                0.00                   FA

49       Preference- Belt, Inc.                                     52,697.50                  52,697.50                                  0.00                   FA

50       Preference- Blue Cross Blue Shield of Kansas              104,994.93                 104,994.93                                  0.00                   FA

51       Preference- Born, Inc.                                     69,001.35                  69,001.35                            40,000.00                    FA

52       Preference- Brand Electric, Inc. (See Footnote)            37,410.00                  37,410.00                            19,000.00                    FA

53       Preference- Campbell Concrete Construction, LLC (u)        12,943.25                  12,943.25                            12,943.25                    FA

54       Preference- Chase Card Member Services (u)                  6,019.00                     6,019.00                                0.00                   FA

55       Preference- Cotting Industries, Inc.                      321,300.00                 321,300.00                                  0.00                   FA
           Cotting provided evidence that transaction was not
         preferential.

56       Preference- Cox Communications (u)                          8,669.43                     8,669.43                                0.00                   FA

57       Preference- D & K Tanks (See Footnote)                     67,481.00                  67,481.00                            20,000.00                    FA

58       Preference- Dean E. Norris, Inc.                            9,791.10                     9,791.10                           7,434.33                    FA
           6/26/17- Order Granting Compromise filed.

59       Preference- Enegren (u) (See Footnote)                      5,000.00                     5,000.00                                0.00                   FA

60       Preference- Farris Engineering (See Footnote)              42,600.00                  42,600.00                            40,000.00                    FA

61       Preference- First Insurance Funding Corp                   35,207.49                  35,207.49                                484.82                   FA

62       Preference- Gilbert Industries, Inc. (See Footnote)        68,731.00                  68,731.00                            62,000.00                    FA

63       Preference- Green Energy Products (GEP)                    12,015.86                  12,015.86                                  0.00                   FA

64       Preference- HABCO, Inc. (See Footnote)                     12,517.00                  12,517.00                             5,000.00                    FA

65       Preference- HAJOCA                                         10,423.79                  10,423.79                             6,000.00                    FA

66       Preference- Integro Energy Group, Inc. (See               304,070.00                 304,070.00                           145,000.00                    FA
         Footnote)



                                            Case 16-10759                Doc# 568         Filed 08/16/21             Page 5 Printed:
                                                                                                                            of 9508/13/2021 04:33 PM          V.20.34
                                                                                                                                                             Exhibit A


                                                                            Form 1                                                                           Page: 4

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                                                                    Values          Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                                  and Other Costs)                                         Remaining Assets

67       Preference- Internal Revenue Service                       177,717.53                 1,777,717.53                               0.00                   FA

68       Preference- Interstates Construction Srvcs                 116,708.96                  116,708.96                           87,531.72                   FA
          Order compromising filed 5/1/17.

69       Preference- Kansas Dept of Revenue                          17,288.78                   17,288.78                                0.00                   FA

70       Preference- Kenny Pipe & Supply, Inc.                      165,650.00                  165,650.00                           75,000.00                   FA

71       Preference- Nebraska Dept of Revenue (See                    9,382.52                      9,382.52                              0.00                   FA
         Footnote)

72       Preference- RRS, LLC.                                       34,970.00                   34,970.00                                0.00                   FA

73       Preference- Sedgwick Ventures                              290,051.09                  290,051.09                                0.00                   FA

74       Preference- Sulzer Pumps Solutions, Inc. (See              173,853.00                  173,853.00                           40,500.00                   FA
         Footnote)

75       Preference- Tranter, Inc. (See Footnote)                   212,873.30                  212,873.30                          115,000.00                   FA

76       Preference- United Rentals (North America), Inc.            71,203.95                   71,203.95                                0.00                   FA

77       Preference- Valves and Industrial Resources, LLP            17,881.00                   17,881.00                                0.00                   FA

78       Preference- Westar Energy                                    8,669.43                      8,669.43                          8,669.43                   FA

79       Office furniture, fixtures, and equipment;                 460,829.89                  460,829.89                                0.00                   FA
          and collectibles: Office Furniture and
         Fixtures-$168,569.82; Office equipment, including all
         computer equipment and communication systems
         equipment and software- Computer Harware and
         Software $224,395.03; and Office Equipment
         $67,865.04 (See Footnote)

80       Preference- American Express                                 Unknown                       Unknown                               0.00                   FA

81       Preference- Apache Stainless Equipment Corp (u)             54,601.50                   54,601.50                                0.00                   FA

82       Preference- Best Supply (u)                                 18,300.90                   18,300.90                            1,000.00                   FA

83       Preference- BIG Services (u)                                18,275.00                   18,275.00                                0.00                   FA

84       Preference- Black's Concrete Services (u)                    7,204.40                      7,204.40                              0.00                   FA

85       Preference- C & S Technical Resources, Inc. (u)             17,422.50                   17,422.50                                0.00                   FA

86       Preference-Control-Tech, Inc. (u)                           45,421.04                   45,421.04                                0.00                   FA

87       Preference-Control Application & Maintenance Inc (u)        20,993.34                   20,993.34                            2,500.00                   FA


                                             Case 16-10759                Doc# 568         Filed 08/16/21             Page 6 Printed:
                                                                                                                             of 9508/13/2021 04:33 PM         V.20.34
                                                                                                                                                            Exhibit A


                                                                           Form 1                                                                           Page: 5

                                          Individual Estate Property Record and Report
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                    Asset Description                             Petition/          Estimated Net Value         Property       Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,   Abandoned       Received by     Administered (FA)/
                                                                   Values          Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                                 and Other Costs)                                         Remaining Assets

          (CAM) (See Footnote)

88       Preference- Coyle Supply, Inc. (u) (See Footnote)          94,991.49                  94,991.49                             5,000.00                   FA

89       Preference- Dore Electric (u)                              92,435.00                  92,435.00                                 0.00                   FA

90       Preference- Dresser-Rand Group, Inc. (u)                  349,632.50                 349,632.50                                 0.00                   FA

91       Preference- EMC Insurance Companies (u)                    17,734.00                  17,734.00                                 0.00                   FA
          Engineering)

92       Preference- FSE Energy (Factory Sales and (u)              15,506.67                  15,506.67                                 0.00                   FA
          Engineering)

93       Preference- Hughes Machinery (FCX (u)                      42,996.20                  42,996.20                             5,000.00                   FA
          Performance) (See Footnote)

94       Preference- Kaiser Electric (u) (See Footnote)             32,385.00                  32,385.00                            14,000.00                   FA

95       Preference- Kansas Dept of Human Resources (u)             23,818.15                  23,818.15                                 0.00                   FA

96       Preference- Kice Industries, Inc. (u) (See Footnote)      118,191.35                 118,191.35                             5,000.00                   FA

97       Preference- Lee Mathews Equipment / Cogent (u)              9,054.52                     9,054.52                           6,790.00                   FA
         (See Footnote)

98       Preference- Loescher Heating and A/C (u)                    7,618.00                     7,618.00                               0.00                   FA

99       Preference- Matheson / Tri-Gas, Inc. (u)                   12,369.49                  12,369.49                            10,000.00                   FA

100      Preference- Mid-Tec, Inc. (u) (See Footnote)              114,780.50                 114,780.50                            55,578.96                   FA

101      Preference- Myers-Aubrey Company (u)                       10,159.44                  10,159.44                            10,159.44                   FA

102      Preference- Precision Process Controls (u)                 17,422.50                  17,422.50                                 0.00                   FA

103      Preference- Professional Engineering Consultants (u)       72,540.00                  72,540.00                            20,000.00                   FA

104      Preference- PumpingSol, Inc. (u)                           72,540.00                  72,540.00                                 0.00                   FA

105      Preference- RIX Industries (u)                            234,850.00                 234,850.00                            10,000.00                   FA

106      Preference- Rombough Electric, Inc. (u)                    82,810.82                  82,810.82                                 0.00                   FA

107      Preference- Simmons First National Bank (u)                11,099.70                  11,099.70                                 0.00                   FA

108      Preference- Stoc Products, Inc. (u)                         8,712.89                     8,712.89                               0.00                   FA

109      Preference- Swanson Flo (u)                                11,459.64                  11,459.64                            11,820.00                   FA

110      Preference- Thorco Holdings, LLC (u)                       21,084.00                  21,084.00                                 0.00                   FA



                                            Case 16-10759                Doc# 568         Filed 08/16/21             Page 7 Printed:
                                                                                                                            of 9508/13/2021 04:33 PM         V.20.34
                                                                                                                                                                        Exhibit A


                                                                                   Form 1                                                                               Page: 6

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Ref. #                                                                                         and Other Costs)                                             Remaining Assets

111      Preference- Triplett, Woolf & Garretson, LLC (u)                110,273.35                    110,273.35                                    0.00                   FA

112      Preference- Ultraflote Corporation (u)                           10,694.00                     10,694.00                                    0.00                   FA

113      Preference- Westco International, Inc. (u)                       89,069.00                     89,069.00                                    0.00                   FA

114      Preference- Westmor Fluid Solutions, LLC (u)                     15,733.22                     15,733.22                                    0.00                   FA

115      Preference- Wiltsie Construction Co., Inc. (u)                  157,038.94                    157,038.94                                    0.00                   FA

116      Preference- Worldwide Pipe & Supply, Inc. (u)                     7,946.06                        7,946.06                             7,946.06                    FA

117      Petty cash (u)                                                         21.80                          21.80                                21.80                   FA

118      Reimbursement- EMC Insurance Companies (u)                            500.00                       500.00                                 500.00                   FA
          Reimbursement of $500 collision deductible after
         100% arbitration awarded against adverse insurance
         company.

119      Scrap metal recycling (u)                                               0.00                           0.00                               326.64                   FA

120      License Agreement-East Kansas Agri-Energy (u)                 1,000,000.00                   1,000,000.00                                   0.00                   FA

121      Preference- Steel Fabrications, Inc. (u)                          1,881.24                        1,881.24                                940.62                   FA

122      Preference-Nebraska Crane, Inc. (u)                               3,653.55                        3,653.55                             2,000.00                    FA

123      IFBOA-Good Experience Return (u)                                      184.04                       184.04                                 184.04                   FA

124      Preference-Wheeler Services (u) (See Footnote)                   93,848.31                     93,848.31                              11,341.14                    FA

125      WORKERS COMPENSATION (u)                                          1,222.44                        1,222.44                             1,222.44                    FA

126      Preference-F & H Consulting (u)                                  42,600.00                     42,600.00                               5,000.00                    FA
          Compromised 2/20/19

127      401K Termination (u)                                              4,154.50                        4,154.50                             4,154.50                    FA
          Payment for 401K termination

127      Assets     Totals (Excluding unknown values)                $17,771,710.57                $14,710,791.89                          $1,128,462.90                 $0.00


      RE PROP# 13         This vehicle was wrecked and considered a total loss. EMC took possession of vehicle after cutting
                       check to Sedgwick Ventures.
      RE PROP# 20         Liened to Southwest National Bank; Repossessed; Notice of Intent to Sale received.
      RE PROP# 23         Vehicle wrecked. No longer in Debtor's possession.
      RE PROP# 25         Titled to Sedgwick Ventures.
      RE PROP# 27         Titled to Sedgwick Ventures.
      RE PROP# 29         Titled to Sedgwick Ventures.


                                             Case 16-10759                     Doc# 568            Filed 08/16/21               Page 8 Printed:
                                                                                                                                       of 9508/13/2021 04:33 PM          V.20.34
                                                                                                                                                                     Exhibit A


                                                                                Form 1                                                                               Page: 7

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 16-10759                                                                   Trustee:       (360110)      Carl B. Davis
Case Name:       WB SERVICES, LLC                                                       Filed (f) or Converted (c): 04/28/16 (f)
                                                                                        §341(a) Meeting Date:        05/23/16
Period Ending: 08/13/21                                                                 Claims Bar Date:             08/15/16

                              1                                           2                        3                       4                  5                  6

                    Asset Description                                  Petition/        Estimated Net Value           Property            Sale/Funds        Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled   (Value Determined By Trustee,     Abandoned            Received by    Administered (FA)/
                                                                        Values        Less Liens, Exemptions,        OA=§554(a)            the Estate     Gross Value of
Ref. #                                                                                    and Other Costs)                                               Remaining Assets

     RE PROP# 30       Titled to Sedgwick Ventures
     RE PROP# 31       Titled to Sedgwick Ventures.
     RE PROP# 32       Titled to Sedgwick Ventures.
     RE PROP# 33       Titled to Sedgwick Ventures.
     RE PROP# 34       Titled to Sedgwick Ventures.
     RE PROP# 35       Titled to Sedgwick Ventures.
     RE PROP# 52       Compromise & Settlement
     RE PROP# 57       Compromised- see 11/29/17, order.
     RE PROP# 59       Withdrew Demand for Preference
     RE PROP# 60       Settled (2/22/18, order).
     RE PROP# 62       Compromised (#9; filed 10/5/17).
     RE PROP# 64       Compromised for $5K per 10/6/17, order (compromise no. 10).
     RE PROP# 66       Settled per 6/4/18, Order Granting Compromise.
     RE PROP# 71       Withdrew demand for preference
     RE PROP# 74       Settled per 6/19/18, Order Granting compromise.
     RE PROP# 75       Settled. Order filed 1/26/18.
     RE PROP# 79       Subject to Cecil O'Brates security interest
     RE PROP# 87       Per 2/3/19, Order on Compromise
     RE PROP# 88       Per 2/3/19, Order on intended compromise.
     RE PROP# 93       Settled. See 2/28/18, Order.
     RE PROP# 94       Compromise filed 1/24/18.
     RE PROP# 96       Settlement per 2/12/19, order.
     RE PROP# 97       Compromise & Settlement
     RE PROP# 100      Per Order filed 7/13/18 & Judgment dated 12/11/18.
     RE PROP# 124      Settled per 6/4/18, Order.



     Major Activities Affecting Case Closing:

                04/29/2019-Pending Adversary Proceedings to collect preference claims

     Initial Projected Date Of Final Report (TFR):      December 31, 2017                 Current Projected Date Of Final Report (TFR):     March 31, 2021




                                           Case 16-10759                      Doc# 568         Filed 08/16/21              Page 9 Printed:
                                                                                                                                  of 9508/13/2021 04:33 PM            V.20.34
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                                                                                          Form 2                                                                                        Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                             Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                                     Bank Name:          Mechanics Bank
                                                                                                          Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***8342                                                                           Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                                   Separate Bond: N/A

   1             2                            3                                            4                                              5                     6                   7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements             Checking
  Date      Check #           Paid To / Received From                      Description of Transaction                T-Code              $                   $                Account Balance
06/22/16      {118}        EMC Insurance                         Reimbursement of collision deductible [Claim #      1249-000                 500.00                                     500.00
                                                                 LA40-Z01106299; Policy 3E7-69-97; from
                                                                 9/1/14-9/1/15; Loss date 11/12/14]
06/28/16      {61}         First Insurance Funding Corp.         Refund Disbursement                                 1141-000                 484.82                                     984.82
06/30/16                   Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00              974.82
07/29/16                   Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00              964.82
08/17/16       101         Kansas Investigative Services, Inc.   Invoice dated 6/1/16 [Administrative Expenses                                                       706.33              258.49
                                                                 per 7/27/16, Order].
                                                                    Fees                                650.33       3991-000                                                            258.49
                                                                    Expenses.                             56.00      3992-000                                                            258.49
08/30/16      {117}        Carl B. Davis, Trustee                Petty Cash                                          1229-000                  21.80                                     280.29
08/31/16                   Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00              270.29
09/06/16      {119}        Ball Pipe & supply Inc                Payment on ticket # TBIOCJ- Scrap metal             1290-000                 182.44                                     452.73
                                                                 recycling
09/30/16                   Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00              442.73
10/13/16      {101}        Myers-Aubrey Co.                      Preference funds.                                   1241-000            10,159.44                                  10,602.17
10/20/16       102         U.S. Bankruptcy Court                 Filing Fee (Motion to Sell #1; Docket no. 120;      2700-000                                        176.00         10,426.17
                                                                 filed 10/20/16) [Check to be done from firm
                                                                 account]
                                                                 Voided on 10/21/16
10/21/16       102         U.S. Bankruptcy Court                 Filing Fee (Motion to Sell #1; Docket no. 120;      2700-000                                       -176.00         10,602.17
                                                                 filed 10/20/16) [Check to be done from firm
                                                                 account]
                                                                 Voided: check issued on 10/20/16
10/31/16                   Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00         10,592.17
11/23/16      {53}         Campbell Concrete Construction        Preference payment (partial).                       1141-000              3,500.00                                 14,092.17
                           LLC
11/28/16                   Scott Auction                         Proceeds from Sale less administrative                                 198,951.02                                 213,043.19
                                                                 expenses.
              {40}                                                  Sale Proceeds; 1999               5,200.00       1129-000                                                      213,043.19
                                                                    Parker Performance
                                                                    Trailer tandem axle
                                                                    dump bed trailer VIN
                                                                    13ZHD1227X1007764
                                                                    [Construction
                                                                    equipment].
              {24}                                                  Sale Proceeds; 2007               5,500.00       1129-000                                                      213,043.19
                                                                    Denali XL (VIN ending is
                                                                    8242)

                                                                                                           Subtotals :                 $213,799.52                  $756.33
{} Asset reference(s)
                                                  Case 16-10759                Doc# 568               Filed 08/16/21                Page 10 Printed:
                                                                                                                                             of 9508/13/2021 04:33 PM                    V.20.34
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                                                                             Form 2                                                                                    Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:         16-10759                                                              Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                      Bank Name:          Mechanics Bank
                                                                                           Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***8342                                                            Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                    Separate Bond: N/A

   1             2                         3                                    4                                          5                     6                 7

 Trans.     {Ref #} /                                                                                                  Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From         Description of Transaction              T-Code              $                   $              Account Balance
              {40}                                       Sale Proceeds; 2009           3,950.00       1129-000                                                    213,043.19
                                                         Continental Cargo V
                                                         nosed enclosed Trailer
                                                         30'- VIN
                                                         1NHUTWZ229Y010296
                                                         [Construction
                                                         equipment].
              {21}                                       Sale proceeds; 2009           8,250.00       1129-000                                                    213,043.19
                                                         GMC Sierra (VIN ending
                                                         in 1466)
              {22}                                       Sale proceeds; 2009          12,900.00       1129-000                                                    213,043.19
                                                         GMC Sierra (VIN ending
                                                         is 7373)
              {26}                                       Sale proceeds; 2011          10,000.00       1129-000                                                    213,043.19
                                                         GMC Sierra (VIN ending
                                                         in 8969)
              {40}                                       Sale proceeds; 2006           2,500.00       1129-000                                                    213,043.19
                                                         Continental Cargo
                                                         Express 12'x6' single
                                                         axle trailer VIN
                                                         5NHUEX2196W003306
                                                         [Construction
                                                         equipment].
              {40}                                       2012 Continental Cargo        2,900.00       1129-000                                                    213,043.19
                                                         Tailwind 18' V-nose
                                                         cargo trailer VIN
                                                         5NHUTW425CY015734
                                                         [Construction
                                                         equipment].
              {28}                                       Sale proceeds; 2001           2,700.00       1129-000                                                    213,043.19
                                                         GMC Sierra 2500 HD
                                                         (VIN ending in 4060)
              {29}                                       Sale proceeds; 2012          19,100.00       1129-000                                                    213,043.19
                                                         GMC Sierra Denali (VIN
                                                         ending in 8579)
              {27}                                       Sale proceeds; 2004           2,500.00       1129-000                                                    213,043.19
                                                         Ford F250 Super Duty
                                                         (VIN ending in 3744)
              {30}                                       Sale proceeds; 2013          12,500.00       1129-000                                                    213,043.19
                                                         Acura MDX (VIN ending

                                                                                           Subtotals :                          $0.00                $0.00
{} Asset reference(s)
                                               Case 16-10759        Doc# 568          Filed 08/16/21                 Page 11 Printed:
                                                                                                                              of 9508/13/2021 04:33 PM                  V.20.34
                                                                                                                                                                               Exhibit B


                                                                                  Form 2                                                                                       Page: 3

                                                     Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                     Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                             Bank Name:          Mechanics Bank
                                                                                                  Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***8342                                                                   Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                           Separate Bond: N/A

   1             2                            3                                     4                                             5                     6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From              Description of Transaction                T-Code              $                   $               Account Balance
                                                              in 1590)
              {14}                                            Sale proceeds; 2015            36,500.00       1129-000                                                     213,043.19
                                                              Chevy Silverado (VIN
                                                              ending in 1766)
              {16}                                            Sale proceeds; 2015            37,000.00       1129-000                                                     213,043.19
                                                              Chevy Silverado (VIN
                                                              ending in 0733)
              {15}                                            Sale proceeds; 2015            32,000.00       1129-000                                                     213,043.19
                                                              Chevy Silverado (VIN
                                                              ending in 2002)
              {18}                                            Sale proceeds; 2015 Kia          8,800.00      1129-000                                                     213,043.19
                                                              Optima (VIN ending in
                                                              3805)
              {19}                                            Sale proceeds; 2015 Kia          7,400.00      1129-000                                                     213,043.19
                                                              Optima (Vin ending in
                                                              7133)
              {40}                                            Sale proceeds; 2015              3,900.00      1129-000                                                     213,043.19
                                                              Continental Cargo
                                                              Tailwind 19.5' x 7' v-nose
                                                              cargo trailer VIN
                                                              5NHUTW629FY022011
                                                              [Construction
                                                              equipments].
              {40}                                            Sale proceeds; 2015              4,000.00      1129-000                                                     213,043.19
                                                              Continental Cargo
                                                              Tailwind 19.5' x 7' v-nose
                                                              cargo trailer VIN
                                                              5NHUTW620FY022012
                                                              [Construction
                                                              equipments].
                              Scott Auction                   Advertising and                -2,768.98       3620-000                                                     213,043.19
                                                              expenses.
                              Scott Auction                   Auctioneers commission.       -15,880.00       3610-000                                                     213,043.19
11/30/16                   Rabobank, N.A.                   Bank and Technology Services Fee                 2600-000                                        26.55        213,016.64
12/06/16      {53}         Campbell Concrete Construction   Preference payment.                              1141-000              3,500.00                               216,516.64
                           LLC
12/08/16      {121}        Steel Fabrications, Inc          Payment on Preference Claim [settlement].        1241-000                 940.62                              217,457.26
12/13/16      {122}        Nebraska Crane Inc               Preference Settlement                            1241-000              2,000.00                               219,457.26
12/16/16      {116}        Worldwide Pipe & Supply          Preference Payment                               1241-000              7,946.06                               227,403.32

                                                                                                   Subtotals :                  $14,386.68                  $26.55
{} Asset reference(s)
                                                  Case 16-10759          Doc# 568            Filed 08/16/21                 Page 12 Printed:
                                                                                                                                     of 9508/13/2021 04:33 PM                   V.20.34
                                                                                                                                                                                       Exhibit B


                                                                                       Form 2                                                                                          Page: 4

                                                       Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                             Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                                     Bank Name:          Mechanics Bank
                                                                                                          Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***8342                                                                           Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                                   Separate Bond: N/A

   1             2                            3                                           4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From                     Description of Transaction                 T-Code              $                   $               Account Balance
12/16/16      {78}         Westar Energy                        Preference                                           1141-000              8,669.43                               236,072.75
12/19/16      {123}        IFBOA Workers Compensation           Good Experience Return Check                         1290-000                 184.04                              236,256.79
                           Safety Group Program
12/30/16                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       320.52        235,936.27
01/03/17      {53}         Campbell Concrete Construction       Preference payment.                                  1141-000              5,943.25                               241,879.52
                           LLC
01/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       369.61        241,509.91
02/15/17      {127}        Security Distributors                Payment for Namee Invoice                            1290-000              2,471.00                               243,980.91
02/28/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       325.63        243,655.28
03/24/17       103         Hinkle Law Firm LLC                  Fees for termination of 401K per 3/15/17,            3991-000                                    2,471.00         241,184.28
                                                                Order [Dec. 2, 2016, invoice #228459; Client #
                                                                16508 00010 ESN].
03/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       361.78        240,822.50
04/28/17       104         Allen, Gibbs & Houlik, LC            Preparation of 2016 W-2's [Invoice no.:              3991-000                                       597.00        240,225.50
                                                                911824, dated: 2/23/17] (per 4/3/17, order).
04/28/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       323.29        239,902.21
05/19/17      {119}        Ball Pipe & Supply Inc               Scrap metal recycling: Ticket # TBJAIW;              1290-000                 144.20                              240,046.41
                                                                4/2517.
05/31/17       {8}         Simmons Bank                         Balance in Bank Account                              1129-000            35,813.71                                275,860.12
05/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       379.80        275,480.32
06/16/17       105         Allen, Gibbs & Houlik, LC            Additional Svcs- 2016 W-2's [Invoice no.:            3991-000                                       293.50        275,186.82
                                                                912205, dated: 3/20/17] (per 5/25/17, order).
06/28/17      {68}         Interstates Construction Services,   Settlement on Compromise                             1141-000            87,531.72                                362,718.54
                           Inc.
06/30/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       398.57        362,319.97
07/05/17      {52}         Brand Electric, Inc                  Preference-Compromise and Settlement                 1141-000            19,000.00                                381,319.97
07/19/17      {58}         Dean E. Norris, Inc.                 Preference-Compromise and Settlement                 1141-000              7,434.33                               388,754.30
07/19/17      {97}         Cogent, Inc.                         Preference-Compromise and Settlement                 1241-000              6,790.00                               395,544.30
07/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       530.86        395,013.44
08/04/17      {99}         Matheson Tri-Gas                     Preference Settlement                                1241-000            10,000.00                                405,013.44
08/23/17       106         Davis & Jack, L.L.C.                 Attorney for Trustee Fees and Expenses to                                                       59,963.52         345,049.92
                                                                Kenneth H Jack, per 8/9/17, order.
                                                                   Attorney for Trustee fees         59,726.37       3110-000                                                     345,049.92
                                                                   Attorney for Trustee                237.15        3120-000                                                     345,049.92
                                                                   Expenses
08/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       619.29        344,430.63
09/15/17       107         Cecil O'Brate                        Auction proceeds and expenses per 9/1/17,            4210-002                                   59,763.33         284,667.30
                                                                Order and Settlement Agreement.

                                                                                                            Subtotals :                $183,981.68        $126,717.70
{} Asset reference(s)
                                                  Case 16-10759               Doc# 568               Filed 08/16/21                 Page 13 Printed:
                                                                                                                                             of 9508/13/2021 04:33 PM                   V.20.34
                                                                                                                                                                                   Exhibit B


                                                                                     Form 2                                                                                        Page: 5

                                                         Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                         Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                                 Bank Name:          Mechanics Bank
                                                                                                      Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***8342                                                                       Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                               Separate Bond: N/A

   1             2                            3                                       4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                T-Code              $                   $               Account Balance
09/29/17                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       467.43        284,199.87
10/29/17      {64}         Habco, Inc.                        Preference payment per 10/6/17, compromise         1141-000              5,000.00                               289,199.87
                                                              (no. 10).
10/31/17                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       436.03        288,763.84
11/06/17      {62}         Gilbert Industries Inc             Settlement on preference payments.                 1141-000            62,000.00                                350,763.84
11/30/17                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       483.71        350,280.13
12/09/17      {127}        Security Distributors, Inc.        Refund due to overpayment of invoice.              1290-000              1,683.50                               351,963.63
12/09/17       108         Davis & Jack, L.L.C.               Attorney fees and expenses per 11/29/17,                                                      24,764.36         327,199.27
                                                              order.
                                                                 Attorney fees per               24,438.36       3110-000                                                     327,199.27
                                                                 11/29/17, Order.
                                                                 Attorney expenses per               326.00      3120-000                                                     327,199.27
                                                                 11/29/17, order.
12/22/17      {70}         Kenny Pipe & Supply, Inc.          Preference Settlement                              1141-000            75,000.00                                402,199.27
12/29/17                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       486.13        401,713.14
01/04/18      {57}         D & K Tanks, LLC                   Preference Settlement                              1141-000            20,000.00                                421,713.14
01/17/18      {109}        Swanson Flo Co.                    Preference Payment (Judgment)                      1241-000            11,820.00                                433,533.14
01/31/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       667.88        432,865.26
02/21/18      {94}         Adkins Energy, LLC                 Preference Settlement (Kevin Kaiser-17-5035)       1241-000            14,000.00                                446,865.26
02/28/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       584.46        446,280.80
03/13/18      {93}         FCX Performance, Inc               Preference Settlement                              1241-000              5,000.00                               451,280.80
03/13/18      {75}         Tranter, Inc                       Preference Settlement                              1141-000           115,000.00                                566,280.80
03/28/18       109         Kuckelman & Stockemer              Accountant fees per 3/14/18, order [Invoice        3410-000                                    2,950.00         563,330.80
                                                              #20774; dated 12/7/17; period:11/14-
03/30/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       728.21        562,602.59
04/23/18      {60}         Curtiss-Wright                     Preference Settlement                              1141-000            40,000.00                                602,602.59
04/30/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       790.34        601,812.25
05/31/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       952.25        600,860.00
06/21/18      {66}         IntegroEnergy Group                Preference Settlment                               1141-000           145,000.00                                745,860.00
06/21/18      {103}        Professional Engineering           Preference Settlement                              1241-000            20,000.00                                765,860.00
                           Consultants, PA
06/21/18      {124}        Wheeler Services, Inc.             Preference Settlement                              1241-000            11,341.14                                777,201.14
06/21/18       110         Kuckelman & Stockemer              Accountant fees per 6/4/18, Order [Invoice         3410-000                                       750.00        776,451.14
                                                              dated 2/12/18]
06/29/18      {74}         Hinkle Law Firm, LLC               Preference Settlement-Sulzer Pumps Solutions 1141-000                  40,500.00                                816,951.14
06/29/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       869.18        816,081.96
07/02/18       111         Davis & Jack, L.L.C.               Attorney for Trustee fees per 6/21/18, order       3110-000                                   32,340.20         783,741.76


                                                                                                       Subtotals :                 $566,344.64            $67,270.18
{} Asset reference(s)
                                                  Case 16-10759            Doc# 568              Filed 08/16/21                 Page 14 Printed:
                                                                                                                                         of 9508/13/2021 04:33 PM                   V.20.34
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                                                                                        Form 2                                                                                        Page: 6

                                                      Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                            Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                                    Bank Name:          Mechanics Bank
                                                                                                         Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***8342                                                                          Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                                  Separate Bond: N/A

   1             2                             3                                          4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements            Checking
  Date      Check #              Paid To / Received From                Description of Transaction                  T-Code              $                   $               Account Balance
                                                                [Fees $32,340.20; Exps $0].
07/24/18      {100}        Mid-Tec                              Partial Preference Settlement                       1241-000            53,000.00                                836,741.76
07/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                    1,218.63         835,523.13
08/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                    1,241.83         834,281.30
09/28/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       639.99        833,641.31
10/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       753.70        832,887.61
11/26/18       112         Davis & Jack, L.L.C.                 Attorney for Trustee Fees ($13,626.24) &                                                       13,918.24         818,969.37
                                                                Expenses ($292) per 11/13/18, Order.
                                                                   Attorney for Trustee fees       13,626.24        3110-000                                                     818,969.37
                                                                   per 11/13/18. Order.
                                                                   Attorney for Trustee                 292.00      3120-000                                                     818,969.37
                                                                   Expenses per 11/13/18,
                                                                   Order.
11/30/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       684.18        818,285.19
12/05/18      {105}        RIX Industries                       Preference Settlement                               1241-000            10,000.00                                828,285.19
12/05/18      {82}         Best Supply Co., Inc.                Preference Settlement                               1241-000              1,000.00                               829,285.19
12/05/18      {51}         Born, Inc.                           Preference Settlement                               1142-000            40,000.00                                869,285.19
12/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       682.28        868,602.91
01/22/19      {100}        Mid-Tec                              Partial Preference Settlement (Final)               1241-000              2,578.96                               871,181.87
01/31/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       785.84        870,396.03
02/22/19      {87}         Hinkle Law Office                    Preferenece Settlement-Control Application &        1241-000              2,500.00                               872,896.03
                                                                Maintenance, Inc.
02/26/19      {96}         Kice Industries, Inc.                Preference Settlement                               1241-000              5,000.00                               877,896.03
02/28/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       668.04        877,227.99
03/04/19      {126}        F& H Insulations Saels & Services,   Preference Settlement                               1241-000              5,000.00                               882,227.99
                           Inc
03/04/19      {88}         Coyle Supply, Inc Granite CIty       Preference Settlement                               1241-000              5,000.00                               887,227.99
03/18/19       113         Kuckelman & Stockemer                Accountant fees per 3/8/19, order. [Invoice         3410-000                                   11,950.00         875,277.99
                                                                #22157; dated 2/8/19]
03/29/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       700.93        874,577.06
04/30/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       766.75        873,810.31
05/31/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       742.14        873,068.17
06/28/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       669.74        872,398.43
07/31/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       788.74        871,609.69
08/12/19       114         Davis & Jack, L.L.C.                 Attorney for Trustee fees per 7/31/19, Order.       3110-000                                    7,081.32         864,528.37
08/30/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       713.48        863,814.89
09/30/19                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       686.31        863,128.58


                                                                                                          Subtotals :                 $124,078.96            $44,692.14
{} Asset reference(s)
                                                   Case 16-10759             Doc# 568              Filed 08/16/21                  Page 15 Printed:
                                                                                                                                            of 9508/13/2021 04:33 PM                   V.20.34
                                                                                                                                                                                 Exhibit B


                                                                                  Form 2                                                                                         Page: 7

                                                       Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                       Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                               Bank Name:          Mechanics Bank
                                                                                                    Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***8342                                                                     Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                             Separate Bond: N/A

   1             2                           3                                       4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From               Description of Transaction                 T-Code              $                   $               Account Balance
10/31/19                   Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                       780.39        862,348.19
11/29/19                   Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                       661.52        861,686.67
12/31/19                   Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                       779.07        860,907.60
01/31/20                   Bank and Technology Fee                                                             2600-000                                       729.24        860,178.36
02/04/20       115         Kuckelman & Stockemer            Accountant fees per 1/6/20, order [Invoice:        3410-000                                   5,887.50          854,290.86
                                                            23161; Dated 11/14/19]
02/28/20                   Bank and Technology Fee                                                             2600-000                                       654.51        853,636.35
08/11/20      {65}         Hajoca Corporation               Preference Settlement per 12/13/19, order          1141-000              6,000.00                               859,636.35
08/31/20                   Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,324.37          858,311.98
09/30/20                   Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,463.49          856,848.49
10/30/20                   Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,369.55          855,478.94
11/30/20                   Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,321.78          854,157.16
12/22/20                   Transition Transfer Debit        Transition Transfer Debit                          9999-000                                 854,157.16                   0.00

                                                                                  ACCOUNT TOTALS                                1,108,591.48        1,108,591.48                   $0.00
                                                                                         Less: Bank Transfers                            0.00           854,157.16
                                                                                  Subtotal                                      1,108,591.48            254,434.32
                                                                                         Less: Payments to Debtors                                              0.00
                                                                                  NET Receipts / Disbursements                 $1,108,591.48        $254,434.32




{} Asset reference(s)
                                                 Case 16-10759           Doc# 568              Filed 08/16/21                 Page 16 Printed:
                                                                                                                                       of 9508/13/2021 04:33 PM                   V.20.34
                                                                                                                                                                                     Exhibit B


                                                                                     Form 2                                                                                          Page: 8

                                                   Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                            Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                                    Bank Name:          People's United Bank
                                                                                                         Account:            ******8455 - Checking Account
Taxpayer ID #:       **-***8342                                                                          Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 08/13/21                                                                                  Separate Bond: N/A

   1             2                          3                                          4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                   T-Code              $                   $              Account Balance
12/22/20                   TRANSFER FROM DEPOSIT                TRANSFER FROM DEPOSIT SYSTEM                        9999-000           854,157.16                               854,157.16
                           SYSTEM ACCOUNT ******2572            ACCOUNT ******2572
12/23/20     10116         Carl B. Davis                        Expenses per 12/7/20, order.                        2200-000                                    9,203.72        844,953.44
12/31/20                   People's United Bank                 Bank and Technology Services Fee                    2600-000                                    1,498.48        843,454.96
01/29/21                   People's United Bank                 Bank and Technology Services Fee                    2600-000                                    1,306.65        842,148.31
02/26/21                   People's United Bank                 Bank and Technology Services Fee                    2600-000                                    1,259.75        840,888.56
03/31/21                   People's United Bank                 Bank and Technology Services Fee                    2600-000                                    1,482.49        839,406.07
04/09/21      {125}        IFBOA WORKERS                        2020 Good Experience Return                         1290-000              1,222.44                              840,628.51
                           COMPENSATION SAFETY GROUP
                           PROGRAM
04/30/21                   People's United Bank                 Bank and Technology Services Fee                    2600-000                                    1,346.45        839,282.06

                                                                                    ACCOUNT TOTALS                                     855,379.60              16,097.54       $839,282.06
                                                                                               Less: Bank Transfers                    854,157.16                   0.00
                                                                                    Subtotal                                              1,222.44             16,097.54
                                                                                               Less: Payments to Debtors                                            0.00
                                                                                    NET Receipts / Disbursements                        $1,222.44            $16,097.54

                             Net Receipts :             1,109,813.92
                   Plus Gross Adjustments :                18,648.98                                                                       Net              Net                   Account
        Less Other Noncompensable Items :                  59,763.33                TOTAL - ALL ACCOUNTS                                 Receipts      Disbursements              Balances

                                   Net Estate :     $1,068,699.57                   Checking # ******9166                            1,108,591.48            254,434.32                  0.00
                                                                                    Checking # ******8455                                 1,222.44             16,097.54        839,282.06

                                                                                                                                    $1,109,813.92        $270,531.86           $839,282.06




{} Asset reference(s)
                                                Case 16-10759               Doc# 568                Filed 08/16/21                 Page 17 Printed:
                                                                                                                                            of 9508/13/2021 04:33 PM                  V.20.34
 Printed: 08/13/21 04:33 PM                                                                                                 Page: 1

                                               Exhibit C- Claims Register
                                          Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:   08/15/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./         Amount Filed/               Paid            Claim
Number   <Category>, Priority                    Date Filed    Notes                   Allowed                to Date         Balance
         Kansas Investigative Services, Inc.     Admin Ch. 7                              $650.33              $650.33            $0.00
         250 S. Laura                            04/28/16                                 $650.33
         Wichita, KS 67211
         <3991-00 Other Professional Fees>, 200
         Kansas Investigative Services, Inc.     Admin Ch. 7                               $56.00                  $56.00         $0.00
         250 S. Laura                            04/28/16                                  $56.00
         Wichita, KS 67211
         <3992-00 Other Professional Expenses>, 200
         Scott Auction                           Admin Ch. 7                            $2,768.98            $2,768.98            $0.00
         Box 398                                 04/28/16                               $2,768.98
                                                               Advertising.
         Garden City, KS 67846
         <3620-00 Auctioneer for Trustee Expenses>, 200
         Scott Auction                           Admin Ch. 7                           $15,880.00           $15,880.00            $0.00
         Box 398                                 04/28/16                              $15,880.00
                                                               10% x $100,000.00; 5% x 117,600.00.
         Garden City, KS 67846
         <3610-00 Auctioneer for Trustee Fees (including buyers premiums)>, 200
         Allen, Gibbs & Houlik, LC               Admin Ch. 7                              $890.50              $890.50            $0.00
         301 N Main, Suite 1700                  04/28/16                                 $890.50
                                                               2/23/17 Invoice- $597 & 3/20/17 Invoice- $293.50.
         Wichita, KS 67202-4868
         <3991-00 Other Professional Fees>, 200
         Carl B. Davis                           Admin Ch. 7                           $55,310.99                   $0.00     $55,310.99
         2121 W. Maple                           04/28/16                              $55,310.99
         P. O. Box 12686
         Wichita, KS 67277-2686
         <2100-00 Trustee Compensation>, 204
         Carl B. Davis                           Admin Ch. 7                           $10,326.55            $9,203.72         $1,122.83
         2121 W. Maple                           04/28/16                              $10,326.55
         P. O. Box 12686
         Wichita, KS 67277-2686
         <2200-00 Trustee Expenses>, 201
         INTERNAL REVENUE SERVICE                Priority                                   $0.00                   $0.00     $11,905.59
         PO BOX 932100                           04/28/16                              $11,905.59
                                                               [Employee FICA Distribution:
         LOUISVILLE, KY 40293-2100                                Claim    10 -1 $52.08 Johna K Pierce

                                                                  Claim       17 -1 $247.38 Eric Johnson

                                                                  Claim       27 -1 $349.83 Jason Gates



                                Case 16-10759          Doc# 568      Filed 08/16/21        Page 18 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 2

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                     Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid           Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date        Balance
                                                            Claim      29 -1 $272.68 Curtis Dean

                                                            Claim      31 -1 $240.19 Joan Marie Taylor

                                                            Claim      32 -1 $290.27 Robert Gregory Taylor

                                                            Claim      34 -1 $515.79 Adam Belyamani

                                                            Claim      40 -1 $248.24 Gage Lemons

                                                            Claim      41 -1 $273.61 Chris Pruitt

                                                            Claim      50 -1 $367.36 Brandon Peregrine

                                                            Claim      60 -1 $263.50 Thomas Woosley

                                                            Claim      62 -1 $639.56 Christopher Dale Carter

                                                            Claim      66 -1 $118.00 Jacob Dawson

                                                            Claim      67 -1 $196.74 Jeremiah Dawson

                                                            Claim      69 -1 $348.44 Keith Baldwin

                                                            Claim      72 -1 $145.34 Summer Austin

                                                            Claim      78 -1 $300.50 Brandon Maloy

                                                            Claim      79 -1 $137.89 Joseph Jackson

                                                            Claim      91 -1 $282.69 Brook Bird

                                                            Claim      98 -1 $796.70 Eric P Mork

                                                            Claim      107 -1 $222.45 Eric Stewart

                                                            Claim      108 -1 $329.47 Dillon King

                                                            Claim      110 -1 $227.94 Loren Michael Tripp

                                                            Claim      118 -1 $186.00 Tim Livesay

                                                            Claim      126 -1 $115.68 Richard Burkhart

                                                            Claim      127 -1 $219.62 Dawna Eldringhoff

                                                            Claim      128W-1 $796.70 Ron Beemiller


                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 19 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 3

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date          Balance
                                                            Claim      129W-1 $751.87 Julian Ariagno

                                                            Claim      132W-1 $228.24 Elizabeth Maury

                                                            Claim      137 -1 $393.70 Caleb Shelton

                                                            Claim      147 -1 $384.40 Timothy Clyde Hunter

                                                            Claim      122 -1 $326.37 Bruce Helmick

                                                            Claim      146B-2 $18.11 Brandon Awtrey

                                                            Claim      146C-2 $38.18 Marc Awtrey

                                                            Claim      146D-2 $26.52 Nathan Baker

                                                            Claim      146F-2 $3.27 Rodney Beek

                                                            Claim      146G-2 $10.75 Eugene Bonnell

                                                            Claim      146E-2 $27.22 Jeffrey Becker

                                                            Claim      146H-2 $21.03 Dean Camper

                                                            Claim      146I-2 $20.32 Tory Cooley

                                                            Claim      146J-2 $3.00 Juan Cruz
                                                            Claim      146K-2 $18.11 Eric Ellis
                                                            Claim      146L-2 $0.00 Jason Gates

                                                            Claim      146M-2 $23.45 John Goeschel

                                                            Claim      146N-2 $31.27 Charles Goodrich

                                                            Claim      146O-2 $10.86 Bryce Gould

                                                            Claim      146P-2 $10.11 Shannon Hallowell

                                                            Claim      146Q-2 $36.47 Dale Hammerschmidt

                                                            Claim      146R-2 $19.46 Roger Hansen

                                                            Claim      146S-2 $54.32 Kevin Houzenga

                                                            Claim      146T-2 $21.72 Lance Johnson

                                                            Claim      146U-2 $11.71 Dennis Kalp


                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 20 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 4

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance
                                                            Claim      146V-2 $42.07 Rossner Landsbaum

                                                            Claim      146W-2 $18.14 Hollie Lintz

                                                            Claim      146X-2 $31.27 Rick Malone

                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $30.49 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                                            Claim      146DD-2 $21.06 Kevin Rogers

                                                            Claim      146EE-2 $76.69 Benjamin Root

                                                            Claim      146FF-2 $24.84 Dan Rueger

                                                            Claim      146GG-2 $19.86 Virgil Schmidt

                                                            Claim      146HH-2 $8.88 Dale Selman

                                                            Claim      146II-2 $25.51 Gene Siedenberg

                                                            Claim      146JJ-2 $6.54 James Sleder

                                                            Claim      146KK-2 $0.00 Eric Stewart

                                                            Claim      146LL-2 $3.85 Joe Supik

                                                            Claim      146MM-2 $0.00 Joan Taylor

                                                            Claim      146NN-2 $0.00 Robert Taylor

                                                            Claim      146OO-2 $18.41 Scott Trego

                                                            Claim      146PP-2 $8.84 Matthew Vogel

                                                            Claim      146QQ-2 $6.54 Whit Walker

                                                            Claim      146RR-2 $36.21 David Wheeler

                                                            Claim      146SS-2 $7.97 Rick Wheeler


                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 21 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 5

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                 Paid            Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                  to Date         Balance
                                                             Claim     146TT-2 $0.00 Thomas Woosley

                                                             Claim     146UU-2 $0.00 Chris Pruitt

                                                             Claim     146A-2 $0.00 Julian Ariagno

                                                             Claim     103 -1 $349.31 James Jackson

                                                             Claim      83 -1 $247.74 Kiel Robert Ulery

                                                             Claim      97 -1 $246.26 Andres Murillo

                                                         ]
         <5300-00 Wages>, 510
         WITHHOLDING TAX                   Priority                                    $0.00                $0.00         $9,601.28
         KANSAS DEPARTMENT OF REVENUE 04/28/16                                     $9,601.28
         PO BOX 3506                                     [Employee KS Income Tax Distribution:
         TOPEKA, KS 66601-3506                              Claim    10 -1 $42.00 Johna K Pierce

                                                             Claim      17 -1 $199.50 Eric Johnson

                                                             Claim      27 -1 $282.12 Jason Gates

                                                             Claim      29 -1 $219.90 Curtis Dean

                                                             Claim      31 -1 $193.70 Joan Marie Taylor

                                                             Claim      32 -1 $234.09 Robert Gregory Taylor

                                                             Claim      34 -1 $415.96 Adam Belyamani

                                                             Claim      40 -1 $200.19 Gage Lemons

                                                             Claim      41 -1 $220.65 Chris Pruitt

                                                             Claim      50 -1 $296.26 Brandon Peregrine

                                                             Claim      60 -1 $212.50 Thomas Woosley

                                                             Claim      62 -1 $515.78 Christopher Dale Carter

                                                             Claim      66 -1 $95.16 Jacob Dawson

                                                             Claim      67 -1 $158.66 Jeremiah Dawson

                                                             Claim      69 -1 $281.00 Keith Baldwin



                                Case 16-10759    Doc# 568      Filed 08/16/21         Page 22 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 6

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date          Balance
                                                            Claim      72 -1 $117.21 Summer Austin

                                                            Claim      78 -1 $242.34 Brandon Maloy

                                                            Claim      79 -1 $111.20 Joseph Jackson

                                                            Claim      91 -1 $227.97 Brook Bird

                                                            Claim      98 -1 $642.50 Eric P Mork

                                                            Claim      107 -1 $179.40 Eric Stewart

                                                            Claim      108 -1 $265.70 Dillon King

                                                            Claim      110 -1 $183.82 Loren Michael Tripp

                                                            Claim      118 -1 $150.00 Tim Livesay

                                                            Claim      126 -1 $93.29 Richard Burkhart

                                                            Claim      127 -1 $177.11 Dawna Eldringhoff

                                                            Claim      128W-1 $642.50 Ron Beemiller

                                                            Claim      129W-1 $606.35 Julian Ariagno

                                                            Claim      132W-1 $184.06 Elizabeth Maury

                                                            Claim      137 -1 $317.50 Caleb Shelton

                                                            Claim      147 -1 $310.00 Timothy Clyde Hunter

                                                            Claim      122 -1 $263.20 Bruce Helmick

                                                            Claim      146B-2 $14.60 Brandon Awtrey

                                                            Claim      146C-2 $30.79 Marc Awtrey

                                                            Claim      146D-2 $21.39 Nathan Baker

                                                            Claim      146F-2 $2.64 Rodney Beek

                                                            Claim      146G-2 $8.67 Eugene Bonnell

                                                            Claim      146E-2 $21.95 Jeffrey Becker

                                                            Claim      146H-2 $16.96 Dean Camper


                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 23 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 7

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance
                                                            Claim      146I-2 $16.39 Tory Cooley

                                                            Claim      146J-2 $2.42 Juan Cruz
                                                            Claim      146K-2 $14.60 Eric Ellis
                                                            Claim      146L-2 $0.00 Jason Gates

                                                            Claim      146M-2 $18.91 John Goeschel

                                                            Claim      146N-2 $25.22 Charles Goodrich

                                                            Claim      146O-2 $8.76 Bryce Gould

                                                            Claim      146P-2 $8.16 Shannon Hallowell

                                                            Claim      146Q-2 $29.41 Dale Hammerschmidt

                                                            Claim      146R-2 $15.69 Roger Hansen

                                                            Claim      146S-2 $43.80 Kevin Houzenga

                                                            Claim      146T-2 $17.51 Lance Johnson

                                                            Claim      146U-2 $9.44 Dennis Kalp

                                                            Claim      146V-2 $33.93 Rossner Landsbaum

                                                            Claim      146W-2 $14.63 Hollie Lintz

                                                            Claim      146X-2 $25.22 Rick Malone

                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $24.59 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                                            Claim      146DD-2 $16.98 Kevin Rogers

                                                            Claim      146EE-2 $61.85 Benjamin Root

                                                            Claim      146FF-2 $20.03 Dan Rueger

                                                            Claim      146GG-2 $16.02 Virgil Schmidt


                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 24 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 8

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                 Paid            Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                  to Date         Balance
                                                             Claim     146HH-2 $7.16 Dale Selman

                                                             Claim     146II-2 $20.57 Gene Siedenberg

                                                             Claim     146JJ-2 $5.28 James Sleder

                                                             Claim     146KK-2 $0.00 Eric Stewart

                                                             Claim     146LL-2 $3.11 Joe Supik

                                                             Claim     146MM-2 $0.00 Joan Taylor

                                                             Claim     146NN-2 $0.00 Robert Taylor

                                                             Claim     146OO-2 $14.85 Scott Trego

                                                             Claim     146PP-2 $7.13 Matthew Vogel

                                                             Claim     146QQ-2 $5.28 Whit Walker

                                                             Claim     146RR-2 $29.20 David Wheeler

                                                             Claim     146SS-2 $6.43 Rick Wheeler

                                                             Claim     146TT-2 $0.00 Thomas Woosley

                                                             Claim     146UU-2 $0.00 Chris Pruitt

                                                             Claim     146A-2 $0.00 Julian Ariagno

                                                             Claim     103 -1 $281.70 James Jackson

                                                             Claim      83 -1 $199.79 Kiel Robert Ulery

                                                             Claim      97 -1 $198.60 Andres Murillo

                                                         ]
         <5300-00 Wages>, 510
         INTERNAL REVENUE SERVICE          Priority                                    $0.00                $0.00         $2,784.38
         PO BOX 932100                     04/28/16                                $2,784.38
                                                         [Employee Medicare Distribution:
         LOUISVILLE, KY 40293-2100                          Claim    10 -1 $12.18 Johna K Pierce

                                                             Claim      17 -1 $57.86 Eric Johnson

                                                             Claim      27 -1 $81.82 Jason Gates



                                Case 16-10759    Doc# 568      Filed 08/16/21         Page 25 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 9

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                     Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid           Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date        Balance
                                                            Claim      29 -1 $63.77 Curtis Dean

                                                            Claim      31 -1 $56.17 Joan Marie Taylor

                                                            Claim      32 -1 $67.89 Robert Gregory Taylor

                                                            Claim      34 -1 $120.63 Adam Belyamani

                                                            Claim      40 -1 $58.06 Gage Lemons

                                                            Claim      41 -1 $63.99 Chris Pruitt
                                                            Claim      50 -1 $85.91 Brandon Peregrine

                                                            Claim      60 -1 $61.63 Thomas Woosley

                                                            Claim      62 -1 $149.58 Christopher Dale Carter

                                                            Claim      66 -1 $27.60 Jacob Dawson

                                                            Claim      67 -1 $46.01 Jeremiah Dawson

                                                            Claim      69 -1 $81.49 Keith Baldwin

                                                            Claim      72 -1 $33.99 Summer Austin

                                                            Claim      78 -1 $70.28 Brandon Maloy

                                                            Claim      79 -1 $32.25 Joseph Jackson

                                                            Claim      91 -1 $66.11 Brook Bird
                                                            Claim      98 -1 $186.33 Eric P Mork

                                                            Claim      107 -1 $52.03 Eric Stewart

                                                            Claim      108 -1 $77.05 Dillon King
                                                            Claim      110 -1 $53.31 Loren Michael Tripp

                                                            Claim      118 -1 $43.50 Tim Livesay

                                                            Claim      126 -1 $27.05 Richard Burkhart

                                                            Claim      127 -1 $51.36 Dawna Eldringhoff

                                                            Claim      128W-1 $186.33 Ron Beemiller

                                                            Claim      129W-1 $175.84 Julian Ariagno

                                                            Claim      132W-1 $53.38 Elizabeth Maury

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 26 of 95
 Printed: 08/13/21 04:33 PM                                                                                       Page: 10

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                     Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid            Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date         Balance


                                                            Claim      137 -1 $92.08 Caleb Shelton

                                                            Claim      147 -1 $89.90 Timothy Clyde Hunter

                                                            Claim      122 -1 $76.33 Bruce Helmick

                                                            Claim      146B-2 $4.23 Brandon Awtrey

                                                            Claim      146C-2 $8.93 Marc Awtrey

                                                            Claim      146D-2 $6.20 Nathan Baker

                                                            Claim      146F-2 $0.76 Rodney Beek

                                                            Claim      146G-2 $2.51 Eugene Bonnell

                                                            Claim      146E-2 $6.36 Jeffrey Becker

                                                            Claim      146H-2 $4.92 Dean Camper

                                                            Claim      146I-2 $4.75   Tory Cooley
                                                            Claim      146J-2 $0.70   Juan Cruz
                                                            Claim      146K-2 $4.23    Eric Ellis
                                                            Claim      146L-2 $0.00   Jason Gates

                                                            Claim      146M-2 $5.48 John Goeschel

                                                            Claim      146N-2 $7.31 Charles Goodrich

                                                            Claim      146O-2 $2.54 Bryce Gould

                                                            Claim      146P-2 $2.37 Shannon Hallowell

                                                            Claim      146Q-2 $8.53 Dale Hammerschmidt

                                                            Claim      146R-2 $4.55 Roger Hansen

                                                            Claim      146S-2 $12.70 Kevin Houzenga

                                                            Claim      146T-2 $5.08 Lance Johnson

                                                            Claim      146U-2 $2.74 Dennis Kalp

                                                            Claim      146V-2 $9.84 Rossner Landsbaum

                                                            Claim      146W-2 $4.24 Hollie Lintz
                                                            Claim      146X-2 $7.31 Rick Malone

                                Case 16-10759   Doc# 568       Filed 08/16/21          Page 27 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 11

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance


                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $7.13 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                                            Claim      146DD-2 $4.93 Kevin Rogers

                                                            Claim      146EE-2 $17.94 Benjamin Root

                                                            Claim      146FF-2 $5.81 Dan Rueger

                                                            Claim      146GG-2 $4.64 Virgil Schmidt

                                                            Claim      146HH-2 $2.08 Dale Selman

                                                            Claim      146II-2 $5.97 Gene Siedenberg

                                                            Claim      146JJ-2 $1.53 James Sleder

                                                            Claim      146KK-2 $0.00 Eric Stewart

                                                            Claim      146LL-2 $0.90 Joe Supik

                                                            Claim      146MM-2 $0.00 Joan Taylor

                                                            Claim      146NN-2 $0.00 Robert Taylor

                                                            Claim      146OO-2 $4.31 Scott Trego

                                                            Claim      146PP-2 $2.07 Matthew Vogel

                                                            Claim      146QQ-2 $1.53 Whit Walker

                                                            Claim      146RR-2 $8.47 David Wheeler

                                                            Claim      146SS-2 $1.86 Rick Wheeler

                                                            Claim      146TT-2 $0.00 Thomas Woosley

                                                            Claim      146UU-2 $0.00 Chris Pruitt

                                                            Claim      146A-2 $0.00 Julian Ariagno

                                Case 16-10759   Doc# 568       Filed 08/16/21         Page 28 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 12

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                        Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./        Amount Filed/                  Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                  Allowed                   to Date          Balance


                                                             Claim     103 -1 $81.69 James Jackson

                                                             Claim     83 -1 $57.94 Kiel Robert Ulery

                                                             Claim     97 -1 $57.59 Andres Murillo

                                                         ]
         <5300-00 Wages>, 510
         INTERNAL REVENUE SERVICE          Priority                                   $0.00                  $0.00          $1,752.93
         PO BOX 932100                     07/19/16                               $1,752.93
                                                         [Employee Income Tax Distribution:
         LOUISVILLE, KY 40293-2100                          Claim     83 -1 $879.09 Kiel Robert Ulery

                                                             Claim     97 -1 $873.84 Andres Murillo

                                                         ]


         <5300-00 Wages>, 510
         INTERNAL REVENUE SERVICE          Priority                                   $0.00                  $0.00         $40,492.66
         PO BOX 932100                     04/28/16                              $40,492.66
                                                         [Employee Income Tax Distribution:
         LOUISVILLE, KY 40293-2100                          Claim     10 -1 $184.80 Johna K Pierce

                                                             Claim     17 -1 $877.80 Eric Johnson

                                                             Claim     27 -1 $1241.33 Jason Gates

                                                             Claim     29 -1 $967.58 Curtis Dean

                                                             Claim     31 -1 $852.29 Joan Marie Taylor

                                                             Claim     32 -1 $1029.99 Robert Gregory Taylor

                                                             Claim     34 -1 $1830.23 Adam Belyamani

                                                             Claim     40 -1 $880.86 Gage Lemons

                                                             Claim     41 -1 $970.88 Chris Pruitt

                                                             Claim     50 -1 $1303.53 Brandon Peregrine

                                                             Claim     60 -1 $935.00 Thomas Woosley

                                                             Claim     62 -1 $2269.41 Christopher Dale Carter



                                Case 16-10759    Doc# 568      Filed 08/16/21        Page 29 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 13

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance
                                                            Claim      66 -1 $418.70 Jacob Dawson

                                                            Claim      67 -1 $698.12 Jeremiah Dawson

                                                            Claim      69 -1 $1236.40 Keith Baldwin

                                                            Claim      72 -1 $515.72 Summer Austin

                                                            Claim      78 -1 $1066.29 Brandon Maloy

                                                            Claim      79 -1 $489.28 Joseph Jackson

                                                            Claim      91 -1 $1003.09 Brook Bird

                                                            Claim      98 -1 $2827.00 Eric P Mork

                                                            Claim      107 -1 $789.35 Eric Stewart

                                                            Claim      108 -1 $1169.08 Dillon King

                                                            Claim      110 -1 $808.82 Loren Michael Tripp

                                                            Claim      118 -1 $660.00 Tim Livesay

                                                            Claim      126 -1 $410.47 Richard Burkhart

                                                            Claim      127 -1 $779.28 Dawna Eldringhoff

                                                            Claim      128W-1 $2827.00 Ron Beemiller

                                                            Claim      129W-1 $2667.92 Julian Ariagno

                                                            Claim      132W-1 $809.87 Elizabeth Maury

                                                            Claim      137 -1 $1397.00 Caleb Shelton

                                                            Claim      147 -1 $1364.00 Timothy Clyde Hunter

                                                            Claim      122 -1 $1158.08 Bruce Helmick

                                                            Claim      146B-2 $64.25 Brandon Awtrey

                                                            Claim      146C-2 $135.47 Marc Awtrey

                                                            Claim      146D-2 $94.10 Nathan Baker

                                                            Claim      146F-2 $11.61 Rodney Beek


                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 30 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 14

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date          Balance
                                                            Claim      146G-2 $38.13 Eugene Bonnell

                                                            Claim      146E-2 $96.57 Jeffrey Becker

                                                            Claim      146H-2 $74.64 Dean Camper

                                                            Claim      146I-2 $72.12 Tory Cooley

                                                            Claim      146J-2 $10.65 Juan Cruz

                                                            Claim      146K-2 $64.25 Eric Ellis
                                                            Claim      146L-2 $0.00 Jason Gates

                                                            Claim      146M-2 $83.20 John Goeschel

                                                            Claim      146N-2 $110.95 Charles Goodrich

                                                            Claim      146O-2 $38.54 Bryce Gould

                                                            Claim      146P-2 $35.89 Shannon Hallowell

                                                            Claim      146Q-2 $129.42 Dale Hammerschmidt

                                                            Claim      146R-2 $69.04 Roger Hansen

                                                            Claim      146S-2 $192.74 Kevin Houzenga

                                                            Claim      146T-2 $77.06 Lance Johnson

                                                            Claim      146U-2 $41.54 Dennis Kalp

                                                            Claim      146V-2 $149.28 Rossner Landsbaum

                                                            Claim      146W-2 $64.38 Hollie Lintz

                                                            Claim      146X-2 $110.95 Rick Malone

                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $108.18 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                                            Claim      146DD-2 $74.73 Kevin Rogers

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 31 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 15

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance


                                                             Claim     146EE-2 $272.12 Benjamin Root

                                                             Claim     146FF-2 $88.13 Dan Rueger

                                                             Claim     146GG-2 $70.47 Virgil Schmidt

                                                             Claim     146HH-2 $31.49 Dale Selman

                                                             Claim     146II-2 $90.53 Gene Siedenberg

                                                             Claim     146JJ-2 $23.21 James Sleder

                                                             Claim     146KK-2 $0.00 Eric Stewart

                                                             Claim     146LL-2 $13.67 Joe Supik

                                                             Claim     146MM-2 $0.00 Joan Taylor

                                                             Claim     146NN-2 $0.00 Robert Taylor

                                                             Claim     146OO-2 $65.34 Scott Trego

                                                             Claim     146PP-2 $31.37 Matthew Vogel

                                                             Claim     146QQ-2 $23.21 Whit Walker

                                                             Claim     146RR-2 $128.49 David Wheeler

                                                             Claim     146SS-2 $28.29 Rick Wheeler

                                                             Claim     146TT-2 $0.00 Thomas Woosley

                                                             Claim     146UU-2 $0.00 Chris Pruitt

                                                             Claim     146A-2 $0.00 Julian Ariagno

                                                             Claim     103 -1 $1239.48 James Jackson

                                                         ]
         <5300-00 Wages>, 510
         KANSAS DEPARTMENT OF LABOR        Priority                                   $0.00                 $0.00         $5,184.71
         PO BOX 400                        04/28/16                                $5,184.71
                                                         [Employer KS SUTA Distribution:
         TOPEKA, KS 66601-0400                              Claim    10 -1 $22.68 Johna K Pierce

                                                             Claim      17 -1 $107.73 Eric Johnson

                                Case 16-10759    Doc# 568      Filed 08/16/21         Page 32 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 16

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                     Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid           Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date        Balance


                                                            Claim      27 -1 $152.35 Jason Gates

                                                            Claim      29 -1 $118.75 Curtis Dean

                                                            Claim      31 -1 $104.60 Joan Marie Taylor

                                                            Claim      32 -1 $126.41 Robert Gregory Taylor

                                                            Claim      34 -1 $224.62 Adam Belyamani

                                                            Claim      40 -1 $108.11 Gage Lemons

                                                            Claim      41 -1 $119.15 Chris Pruitt

                                                            Claim      50 -1 $159.98 Brandon Peregrine

                                                            Claim      60 -1 $114.75 Thomas Woosley

                                                            Claim      62 -1 $278.52 Christopher Dale Carter

                                                            Claim      66 -1 $51.39 Jacob Dawson

                                                            Claim      67 -1 $85.68 Jeremiah Dawson

                                                            Claim      69 -1 $151.74 Keith Baldwin

                                                            Claim      72 -1 $63.29 Summer Austin

                                                            Claim      78 -1 $130.86 Brandon Maloy

                                                            Claim      79 -1 $60.05 Joseph Jackson

                                                            Claim      91 -1 $123.11 Brook Bird

                                                            Claim      98 -1 $346.95 Eric P Mork

                                                            Claim      107 -1 $96.87 Eric Stewart

                                                            Claim      108 -1 $143.48 Dillon King

                                                            Claim      110 -1 $99.26 Loren Michael Tripp

                                                            Claim      118 -1 $81.00 Tim Livesay

                                                            Claim      126 -1 $50.38 Richard Burkhart

                                                            Claim      127 -1 $95.64 Dawna Eldringhoff

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 33 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 17

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date          Balance


                                                            Claim      128W-1 $346.95 Ron Beemiller

                                                            Claim      129W-1 $327.43 Julian Ariagno

                                                            Claim      132W-1 $99.39 Elizabeth Maury

                                                            Claim      137 -1 $171.45 Caleb Shelton

                                                            Claim      147 -1 $167.40 Timothy Clyde Hunter

                                                            Claim      122 -1 $142.13 Bruce Helmick

                                                            Claim      146B-2 $7.88 Brandon Awtrey

                                                            Claim      146C-2 $16.63 Marc Awtrey

                                                            Claim      146D-2 $11.55 Nathan Baker

                                                            Claim      146F-2 $1.42 Rodney Beek

                                                            Claim      146G-2 $4.68 Eugene Bonnell

                                                            Claim      146E-2 $11.85 Jeffrey Becker

                                                            Claim      146H-2 $9.16 Dean Camper

                                                            Claim      146I-2 $8.85   Tory Cooley
                                                            Claim      146J-2 $1.31   Juan Cruz
                                                            Claim      146K-2 $7.88    Eric Ellis
                                                            Claim      146L-2 $0.00   Jason Gates

                                                            Claim      146M-2 $10.21 John Goeschel

                                                            Claim      146N-2 $13.62 Charles Goodrich

                                                            Claim      146O-2 $4.73 Bryce Gould

                                                            Claim      146P-2 $4.40 Shannon Hallowell

                                                            Claim      146Q-2 $15.88 Dale Hammerschmidt

                                                            Claim      146R-2 $8.47 Roger Hansen

                                                            Claim      146S-2 $23.65 Kevin Houzenga

                                                            Claim      146T-2 $9.46 Lance Johnson


                                Case 16-10759   Doc# 568       Filed 08/16/21          Page 34 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 18

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date          Balance
                                                            Claim      146U-2 $5.10 Dennis Kalp

                                                            Claim      146V-2 $18.32 Rossner Landsbaum

                                                            Claim      146W-2 $7.90 Hollie Lintz
                                                            Claim      146X-2 $13.62 Rick Malone

                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $13.28 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                                            Claim      146DD-2 $9.17 Kevin Rogers

                                                            Claim      146EE-2 $33.40 Benjamin Root

                                                            Claim      146FF-2 $10.82 Dan Rueger

                                                            Claim      146GG-2 $8.65 Virgil Schmidt

                                                            Claim      146HH-2 $3.87 Dale Selman

                                                            Claim      146II-2 $11.11 Gene Siedenberg

                                                            Claim      146JJ-2 $2.85 James Sleder

                                                            Claim      146KK-2 $0.00 Eric Stewart

                                                            Claim      146LL-2 $1.68 Joe Supik

                                                            Claim      146MM-2 $0.00 Joan Taylor

                                                            Claim      146NN-2 $0.00 Robert Taylor

                                                            Claim      146OO-2 $8.02 Scott Trego

                                                            Claim      146PP-2 $3.85 Matthew Vogel

                                                            Claim      146QQ-2 $2.85 Whit Walker

                                                            Claim      146RR-2 $15.77 David Wheeler

                                                            Claim      146SS-2 $3.47 Rick Wheeler

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 35 of 95
 Printed: 08/13/21 04:33 PM                                                                                           Page: 19

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:   08/15/16
 Claim   Claimant Name /                     Claim Type/   Claim Ref./         Amount Filed/                 Paid            Claim
Number   <Category>, Priority                Date Filed    Notes                   Allowed                  to Date         Balance


                                                               Claim     146TT-2 $0.00 Thomas Woosley

                                                               Claim     146UU-2 $0.00 Chris Pruitt

                                                               Claim     146A-2 $0.00 Julian Ariagno

                                                               Claim     103 -1 $152.12 James Jackson

                                                               Claim      83 -1 $107.89 Kiel Robert Ulery

                                                               Claim      97 -1 $107.24 Andres Murillo

                                                           ]
         <5800-00 Claims of Governmental Units>, 570
         INTERNAL REVENUE SERVICE            Priority                                    $0.00                $0.00           $115.53
         PO BOX 932100                       07/19/16                                  $115.53
                                                           [Employer Medicare Distribution:
         LOUISVILLE, KY 40293-2100                            Claim    83 -1 $57.94 Kiel Robert Ulery

                                                               Claim      97 -1 $57.59 Andres Murillo

                                                           ]


         <5800-00 Claims of Governmental Units>, 570
         INTERNAL REVENUE SERVICE            Priority                                    $0.00                $0.00           $494.00
         PO BOX 932100                       07/19/16                                  $494.00
                                                           [Employer FICA Distribution:
         LOUISVILLE, KY 40293-2100                            Claim     83 -1 $247.74 Kiel Robert Ulery

                                                               Claim      97 -1 $246.26 Andres Murillo

                                                           ]


         <5800-00 Claims of Governmental Units>, 570
         INTERNAL REVENUE SERVICE            Priority                                    $0.00                $0.00         $11,411.59
         PO BOX 932100                       04/28/16                               $11,411.59
                                                           [Employer FICA Distribution:
         LOUISVILLE, KY 40293-2100                            Claim     10 -1 $52.08 Johna K Pierce

                                                               Claim      17 -1 $247.38 Eric Johnson

                                                               Claim      27 -1 $349.83 Jason Gates

                                                               Claim      29 -1 $272.68 Curtis Dean


                                Case 16-10759      Doc# 568      Filed 08/16/21         Page 36 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 20

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                     Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid           Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date        Balance


                                                            Claim      31 -1 $240.19 Joan Marie Taylor

                                                            Claim      32 -1 $290.27 Robert Gregory Taylor

                                                            Claim      34 -1 $515.79 Adam Belyamani

                                                            Claim      40 -1 $248.24 Gage Lemons

                                                            Claim      41 -1 $273.61 Chris Pruitt

                                                            Claim      50 -1 $367.36 Brandon Peregrine

                                                            Claim      60 -1 $263.50 Thomas Woosley

                                                            Claim      62 -1 $639.56 Christopher Dale Carter

                                                            Claim      66 -1 $118.00 Jacob Dawson

                                                            Claim      67 -1 $196.74 Jeremiah Dawson

                                                            Claim      69 -1 $348.44 Keith Baldwin

                                                            Claim      72 -1 $145.34 Summer Austin

                                                            Claim      78 -1 $300.50 Brandon Maloy

                                                            Claim      79 -1 $137.89 Joseph Jackson

                                                            Claim      91 -1 $282.69 Brook Bird

                                                            Claim      98 -1 $796.70 Eric P Mork

                                                            Claim      107 -1 $222.45 Eric Stewart

                                                            Claim      108 -1 $329.47 Dillon King

                                                            Claim      110 -1 $227.94 Loren Michael Tripp

                                                            Claim      118 -1 $186.00 Tim Livesay

                                                            Claim      126 -1 $115.68 Richard Burkhart

                                                            Claim      127 -1 $219.62 Dawna Eldringhoff

                                                            Claim      128W-1 $796.70 Ron Beemiller

                                                            Claim      129W-1 $751.87 Julian Ariagno

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 37 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 21

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date          Balance


                                                            Claim      132W-1 $228.24 Elizabeth Maury

                                                            Claim      137 -1 $393.70 Caleb Shelton

                                                            Claim      147 -1 $384.40 Timothy Clyde Hunter

                                                            Claim      122 -1 $326.37 Bruce Helmick

                                                            Claim      146B-2 $18.11 Brandon Awtrey

                                                            Claim      146C-2 $38.18 Marc Awtrey

                                                            Claim      146D-2 $26.52 Nathan Baker

                                                            Claim      146F-2 $3.27 Rodney Beek

                                                            Claim      146G-2 $10.75 Eugene Bonnell

                                                            Claim      146E-2 $27.22 Jeffrey Becker

                                                            Claim      146H-2 $21.03 Dean Camper

                                                            Claim      146I-2 $20.32 Tory Cooley

                                                            Claim      146J-2 $3.00 Juan Cruz
                                                            Claim      146K-2 $18.11 Eric Ellis
                                                            Claim      146L-2 $0.00 Jason Gates

                                                            Claim      146M-2 $23.45 John Goeschel

                                                            Claim      146N-2 $31.27 Charles Goodrich

                                                            Claim      146O-2 $10.86 Bryce Gould

                                                            Claim      146P-2 $10.11 Shannon Hallowell

                                                            Claim      146Q-2 $36.47 Dale Hammerschmidt

                                                            Claim      146R-2 $19.46 Roger Hansen

                                                            Claim      146S-2 $54.32 Kevin Houzenga

                                                            Claim      146T-2 $21.72 Lance Johnson

                                                            Claim      146U-2 $11.71 Dennis Kalp

                                                            Claim      146V-2 $42.07 Rossner Landsbaum

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 38 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 22

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance


                                                            Claim      146W-2 $18.14 Hollie Lintz

                                                            Claim      146X-2 $31.27 Rick Malone

                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $30.49 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                                            Claim      146DD-2 $21.06 Kevin Rogers

                                                            Claim      146EE-2 $76.69 Benjamin Root

                                                            Claim      146FF-2 $24.84 Dan Rueger

                                                            Claim      146GG-2 $19.86 Virgil Schmidt

                                                            Claim      146HH-2 $8.88 Dale Selman

                                                            Claim      146II-2 $25.51 Gene Siedenberg

                                                            Claim      146JJ-2 $6.54 James Sleder

                                                            Claim      146KK-2 $0.00 Eric Stewart

                                                            Claim      146LL-2 $3.85 Joe Supik

                                                            Claim      146MM-2 $0.00 Joan Taylor

                                                            Claim      146NN-2 $0.00 Robert Taylor

                                                            Claim      146OO-2 $18.41 Scott Trego

                                                            Claim      146PP-2 $8.84 Matthew Vogel

                                                            Claim      146QQ-2 $6.54 Whit Walker

                                                            Claim      146RR-2 $36.21 David Wheeler

                                                            Claim      146SS-2 $7.97 Rick Wheeler

                                                            Claim      146TT-2 $0.00 Thomas Woosley

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 39 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 23

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                        Claims Bar Date:   08/15/16
 Claim   Claimant Name /                     Claim Type/   Claim Ref./         Amount Filed/                Paid            Claim
Number   <Category>, Priority                Date Filed    Notes                   Allowed                 to Date         Balance


                                                               Claim     146UU-2 $0.00 Chris Pruitt

                                                               Claim     146A-2 $0.00 Julian Ariagno

                                                               Claim     103 -1 $349.31 James Jackson

                                                           ]
         <5800-00 Claims of Governmental Units>, 570
         INTERNAL REVENUE SERVICE            Priority                                    $0.00                 $0.00       $1,023.36
         PO BOX 932100                       04/28/16                                $1,023.36
                                                           [Employer FUTA Distribution:
         LOUISVILLE, KY 40293-2100                            Claim    10 -1 $5.04 Johna K Pierce

                                                               Claim      17 -1 $23.94 Eric Johnson

                                                               Claim      27 -1 $33.85 Jason Gates

                                                               Claim      29 -1 $26.39 Curtis Dean

                                                               Claim      31 -1 $23.24 Joan Marie Taylor

                                                               Claim      32 -1 $28.09 Robert Gregory Taylor

                                                               Claim      34 -1 $42.00 Adam Belyamani

                                                               Claim      40 -1 $24.02 Gage Lemons

                                                               Claim      41 -1 $26.48 Chris Pruitt
                                                               Claim      50 -1 $35.55 Brandon Peregrine

                                                               Claim      60 -1 $25.50 Thomas Woosley

                                                               Claim      62 -1 $42.00 Christopher Dale Carter

                                                               Claim      66 -1 $11.42 Jacob Dawson

                                                               Claim      67 -1 $19.04 Jeremiah Dawson

                                                               Claim      69 -1 $33.72 Keith Baldwin

                                                               Claim      72 -1 $14.07 Summer Austin

                                                               Claim      78 -1 $29.08 Brandon Maloy

                                                               Claim      79 -1 $13.34 Joseph Jackson



                                Case 16-10759      Doc# 568      Filed 08/16/21         Page 40 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 24

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid            Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date         Balance
                                                            Claim      91 -1 $27.36 Brook Bird
                                                            Claim      98 -1 $42.00 Eric P Mork

                                                            Claim      107 -1 $21.53 Eric Stewart

                                                            Claim      108 -1 $31.88 Dillon King
                                                            Claim      110 -1 $22.06 Loren Michael Tripp

                                                            Claim      118 -1 $18.00 Tim Livesay

                                                            Claim      126 -1 $11.19 Richard Burkhart

                                                            Claim      127 -1 $21.25 Dawna Eldringhoff

                                                            Claim      128W-1 $42.00 Ron Beemiller

                                                            Claim      129W-1 $42.00 Julian Ariagno

                                                            Claim      132W-1 $22.09 Elizabeth Maury

                                                            Claim      137 -1 $38.10 Caleb Shelton

                                                            Claim      147 -1 $37.20 Timothy Clyde Hunter

                                                            Claim      122 -1 $31.58 Bruce Helmick

                                                            Claim      146B-2 $1.75 Brandon Awtrey

                                                            Claim      146C-2 $3.69 Marc Awtrey

                                                            Claim      146D-2 $2.57 Nathan Baker

                                                            Claim      146F-2 $0.32 Rodney Beek

                                                            Claim      146G-2 $1.04 Eugene Bonnell

                                                            Claim      146E-2 $2.63 Jeffrey Becker

                                                            Claim      146H-2 $2.04 Dean Camper

                                                            Claim      146I-2 $1.97   Tory Cooley
                                                            Claim      146J-2 $0.29   Juan Cruz
                                                            Claim      146K-2 $1.75    Eric Ellis
                                                            Claim      146L-2 $0.00   Jason Gates

                                                            Claim      146M-2 $2.27 John Goeschel

                                                            Claim      146N-2 $3.03 Charles Goodrich

                                Case 16-10759   Doc# 568       Filed 08/16/21          Page 41 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 25

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance


                                                            Claim      146O-2 $1.05 Bryce Gould

                                                            Claim      146P-2 $0.98 Shannon Hallowell

                                                            Claim      146Q-2 $3.53 Dale Hammerschmidt

                                                            Claim      146R-2 $1.88 Roger Hansen

                                                            Claim      146S-2 $5.26 Kevin Houzenga

                                                            Claim      146T-2 $2.10 Lance Johnson

                                                            Claim      146U-2 $1.13 Dennis Kalp

                                                            Claim      146V-2 $4.07 Rossner Landsbaum

                                                            Claim      146W-2 $1.76 Hollie Lintz
                                                            Claim      146X-2 $3.03 Rick Malone

                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $2.95 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                                            Claim      146DD-2 $2.04 Kevin Rogers

                                                            Claim      146EE-2 $7.42 Benjamin Root

                                                            Claim      146FF-2 $2.40 Dan Rueger

                                                            Claim      146GG-2 $1.92 Virgil Schmidt

                                                            Claim      146HH-2 $0.86 Dale Selman

                                                            Claim      146II-2 $2.47 Gene Siedenberg

                                                            Claim      146JJ-2 $0.63 James Sleder

                                                            Claim      146KK-2 $0.00 Eric Stewart

                                                            Claim      146LL-2 $0.37 Joe Supik


                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 42 of 95
 Printed: 08/13/21 04:33 PM                                                                                             Page: 26

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:   08/15/16
 Claim   Claimant Name /                     Claim Type/   Claim Ref./         Amount Filed/                  Paid             Claim
Number   <Category>, Priority                Date Filed    Notes                   Allowed                   to Date          Balance
                                                               Claim     146MM-2 $0.00 Joan Taylor

                                                               Claim     146NN-2 $0.00 Robert Taylor

                                                               Claim     146OO-2 $1.78 Scott Trego

                                                               Claim     146PP-2 $0.86 Matthew Vogel

                                                               Claim     146QQ-2 $0.63 Whit Walker

                                                               Claim     146RR-2 $3.50 David Wheeler

                                                               Claim     146SS-2 $0.77 Rick Wheeler

                                                               Claim     146TT-2 $0.00 Thomas Woosley

                                                               Claim     146UU-2 $0.00 Chris Pruitt

                                                               Claim     146A-2 $0.00 Julian Ariagno

                                                               Claim     103 -1 $33.80 James Jackson

                                                               Claim      83 -1 $23.98 Kiel Robert Ulery

                                                               Claim      97 -1 $23.83 Andres Murillo

                                                           ]
         <5800-00 Claims of Governmental Units>, 570
         INTERNAL REVENUE SERVICE            Priority                                    $0.00                  $0.00         $2,668.85
         PO BOX 932100                       04/28/16                                $2,668.85
                                                           [Employer Medicare Distribution:
         LOUISVILLE, KY 40293-2100                            Claim    10 -1 $12.18 Johna K Pierce

                                                               Claim      17 -1 $57.86 Eric Johnson

                                                               Claim      27 -1 $81.82 Jason Gates

                                                               Claim      29 -1 $63.77 Curtis Dean

                                                               Claim      31 -1 $56.17 Joan Marie Taylor

                                                               Claim      32 -1 $67.89 Robert Gregory Taylor

                                                               Claim      34 -1 $120.63 Adam Belyamani

                                                               Claim      40 -1 $58.06 Gage Lemons



                                Case 16-10759      Doc# 568      Filed 08/16/21         Page 43 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 27

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                     Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid           Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date        Balance
                                                            Claim      41 -1 $63.99 Chris Pruitt
                                                            Claim      50 -1 $85.91 Brandon Peregrine

                                                            Claim      60 -1 $61.63 Thomas Woosley

                                                            Claim      62 -1 $149.58 Christopher Dale Carter

                                                            Claim      66 -1 $27.60 Jacob Dawson

                                                            Claim      67 -1 $46.01 Jeremiah Dawson

                                                            Claim      69 -1 $81.49 Keith Baldwin

                                                            Claim      72 -1 $33.99 Summer Austin

                                                            Claim      78 -1 $70.28 Brandon Maloy

                                                            Claim      79 -1 $32.25 Joseph Jackson

                                                            Claim      91 -1 $66.11 Brook Bird
                                                            Claim      98 -1 $186.33 Eric P Mork

                                                            Claim      107 -1 $52.03 Eric Stewart

                                                            Claim      108 -1 $77.05 Dillon King
                                                            Claim      110 -1 $53.31 Loren Michael Tripp

                                                            Claim      118 -1 $43.50 Tim Livesay

                                                            Claim      126 -1 $27.05 Richard Burkhart

                                                            Claim      127 -1 $51.36 Dawna Eldringhoff

                                                            Claim      128W-1 $186.33 Ron Beemiller

                                                            Claim      129W-1 $175.84 Julian Ariagno

                                                            Claim      132W-1 $53.38 Elizabeth Maury

                                                            Claim      137 -1 $92.08 Caleb Shelton

                                                            Claim      147 -1 $89.90 Timothy Clyde Hunter

                                                            Claim      122 -1 $76.33 Bruce Helmick

                                                            Claim      146B-2 $4.23 Brandon Awtrey

                                                            Claim      146C-2 $8.93 Marc Awtrey

                                Case 16-10759   Doc# 568       Filed 08/16/21        Page 44 of 95
 Printed: 08/13/21 04:33 PM                                                                                        Page: 28

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/               Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                to Date          Balance


                                                            Claim      146D-2 $6.20 Nathan Baker

                                                            Claim      146F-2 $0.76 Rodney Beek

                                                            Claim      146G-2 $2.51 Eugene Bonnell

                                                            Claim      146E-2 $6.36 Jeffrey Becker

                                                            Claim      146H-2 $4.92 Dean Camper

                                                            Claim      146I-2 $4.75   Tory Cooley
                                                            Claim      146J-2 $0.70   Juan Cruz
                                                            Claim      146K-2 $4.23    Eric Ellis
                                                            Claim      146L-2 $0.00   Jason Gates

                                                            Claim      146M-2 $5.48 John Goeschel

                                                            Claim      146N-2 $7.31 Charles Goodrich

                                                            Claim      146O-2 $2.54 Bryce Gould

                                                            Claim      146P-2 $2.37 Shannon Hallowell

                                                            Claim      146Q-2 $8.53 Dale Hammerschmidt

                                                            Claim      146R-2 $4.55 Roger Hansen

                                                            Claim      146S-2 $12.70 Kevin Houzenga

                                                            Claim      146T-2 $5.08 Lance Johnson

                                                            Claim      146U-2 $2.74 Dennis Kalp

                                                            Claim      146V-2 $9.84 Rossner Landsbaum

                                                            Claim      146W-2 $4.24 Hollie Lintz
                                                            Claim      146X-2 $7.31 Rick Malone

                                                            Claim      146Y-2 $0.00 Brandon Maloy

                                                            Claim      146Z-2 $0.00 Elizabeth Maury

                                                            Claim      146AA-2 $7.13 Mike Morris

                                                            Claim      146BB-2 $0.00 Brandon Peregrine

                                                            Claim      146CC-2 $0.00 Johna Pierce

                                Case 16-10759   Doc# 568       Filed 08/16/21          Page 45 of 95
 Printed: 08/13/21 04:33 PM                                                                                           Page: 29

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:   08/15/16
 Claim   Claimant Name /                     Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority                Date Filed    Notes                   Allowed                 to Date          Balance


                                                               Claim     146DD-2 $4.93 Kevin Rogers

                                                               Claim     146EE-2 $17.94 Benjamin Root

                                                               Claim     146FF-2 $5.81 Dan Rueger

                                                               Claim     146GG-2 $4.64 Virgil Schmidt

                                                               Claim     146HH-2 $2.08 Dale Selman

                                                               Claim     146II-2 $5.97 Gene Siedenberg

                                                               Claim     146JJ-2 $1.53 James Sleder

                                                               Claim     146KK-2 $0.00 Eric Stewart

                                                               Claim     146LL-2 $0.90 Joe Supik

                                                               Claim     146MM-2 $0.00 Joan Taylor

                                                               Claim     146NN-2 $0.00 Robert Taylor

                                                               Claim     146OO-2 $4.31 Scott Trego

                                                               Claim     146PP-2 $2.07 Matthew Vogel

                                                               Claim     146QQ-2 $1.53 Whit Walker

                                                               Claim     146RR-2 $8.47 David Wheeler

                                                               Claim     146SS-2 $1.86 Rick Wheeler

                                                               Claim     146TT-2 $0.00 Thomas Woosley

                                                               Claim     146UU-2 $0.00 Chris Pruitt

                                                               Claim     146A-2 $0.00 Julian Ariagno

                                                               Claim     103 -1 $81.69 James Jackson

                                                           ]
         <5800-00 Claims of Governmental Units>, 570




                                Case 16-10759     Doc# 568       Filed 08/16/21         Page 46 of 95
 Printed: 08/13/21 04:33 PM                                                                                         Page: 30

                                         Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                      Claims Bar Date:   08/15/16
 Claim   Claimant Name /                    Claim Type/   Claim Ref./        Amount Filed/                Paid            Claim
Number   <Category>, Priority               Date Filed    Notes                  Allowed                 to Date         Balance
 1 -1    Midwest Crane & Rigging LLC        Unsecured     11124                   $13,555.00                $0.00        $13,555.00
         co Kurt Brack                       05/06/16                             $13,555.00
         7400 W 110th St Ste 600
         Overland Park, KS 66210
         <7100-00 General Unsecured § 726(a)(2)>, 610
 2 -1    Westar Energy Inc                  Unsecured     X5463 & X8548             $8,185.25               $0.00         $8,185.25
         Attn Bankruptcy Dept                05/11/16     & X9542                   $8,185.25
         PO Box 208

         Wichita, KS 67201-0208
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3 -1    Mayer Specialty Services LLC       Unsecured     INV # 2015638           $23,540.00                $0.00        $23,540.00
         PO Box 469                          05/13/16                             $23,540.00
         Goddard, KS 67052
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4 -1    Burris Fabrication                 Unsecured     INV #1 (3/4/16)           $1,601.93               $0.00         $1,601.93
         P O Box 377                         05/16/16                               $1,601.93
                                                          Goods sold. Services performed. Inv no: 1 (3/4/16) $1,601.93, which
         Sedgwick, KS 67135                               inclused #3367 (1/28/16) $760.50; #3368 (2/2/16) $327.56; #3369
                                                          (2/4/16) $109.59; #3370 (2/5/16) $217.59; #3372 (2/18/16) $19.53;
                                                          #3373 (2/26/16) $12.00; #3374 (3/2/16) $51.00; #3375 (3/2/16)
                                                          $104.16.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 5 -1    Depco Pump Company Inc.            Unsecured     1221100-01                 $494.43                $0.00          $494.43
         P.O. Box 6820                       05/16/16                                $494.43
                                                          Goods sold.
         Clearwater, FL 33758
         <7100-00 General Unsecured § 726(a)(2)>, 610
 6 -1    Westmor Fluid Solutions, LLC       Unsecured     154250                  $11,798.78                $0.00        $11,798.78
         14044 W Freeway Drive               05/16/16                             $11,798.78
                                                          Services performed and goods sold.
         Columbus, MN 55038-9705
         <7100-00 General Unsecured § 726(a)(2)>, 610
 7 -1    Salisbury Supply                   Unsecured                                $307.16                $0.00          $307.16
         114 SE Quincy Street                05/16/16                                $307.16
                                                          Goods sold.
         Topeka, KS 66603
         <7100-00 General Unsecured § 726(a)(2)>, 610




                                Case 16-10759     Doc# 568         Filed 08/16/21      Page 47 of 95
 Printed: 08/13/21 04:33 PM                                                                                             Page: 31

                                          Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                          Claims Bar Date:   08/15/16
 Claim   Claimant Name /                     Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number   <Category>, Priority                Date Filed    Notes                   Allowed                  to Date          Balance
 8 -1    Hammer Scale Co Inc                 Unsecured                                 $337.88                  $0.00         $337.88
         1530 N Mosley                       05/16/16                                  $337.88
                                                           Services performed- calibration & testing of truck scale.
         Wichita, KS 67214
         <7100-00 General Unsecured § 726(a)(2)>, 610
 9 -1    AIRGAS USA LLC                      Unsecured     1445901                     $599.15                  $0.00         $599.15
         6055 Rockside Woods Blvd            05/16/16                                  $599.15
                                                           Goods and services.
         Independence, OH 44131
         <7100-00 General Unsecured § 726(a)(2)>, 610
 10 -1   Johna K Pierce                      Priority      WAGES 8342                  $839.98                  $0.00         $548.92
         3636 W 44th St S #310               05/16/16                                  $548.92
                                                           [Gross Wage $839.98 Less Taxes = Net $548.92 FICA $52.08 Income
         Wichita, KS 67217                                 Tax $184.80 Medicare $12.18 KS Income Tax $42.00]
                                                           Change of address filed 4/25/17. DMC


         <5300-00 Wages>, 510
 11 -1   Martin Machine & Welding Inc.       Unsecured     INVOICE                   $5,000.00                  $0.00        $5,000.00
         900 North Street                    05/17/16      #39501                    $5,000.00


         Halstead, KS 67056
         <7100-00 General Unsecured § 726(a)(2)>, 610
 12 -1   WestMor Industries, LLC             Unsecured     93511                     $9,620.88                  $0.00        $9,620.88
         P.O. Box 683                        05/17/16                                $9,620.88
         Morris, MN 56267-0683
         <7100-00 General Unsecured § 726(a)(2)>, 610
 13 -1   Brand Plumbing Inc                  Unsecured     16-00366-0                $2,220.86                  $0.00        $2,220.86
         co Calvin Dean Homolka II           05/17/16                                $2,220.86
         200 E First Ste 542
         Wichita, KS 67202
         <7100-00 General Unsecured § 726(a)(2)>, 610
 14 -1   CenCon of Kansas, LLC               Unsecured     636MSC/611MS              $4,308.03                  $0.00        $4,308.03
         1335 East Ridge Road                05/18/16      C/FC 27                   $4,308.03
         P.O. Box 385

         Kensington, KS 66951
         <7100-00 General Unsecured § 726(a)(2)>, 610
 15 -1   Big Tool Store LLC                  Unsecured     1149                        $835.60                  $0.00         $835.60
         4640 E 63rd St S                    05/18/16                                  $835.60
         Derby, KS 67037
         <7100-00 General Unsecured § 726(a)(2)>, 610



                                Case 16-10759      Doc# 568        Filed 08/16/21       Page 48 of 95
 Printed: 08/13/21 04:33 PM                                                                                               Page: 32

                                           Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                            Claims Bar Date:    08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./         Amount Filed/                 Paid              Claim
Number   <Category>, Priority                  Date Filed    Notes                   Allowed                  to Date           Balance
 16 -1   DeRosset Company                      Unsecured     **ORDER #                 $4,204.16                 $0.00           $4,204.16
         P O Box 640                           05/18/16      2015-00-01614             $4,204.16


                                                             *Object???? Supporting documents are for Green Energy Products,
         Tonganoxie, KS 66086                                LLC.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 17 -1   Eric Johnson                          Priority      WAGES                     $3,990.00                 $0.00           $2,607.46
         105 S Maple                           05/18/16                                $2,607.46
         Box 219                                             [Gross Wage $3990.00 Less Taxes = Net $2607.46 FICA $247.38
         Lebo, KS 66856                                      Income Tax $877.80 Medicare $57.86 KS Income Tax $199.50]
                                                             Services performed; Wages.


         <5300-00 Wages>, 510
 18 -1   Sign Language Interpreting Services   Unsecured     1/29/16;                   $546.00                  $0.00            $546.00
         PO Box 771577                         05/19/16      INVOICE                    $546.00
                                                             #11786


                                                             Sign language interpretation for conference.
         Wichita, KS 67277-1577
         <7100-00 General Unsecured § 726(a)(2)>, 610
 19 -1   PumpingSol, Inc.                      Secured       0052                   $138,415.91                  $0.00         $138,415.91
         2230 Justin Trail                     05/19/16                             $138,415.91
                                                             RE mechanic's lien on 1404 S Main St, Garnett, Anderson County, KS
         Alpharetta, GA 30004                                66032 owned by East Kansas Agri-Energy, LLC. Goods sold- loading
                                                             systems- mechanics lien (16 SL 3; filed 3/21/16; District Court
                                                             Anderson County, KS).


         <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>, 100
 20 -1   Calvin Opp Concrete, Inc.             Unsecured     INV #11954;              $65,041.49                 $0.00          $65,041.49
         C/O Michael A Priddle                 05/19/16      4808 F AVE,IA            $65,041.49
         445 N Waco St
                                                             Job name: Little Sioux; Goods sold and services performed.
         Wichita, KS 67052
         <7100-00 General Unsecured § 726(a)(2)>, 610
 21P-1   Kansas Department of Revenue          Priority                               $25,413.32                 $0.00          $25,413.32
         Civil Tax Enforcement                 05/20/16                               $25,413.32
         PO Box 12005                                        Taxes- Ann Rec 2015 RWP on 20- Business property
         Topeka, KS 66601-3005
         <5800-00 Claims of Governmental Units>, 570




                                 Case 16-10759       Doc# 568       Filed 08/16/21         Page 49 of 95
 Printed: 08/13/21 04:33 PM                                                                                                 Page: 33

                                              Exhibit C- Claims Register
                                             Case: 16-10759 WB SERVICES, LLC
                                                                                                               Claims Bar Date:   08/15/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./        Amount Filed/                   Paid             Claim
Number   <Category>, Priority                    Date Filed    Notes                  Allowed                    to Date          Balance
 21U-1   Kansas Department of Revenue            Unsecured                              $4,291.65                   $0.00          $4,291.65
         Civil Tax Enforcement                   05/20/16                               $4,291.65
         PO Box 12005                                          Taxes- Ann Rec 2015 RWP
         Topeka, KS 66601-3005
         <7100-00 General Unsecured § 726(a)(2)>, 610
 22 -1   Anton Paar                              Unsecured     7899                    $13,238.90                   $0.00         $13,238.90
         10215 Timber Ridge Drive                05/20/16                              $13,238.90
                                                               Goods sold, services performed.
         Ashland, VA 23005
         <7100-00 General Unsecured § 726(a)(2)>, 610
 23 -1   Pendleco LLC                            Unsecured     WBSERV                   $7,185.63                   $0.00          $7,185.63
         Brian Muchenthaler                      05/20/16                               $7,185.63
         PO Box 19355                                          aka Kansas City Valve & Fitting; Goods sold.
         Lenexa, KS 66215
         <7100-00 General Unsecured § 726(a)(2)>, 610
 24 -1   Swanson Flo                             Unsecured     1028186/ INV             $8,978.37                   $0.00          $8,978.37
         C/O Scott Simdorn                       05/20/16      #1156278                 $8,978.37
         151 Cheshire Ln. N. Ste 700
                                                               Material.
         Plymouth, MN 55441
         <7100-00 General Unsecured § 726(a)(2)>, 610
 25 -1   Air Capital Equipment, Inc.             Unsecured     WBS01                   $96,204.33                   $0.00         $96,204.33
         806 E. Boston                           05/23/16                              $96,204.33
                                                               Goods, materials and labor.
         Wichita, KS 67211
         <7100-00 General Unsecured § 726(a)(2)>, 610
 26 -1   International Fire Protection Inc       Unsecured     9246                    $47,411.33                   $0.00         $47,411.33
         243 Royal Dr                            05/23/16                              $47,411.33
                                                               Services performed: Fire Protection Services.
         Madison, AL 35758
         <7100-00 General Unsecured § 726(a)(2)>, 610
 27 -1   Jason Gates                             Priority      WAGES                    $5,642.42                   $0.00          $3,687.32
         2149 130th Street                       05/23/16                               $3,687.32
                                                               [Gross Wage $5642.42 Less Taxes = Net $3687.32 FICA $349.83
         Mapleton, KS 66754                                    Income Tax $1241.33 Medicare $81.82 KS Income Tax $282.12]
                                                               Wages and per diem. Includes $94.42 from claim no. 146-L2.


         <5300-00 Wages>, 510




                                 Case 16-10759         Doc# 568        Filed 08/16/21        Page 50 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 34

                                           Exhibit C- Claims Register
                                          Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:    08/15/16
 Claim   Claimant Name /                      Claim Type/   Claim Ref./        Amount Filed/                 Paid             Claim
Number   <Category>, Priority                 Date Filed    Notes                  Allowed                  to Date          Balance
 28 -1   Steel Fabrications, Inc.             Unsecured     N/A                       $5,779.63                $0.00         $5,779.63
         1640 E US Hwy 40 Byp                 05/23/16                                $5,779.63
                                                            Sales of raw materials (metal) and freight expenses.
         Hays, KS 67601
         <7100-00 General Unsecured § 726(a)(2)>, 610
 29 -1   Curtis Dean                          Priority      WAGES                     $4,398.09                $0.00         $2,874.16
         PO Box 33                            05/23/16                                $2,874.16
                                                            [Gross Wage $4398.09 Less Taxes = Net $2874.16 FICA $272.68
         Marquette, WI 53947                                Income Tax $967.58 Medicare $63.77 KS Income Tax $219.90]
                                                            Unpaid wages and per-diem.


         <5300-00 Wages>, 510
 30 -1   Foulston Siefkin LLP                 Unsecured     0357                    $37,904.00                 $0.00        $37,904.00
         1551 #100, Waterfront                05/23/16                              $37,904.00
                                                            Services performed; 3/3/16 $14,994; 4/20/16 $1,984; 12/11/15 $1,165;
         Wichita, KS 67206                                  1/14/16 $2,068; 2/10/16 $842.50; 4/11/16 $1,749; 11/11/15 $4,518;
                                                            2/8/16 $140; 3/3/16 $1,770; 4/7/16 $4,800; 12/15/15 $898.50; 1/12/16
                                                            $2,975.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 31 -1   Joan Marie Taylor                    Priority      WAGES 0573                $3,874.06                $0.00         $2,531.71
         77 High Ridge St                     05/23/16                                $2,531.71
         PO Box 574                                         [Gross Wage $3874.06 Less Taxes = Net $2531.71 FICA $240.19
         Fieldale, VA 24089                                 Income Tax $852.29 Medicare $56.17 KS Income Tax $193.70]
                                                            Wages.


         <5300-00 Wages>, 510
 32 -1   Robert Gregory Taylor                Priority      WAGES                     $4,681.78                $0.00         $3,059.54
         77 High Ridge St                     05/23/16                                $3,059.54
         PO Box 574                                         [Gross Wage $4681.78 Less Taxes = Net $3059.54 FICA $290.27
         Fieldale, VA 24089                                 Income Tax $1029.99 Medicare $67.89 KS Income Tax $234.09]
                                                            Wages.


         <5300-00 Wages>, 510
 33 -1   JFD Tube & Coil Products, Inc.       Unsecured     WBSERVICES              $29,415.00                 $0.00        $29,415.00
         7 Hamden Park Drive                  05/23/16                              $29,415.00
                                                            Goods sold; Invoice no. 34034 ($14,276.50), 34042 ($14276.50),
         Hamden, CT 06517                                   34115 ($431), and 34112 ($431).


         <7100-00 General Unsecured § 726(a)(2)>, 610




                                 Case 16-10759      Doc# 568       Filed 08/16/21        Page 51 of 95
 Printed: 08/13/21 04:33 PM                                                                                                   Page: 35

                                                 Exhibit C- Claims Register
                                           Case: 16-10759 WB SERVICES, LLC
                                                                                                                 Claims Bar Date:    08/15/16
 Claim   Claimant Name /                           Claim Type/   Claim Ref./         Amount Filed/                  Paid              Claim
Number   <Category>, Priority                      Date Filed    Notes                   Allowed                   to Date           Balance
 34 -1   Adam Belyamani                            Priority      WAGES                      $8,319.22                 $0.00           $5,436.61
         1804 N Columbine St                       05/24/16                                 $5,436.61
                                                                 [Gross Wage $8319.22 Less Taxes = Net $5436.61 FICA $515.79
         Andover, KS 67002                                       Income Tax $1830.23 Medicare $120.63 KS Income Tax $415.96]
                                                                 Unpaid wages (Including earned vacation). FICA not included.


         <5300-00 Wages>, 510
 35 -1   Enegren                                   Unsecured                                $2,600.46                 $0.00           $2,600.46
         6730 W Kellogg Suite 3                    05/24/16                                 $2,600.46
                                                                 Services performed.
         Wichita, KS 67209
         <7100-00 General Unsecured § 726(a)(2)>, 610
 36 -1   Wells Brothers, Inc.                      Unsecured     INV # 50441               $85,260.00                 $0.00               $0.00
         c/o Jordan K. Baker,Frost Brown Todd      05/24/16                                     $0.00
         LLC                                                     Labor and materials for the addition of electric services.
         201 North Illinois St, Suite 1900
         Indianapolis, IN 46204
         <7100-00 General Unsecured § 726(a)(2)>, 610
 36 -2   Wells Brothers, Inc.                      Unsecured                               $15,932.73                 $0.00               $0.00
         c/o Joshua N. Kutch                       05/24/16                                     $0.00
         201 North Illinois Street, Suite 1900                   Labor and materials for the addition of electric services.
         Indianapolis, IN 46204
         <7100-00 General Unsecured § 726(a)(2)>, 610
 36 -3   Wells Brothers, Inc.                      Unsecured                               $15,932.73                 $0.00          $15,932.73
         c/o Joshua N. Kutch                       05/24/16                                $15,932.73
         201 North Illinois Street, Suite 1900                   Labor and materials for the addition of electric services.
         Indianapolis, IN 46204
         <7100-00 General Unsecured § 726(a)(2)>, 610
 37S-1   Southwest National Bank                   Secured       **3387                    $37,255.75                 $0.00          $37,255.75
         co Karl R Swartz                          05/24/16                                $37,255.75
         300 N Mead Ste 200                                      Money loaned; Princ. $37,230.75; Late charges $25; 2014 GMC Sierra
         Wichita, KS 67202                                       1500 Crew Cab 4WD X 2105


         <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>, 100
 38 -1   Bowman Construction Co., Inc.             Unsecured     N/A                      $593,581.31                 $0.00         $593,581.31
         Martin Pringle Oliver Wallace & Bauer     05/24/16                               $593,581.31
         100 N. Broadway Ste 500                                 Services performed; c/o Greg A Drumright, Samantha M. H. Woods
         Wichita, KS 67202
         <7100-00 General Unsecured § 726(a)(2)>, 610




                                  Case 16-10759          Doc# 568         Filed 08/16/21       Page 52 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 36

                                          Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                        Claims Bar Date:     08/15/16
 Claim   Claimant Name /                      Claim Type/    Claim Ref./           Amount Filed/              Paid            Claim
Number   <Category>, Priority                 Date Filed     Notes                     Allowed               to Date         Balance
 39 -1   Simmons First National Bank          Secured        9648                     $406,000.66              $0.00       $406,000.66
         co R Grant Leeka                      05/24/16                               $406,000.66
         4033 N Shiloh Dr                                    Mortgage- Secured by Deed of Trust dated 8/14/14, executed by
         Fayetteville, AR 72703                              Sedgwick Ventures LLC- 300 E Industrial Rd, Sedgwick, Kansas
                                                             67135.


         <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>, 100
 40 -1   Gage Lemons                          Priority       WAGES                        $4,003.89            $0.00         $2,616.54
         HC66                                  05/25/16                                   $2,616.54
         P.O. Box 752                                        [Gross Wage $4003.89 Less Taxes = Net $2616.54 FICA $248.24
         Sturdivant, MO 63782                                Income Tax $880.86 Medicare $58.06 KS Income Tax $200.19]
                                                             Wages


         <5300-00 Wages>, 510
 41 -1   Chris Pruitt                         Priority       WAGES                        $4,413.08            $0.00         $2,883.95
         3218 N. Tee Time                      05/25/16                                   $2,883.95
                                                             [Gross Wage $4413.08 Less Taxes = Net $2883.95 FICA $273.61
         Wichita, KS 67205                                   Income Tax $970.88 Medicare $63.99 KS Income Tax $220.65]
                                                             Services performed - salary as an employee.


         <5300-00 Wages>, 510
 42 -1   AIRGAS USA LLC                       Unsecured                                   $1,672.82            $0.00         $1,672.82
         110 W 7TH ST STE 1300                 05/26/16                                   $1,672.82
                                                             Cylinders - Assets.
         TULSA, OK 74119
         <7100-00 General Unsecured § 726(a)(2)>, 610
 43 -1   AIRGAS USA LLC                       Unsecured                                   $2,375.99            $0.00         $2,375.99
         110 W 7TH ST STE 1300                 05/26/16                                   $2,375.99
                                                             Product & rental invoices.
         TULSA, OK 74119
         <7100-00 General Unsecured § 726(a)(2)>, 610
 44 -1   Reintjes & Hiter Co., Inc.           Unsecured      WBS100                       $2,079.57            $0.00         $2,079.57
         101 Sunshine Road                     05/27/16                                   $2,079.57
                                                             Goods sold.
         Kansas City, KS 66115
         <7100-00 General Unsecured § 726(a)(2)>, 610
 45 -1   ACAR Leasing LTD                     Unsecured      VOID- WRONG                     $0.00             $0.00             $0.00
         d/b/a GM Financial Leasing            05/27/16      CASE-7748                       $0.00
         P O Box 183692
                                                             INCORRECT CASE; CHECKED 15-10652- CLAIM WAS FILED.
         Arlington, TX 76096                                 2014 Chevrolet Camaro LT


         <7100-00 General Unsecured § 726(a)(2)>, 610

                                  Case 16-10759     Doc# 568        Filed 08/16/21           Page 53 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 37

                                              Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                          Claims Bar Date:    08/15/16
 Claim   Claimant Name /                        Claim Type/   Claim Ref./          Amount Filed/             Paid              Claim
Number   <Category>, Priority                   Date Filed    Notes                    Allowed              to Date           Balance
 46 -1   Foerster Testing Limited               Unsecured     INV # 1311                 $728.00               $0.00            $728.00
         1511 Doral Dr.                         05/31/16                                 $728.00
                                                              Services performed.
         Brookings, SD 57006
         <7100-00 General Unsecured § 726(a)(2)>, 610
 47 -1   Wisconsin Department of Revenue        Priority      7265 / 8342                $931.19               $0.00            $931.19
         Special Procedures Unit                05/31/16                                 $931.19
         P O Box 8901                                         CNP 12/31/13; 11 USC 507(a)(8).
         Madison, WI 53708-8901
         <5800-00 Claims of Governmental Units>, 570
 48 -1   Can It Services, LLC                   Unsecured     **                        $1,476.00              $0.00           $1,476.00
         24927 Farnam Circle                    05/31/16                                $1,476.00
                                                              Services performed.
         Waterloo, NE 68069-4693
         <7100-00 General Unsecured § 726(a)(2)>, 610
 49 -1   NCK Quarries, LLC                      Unsecured     INV #312360              $20,932.56              $0.00          $20,932.56
         414 E Kansas Ave                       05/31/16                               $20,932.56
                                                              Other names: Kelly Lyon; goods sold and delivered.
         Smith Center, KS 66967
         <7100-00 General Unsecured § 726(a)(2)>, 610
 50 -1   Brandon Peregrine                      Priority      WAGES                     $5,925.14              $0.00           $3,872.08
         502 Linden St.                         05/31/16                                $3,872.08
                                                              [Gross Wage $5925.14 Less Taxes = Net $3872.08 FICA $367.36
         Tarkio, MO 64491                                     Income Tax $1303.53 Medicare $85.91 KS Income Tax $296.26]
                                                              Wages.


         <5300-00 Wages>, 510
 51 -1   P4 Consulting LLC                      Unsecured     1009                    $105,117.15              $0.00         $105,117.15
         P.O. Box 3388                          05/31/16                              $105,117.15
                                                              Services provided.
         Durango, CO 81302
         <7100-00 General Unsecured § 726(a)(2)>, 610
 52 -1   Coating Specialties, LLC               Unsecured     INC # 10752              $98,300.80              $0.00          $98,300.80
         P.O Box 281                            05/31/16                               $98,300.80
                                                              2 tanks - advanced bioenergy LLC Averdeen, SD - sandblast & paint.
         Alexandria, MN 56308
         <7100-00 General Unsecured § 726(a)(2)>, 610
 53 -1   Piping Technology & Products, Inc.     Unsecured     9657                      $4,450.35              $0.00           $4,450.35
         PO Box 34506                           05/31/16                                $4,450.35
                                                              Goods sold
         Houston, TX 77051
         <7100-00 General Unsecured § 726(a)(2)>, 610

                                Case 16-10759         Doc# 568       Filed 08/16/21        Page 54 of 95
 Printed: 08/13/21 04:33 PM                                                                                                Page: 38

                                            Exhibit C- Claims Register
                                           Case: 16-10759 WB SERVICES, LLC
                                                                                                            Claims Bar Date:    08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./         Amount Filed/                  Paid             Claim
Number   <Category>, Priority                  Date Filed    Notes                   Allowed                   to Date          Balance
 54 -1   B & M Steel & Welding                 Unsecured     5/19/16                    $1,097.10                 $0.00          $1,097.10
         1251 S St Rd 32                       05/31/16      STATEMENT                  $1,097.10
         PO Box 405
                                                             Good sold & services performed.
         Union City, IN 47390-0405
         <7100-00 General Unsecured § 726(a)(2)>, 610
 55 -1   Big River Rubber & Gasket, Inc.       Unsecured     WBSER                      $1,141.09                 $0.00          $1,141.09
         214 W 10th St                         05/31/16                                 $1,141.09
         PO Box 369                                          Goods sold; Inv # 933808-001 $388.85; Inv # 936407-001 $324.75;
         Owensboro, KY 42302                                 Inv #938556-001 $324.22; and Inv #939725-001 $103.27.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 56 -1   Ferguson Enterprises, Inc.            Unsecured     **118605                   $3,140.35                 $0.00          $3,140.35
         9301 Rosehill Road                    06/01/16                                 $3,140.35
                                                             Goods sold.
         Lenexa, KS 66215
         <7100-00 General Unsecured § 726(a)(2)>, 610
 57P-1   Internal Revenue Service              Priority                             $1,019,721.21                 $0.00      $1,019,721.21
         ATTN: Mail Stop 5334,                 06/06/16                             $1,019,721.21
                                                             1/5/20, Order requests memo line shall state, Applied first to 941 trust
         Lees Summit, MO 64064                               fund taxes". [WITHDRAWN]
                                                             Ntcs to: Internal Revenue Service, PO Box 7346, Philadelphia, PA
                                                             19101-7346; Taxes: 8342- FUTA (12/31/13 & 12/31/2015); WT-FICA
                                                             (12/31/2014, 3/31/15, 6/30/15, 9/30/15, AND 12/31/2015).


         <5800-00 Claims of Governmental Units>, 570
 57U-1   Internal Revenue Service              Unsecured                             $283,779.73                  $0.00        $283,779.73
         ATTN: Mail Stop 5334,                 06/06/16                              $283,779.73
                                                             Ntcs to: Internal Revenue Service, PO Box 7346, Philadelphia, PA
         Lees Summit, MO 64064                               19101-7346; Taxes: 8342- FUTA (12/31/13 & 12/31/2015); WT-FICA
                                                             (12/31/2014, 3/31/15, 6/30/15, 9/30/15, AND 12/31/2015).


         <7100-00 General Unsecured § 726(a)(2)>, 610
 58 -2   Mid-Tec, Inc.                         Secured       MULTI                   $618,826.81                  $0.00        $618,826.81
         2274 S Business Hwy 71                06/06/16                              $618,826.81
                                                             Ntcs to: Martin R. Ufford, Hinkle Law Firm LLC, 301 N. Main, Suite
         Anderson, MO 64831                                  2000, Wichita, KS 67202; Goods sold and services performed;
                                                             Recorded Subcontractor's Lien Statements.


         <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>, 100




                                 Case 16-10759       Doc# 568        Filed 08/16/21        Page 55 of 95
 Printed: 08/13/21 04:33 PM                                                                                              Page: 39

                                           Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:   08/15/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./        Amount Filed/                Paid            Claim
Number   <Category>, Priority                    Date Filed    Notes                  Allowed                 to Date         Balance
 59 -1   Wex Bank                                Unsecured     7381                    $24,526.82                $0.00        $24,526.82
         P O Box 639                             06/06/16                              $24,526.82
                                                               Fuel credit card purchases.
         Portland, ME 04104
         <7100-00 General Unsecured § 726(a)(2)>, 610
 60 -1   Thomas Woosley                          Priority      WAGES                    $4,250.01                $0.00         $2,777.38
         742 Park Hill Street                    06/06/16                               $2,777.38
                                                               [Gross Wage $4250.01 Less Taxes = Net $2777.38 FICA $263.50
         Bowling Green, KY 42101                               Income Tax $935.00 Medicare $61.63 KS Income Tax $212.50]
                                                               Service performed (payroll) & (per diem).
                                                               6/21/17 - Phn msg from cred w/ updated address- updated address.
                                                               Tel: (270) 535-1202.


         <5300-00 Wages>, 510
 61 -1   Trenton Agri Products LLC               Unsecured                              $5,400.00                $0.00         $5,400.00
         2020 N. Bramblewood                     06/06/16                               $5,400.00
         Wichita, KS 67206
         <7100-00 General Unsecured § 726(a)(2)>, 610
 62 -1   Christopher Dale Carter                 Priority      WAGES                   $10,315.52                $0.00         $6,741.19
         104 S Putter Dr                         06/07/16                               $6,741.19
                                                               [Gross Wage $10315.52 Less Taxes = Net $6741.19 FICA $639.56
         Andover, KS 67002                                     Income Tax $2269.41 Medicare $149.58 KS Income Tax $515.78]
                                                               Payroll due 2/17/16 to 3/10/16. Contributions are deducted pre tax
                                                               and are not being paid in to a plan, but instead directly to the
                                                               employee, thereofre they are being paid as wage claims.


         <5300-00 Wages>, 510
 63 -1   CornerBank co Rick Griffin,Samantha     Unsecured     LEASE NO.             $1,642,443.77               $0.00     $1,642,443.77
         Woods                                   06/07/16      B-071513              $1,642,443.77
         Martin Pringle Oliver Wallace & Bauer
         100 N Broadway Ste 500                                c/o W Rick Griffin and Samantha M. H. Woods; Guarantee of Lease-
         Wichita, KS 67202                                     Green Energy Products, LLC.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 64 -1   Midwest Steel Fabricators               Unsecured     N/A                     $73,496.00                $0.00        $73,496.00
         PO Box 4233                             06/08/16                              $73,496.00
                                                               Ntcs to: Mark J. Lazzo; 3500 N Rock Rd., Bldg 300, Suite B, Wichita,
         Wichita, KS 67204                                     KS 67226; Good sold.


         <7100-00 General Unsecured § 726(a)(2)>, 610




                                Case 16-10759          Doc# 568       Filed 08/16/21         Page 56 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 40

                                            Exhibit C- Claims Register
                                           Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:   08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./        Amount Filed/                Paid            Claim
Number   <Category>, Priority                  Date Filed    Notes                  Allowed                 to Date         Balance
 65 -1   Applied Industrial Technologies       Unsecured     1244512                    $466.69                $0.00           $466.69
         co Dianne Misenko                     06/08/16                                 $466.69
         One Applied Plaza                                   Goods sold.
         Cleveland, OH 44115
         <7100-00 General Unsecured § 726(a)(2)>, 610
 66 -1   Jacob Dawson                          Priority      WAGES                    $1,903.20                $0.00         $1,243.74
         1104 Randolph Street                  06/09/16                               $1,243.74
                                                             [Gross Wage $1903.20 Less Taxes = Net $1243.74 FICA $118.00
         Bronson, KS 66716                                   Income Tax $418.70 Medicare $27.60 KS Income Tax $95.16]
                                                             Services performed- field laborer- wages owed.


         <5300-00 Wages>, 510
 67 -1   Jeremiah Dawson                       Priority      WAGES                    $3,173.27                $0.00         $2,073.74
         1104 Randolph Street                  06/09/16                               $2,073.74
                                                             [Gross Wage $3173.27 Less Taxes = Net $2073.74 FICA $196.74
         Bronson, KS 66716                                   Income Tax $698.12 Medicare $46.01 KS Income Tax $158.66]
                                                             Services provided-welder-wages owed


         <5300-00 Wages>, 510
 68 -1   F&H Insulation Sales and Services Inc Unsecured     WBSE011                 $56,754.00                $0.00        $56,754.00
         5003 E 61st North                     06/09/16                              $56,754.00
                                                             Ntcs to: Mark Borofsky, F & H Insulation Sales and Services Inc, 2533
         Kechi, KS 67067                                     Glacier Drive, Wichita, KS 67215.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 69 -1   Keith Baldwin                         Priority      WAGES                    $5,620.00                $0.00         $3,672.67
         404 Maple Street                      06/09/16                               $3,672.67
                                                             [Gross Wage $5620.00 Less Taxes = Net $3672.67 FICA $348.44
         Rathban, IA 52544                                   Income Tax $1236.40 Medicare $81.49 KS Income Tax $281.00]
                                                             Unpaid wages and per diem.


         <5300-00 Wages>, 510
 70 -1   Baughman Company                      Unsecured     INV # 36864              $1,750.00                $0.00         $1,750.00
         315 S. Eillis                         06/09/16                               $1,750.00
                                                             Services performed- construction staking.
         Wichita, KS 67211
         <7100-00 General Unsecured § 726(a)(2)>, 610
 71 -1   ICM, Inc                              Unsecured     INV #                   $10,403.09                $0.00        $10,403.09
         PO Box 397                            06/10/16      PIN001623               $10,403.09


                                                             goods sold and services performed.
         Colwich, KS 67030
         <7100-00 General Unsecured § 726(a)(2)>, 610

                                Case 16-10759        Doc# 568      Filed 08/16/21        Page 57 of 95
 Printed: 08/13/21 04:33 PM                                                                                              Page: 41

                                            Exhibit C- Claims Register
                                           Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:   08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority                  Date Filed    Notes                   Allowed                 to Date          Balance
 72 -1   Summer Austin                         Priority      WAGES                     $2,344.20                $0.00          $1,531.94
         626 W. Parkway Ct                     06/10/16                                $1,531.94
                                                             [Gross Wage $2344.20 Less Taxes = Net $1531.94 FICA $145.34
         Valley Center, KS 67147                             Income Tax $515.72 Medicare $33.99 KS Income Tax $117.21]
                                                             Services performed (previous employee): wages $1,695.88. See POC
                                                             72A-1 for contributions to employee benefit plan $648.32.
                                                             Contributions are deducted pre tax and are not being paid in to a plan,
                                                             but instead directly to the employee, thereofre they are being paid as
                                                             wage claims.


         <5300-00 Wages>, 510
 73 -1   Precision Fitting and Gauge Co.       Unsecured     107167                   $45,065.74                $0.00         $45,065.74
         1214 S Joplin Ave                     06/13/16                               $45,065.74
                                                             Goods sold.
         Tulsa, OK 74112
         <7100-00 General Unsecured § 726(a)(2)>, 610
 74 -1   Sentry Equipment Corp                 Unsecured     CUST ID#                  $1,613.78                $0.00          $1,613.78
         co Accounting                         06/13/16      WBS300                    $1,613.78
         966 Blue Ribbon Circle N
                                                             Goods sold.
         Oconomowoc, WI 53066
         <7100-00 General Unsecured § 726(a)(2)>, 610
 75 -1   Team Industrial Services, Inc         Unsecured     INV #2445740             $44,736.50                $0.00         $44,736.50
         co Weldon Eggert                      06/15/16                               $44,736.50
         13131 Dairy Ashford Ste 600                         Goods sold & services performed.
         Sugarland, TX 77478
         <7100-00 General Unsecured § 726(a)(2)>, 610
 76 -1   IMA Inc                               Unsecured     WBSERV                   $17,500.00                $0.00         $17,500.00
         Attn Mick Lynch                       06/14/16                               $17,500.00
         8200 E 32nd Street North
         Wichita, KS 67226
         <7100-00 General Unsecured § 726(a)(2)>, 610
 77 -1   Protego USA, Inc.                     Unsecured     INV #12391 15            $21,907.35                $0.00         $21,907.35
         497 Jessen Lane                       06/17/16      JC, ETC.                 $21,907.35


                                                             Goods sold.
         Charleston, SC 29492
         <7100-00 General Unsecured § 726(a)(2)>, 610
 78 -1   Brandon Maloy                         Priority      WAGES                     $4,846.78                $0.00          $3,167.37
         1643 N 2nd St                         06/17/16                                $3,167.37
                                                             [Gross Wage $4846.78 Less Taxes = Net $3167.37 FICA $300.50
         Seward, NE 68434                                    Income Tax $1066.29 Medicare $70.28 KS Income Tax $242.34]



                                Case 16-10759        Doc# 568         Filed 08/16/21      Page 58 of 95
 Printed: 08/13/21 04:33 PM                                                                                             Page: 42

                                             Exhibit C- Claims Register
                                            Case: 16-10759 WB SERVICES, LLC
                                                                                                          Claims Bar Date:   08/15/16
 Claim   Claimant Name /                        Claim Type/   Claim Ref./        Amount Filed/                Paid            Claim
Number   <Category>, Priority                   Date Filed    Notes                  Allowed                 to Date         Balance
         <5300-00 Wages>, 510
 79 -1   Joseph Jackson                         Priority      WAGES                    $2,224.00                $0.00         $1,453.38
         3660 Grant Dr, Apt 104                 06/20/16                               $1,453.38
                                                              [Gross Wage $2224.00 Less Taxes = Net $1453.38 FICA $137.89
         Reno, NV 89509                                       Income Tax $489.28 Medicare $32.25 KS Income Tax $111.20]
                                                              50 hrs work + 7 days per diem at $82 a day; 1650 + 574 per diem
                                                              30 HR pay 40 HR + 10hr?r x 45 + per diem
                                                              8/14/19- Ntc of change of address to 2902 South Bunker Hill #367,
                                                              Wichita, KS 67210.
                                                              6/11/20- Ntc of change of address to 3660 Grant Dr, Apt #104, Reno,
                                                              NV 89509.


         <5300-00 Wages>, 510
 80 -1   Total Quality Logistics LLC            Unsecured     **                       $4,400.00                $0.00         $4,400.00
         1701 Edison Drive                      06/21/16                               $4,400.00
                                                              Services performed. ** NO SUPPORTING DOCS- OBJECT?
         Milford, OH 45150
         <7100-00 General Unsecured § 726(a)(2)>, 610
 81 -1   Bilfinger Water Technologies Inc       Unsecured     3094                    $48,949.45                $0.00        $48,949.45
         P O Box 123482 Dept 3482               06/21/16                              $48,949.45
                                                              Johnson Screens; Goods sold.
         Dallas, TX 75312
         <7100-00 General Unsecured § 726(a)(2)>, 610
 82 -1   Total Electric Inc.                    Unsecured                             $97,807.37                $0.00        $97,807.37
         1857 N Mosley                          06/23/16                              $97,807.37
                                                              Services performed.
         Wichita, KS 67214
         <7100-00 General Unsecured § 726(a)(2)>, 610
 83 -1   Kiel Robert Ulery                      Priority      WAGES                    $3,995.87                $0.00         $2,611.31
         963 Main St                            06/27/16                               $2,611.31
                                                              [Gross Wage $3995.87 Less Taxes = Net $2611.31 FICA $247.74
         Auburn, IL 62615                                     Income Tax $879.09 Medicare $57.94 KS Income Tax $199.79]
                                                              Wages (Former employee)


         <5300-00 Wages>, 510
 84 -1   Sigma Engineers & Constructors, Inc.   Unsecured                             $10,893.27                $0.00        $10,893.27
         11585 Lake Sherwood Ave N              06/28/16                              $10,893.27
                                                              Services performed; Inv #'s 15053110101 ($5,026.01), 15053110102
         Baton Rouge, LA 70816                                ($4,947.76), 15063110101 ($303.00), and 15063110102 ($616.50).


         <7100-00 General Unsecured § 726(a)(2)>, 610




                                Case 16-10759         Doc# 568       Filed 08/16/21       Page 59 of 95
 Printed: 08/13/21 04:33 PM                                                                                           Page: 43

                                            Exhibit C- Claims Register
                                          Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:   08/15/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./       Amount Filed/               Paid            Claim
Number   <Category>, Priority                    Date Filed    Notes                 Allowed                to Date         Balance
 85 -1   Praxair Distribution Inc                Unsecured     74528055               $29,046.58              $0.00         $29,046.58
         c/o RMS Bankruptcy Recovery Services 06/29/16                                $29,046.58
         P.O. Box 361345                                       Goods sold Services performed.
         Columbus, OH 43236
         <7100-00 General Unsecured § 726(a)(2)>, 610
 86 -1   Hajoca Corp                             Unsecured     221844                 $50,412.56              $0.00         $50,412.56
         Attn Alysia Hedrick                     07/01/16                             $50,412.56
         4085 McDonald Dr                                      Goods sold.
         Dubuque, IA 52003
         <7100-00 General Unsecured § 726(a)(2)>, 610
 87 -1   Electro Controls Inc                    Unsecured     230305                 $33,745.00              $0.00         $33,745.00
         PO Box 539                              07/01/16                             $33,745.00
                                                               Goods sold.
         Sidney, OH 45365
         <7100-00 General Unsecured § 726(a)(2)>, 610
 88 -1   Office of the County Counselor          Priority      8342                        $52.91             $0.00            $52.91
         Patricia J Parker 10413                 07/07/16                                  $52.91
         525 N Main Suite 359                                  County taxes (Personal Property) PIN #469464; Pursuant to 11 USC
         Wichita, KS 67203-3790                                507(a)(8).


         <5800-00 Claims of Governmental Units>, 570
 89 -1   United Telephone Company of             Unsecured     8342 / 3389                $340.52             $0.00           $340.52
         Kansas/dbaCenturyLink                   07/07/16                                 $340.52
         CenturyLink Bankruptcy                                Telecommunication services.
         359 Bert Kouns
         Shreveport, LA 71106
         <7100-00 General Unsecured § 726(a)(2)>, 610
 90 -1   Johnson Controls, Inc.                  Unsecured     1862603                $63,373.45              $0.00         $63,373.45
         co Michael DuPont,Fifth Street Towers   07/08/16                             $63,373.45
         100 S Firth St Ste 800                                Goods and services performed.
         Minneapolis, MN 55402
         <7100-00 General Unsecured § 726(a)(2)>, 610
 91 -1   Brook Bird                              Priority      WAGES                     $4,559.48            $0.00          $2,979.62
         1521 7th St.                            07/11/16                                $2,979.62
                                                               [Gross Wage $4559.48 Less Taxes = Net $2979.62 FICA $282.69
         Columbus, NE 68601                                    Income Tax $1003.09 Medicare $66.11 KS Income Tax $227.97]
                                                               Services provided / Wages pursuant to 11 USC 407(a)(4).


         <5300-00 Wages>, 510




                                    Case 16-10759      Doc# 568         Filed 08/16/21      Page 60 of 95
 Printed: 08/13/21 04:33 PM                                                                                                Page: 44

                                           Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                            Claims Bar Date:     08/15/16
 Claim   Claimant Name /                        Claim Type/   Claim Ref./         Amount Filed/                 Paid              Claim
Number   <Category>, Priority                   Date Filed    Notes                   Allowed                  to Date           Balance
 92 -1   Arkema Inc                             Unsecured     3734                    $190,519.35                 $0.00        $190,519.35
         co Lisa Brody                          07/12/16                              $190,519.35
         900 First Ave                                        Goods sold: Inv # 91985375 $4,806.03; Inv #91985521 $46,428.33;
         King of Prussia, PA 19406                            Inv #91985749 $46,428.33; Inv #91985960 $46,428.33; Inv
                                                              #91985961 $46,428.33.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 93 -1   Steel Building Sales LLC               Unsecured                              $17,404.00                 $0.00          $17,404.00
         P O Box 726                            07/12/16                               $17,404.00
                                                              aka Topline Steel Buildings; goods sold, services performed; Inv
         Andover, KS 67002                                    #1015 (8/26/15) $6K; Inv #1026 (9/11/15) $11,404.00.


         <7100-00 General Unsecured § 726(a)(2)>, 610
 94 -1   Pumping Solutions, Inc.                Unsecured     WBSERV001                   $731.18                 $0.00            $731.18
         2850 West 139th Street                 07/14/16                                  $731.18
                                                              Goods sold.
         Blue Island, IL 60406
         <7100-00 General Unsecured § 726(a)(2)>, 610
 95 -1   Indiana Steel Fabricating Inc          Unsecured                             $200,000.00                 $0.00        $200,000.00
         c o RC Richmond III,Taft Stettinius &   07/15/16                             $200,000.00
         Hollister LLP,One Indiana Square, Suite              Services performed under contract.
         Indianapolis, IN 46204-2023
         <7100-00 General Unsecured § 726(a)(2)>, 610
 96 -1   Engineers-Architects PC                Unsecured     2112                     $35,610.00                 $0.00          $35,610.00
         dba EAPC Industrial Services           07/18/16                               $35,610.00
         3100 Demers Ave                                      Services performed.
         Grand Forks, ND 58201
         <7100-00 General Unsecured § 726(a)(2)>, 610
 97 -1   Andres Murillo                         Priority      WAGES                     $3,972.00                 $0.00           $2,595.71
         1304 W. Austin PL                      07/19/16                                $2,595.71
                                                              [Gross Wage $3972.00 Less Taxes = Net $2595.71 FICA $246.26
         Broken Arrow, OK 74011                               Income Tax $873.84 Medicare $57.59 KS Income Tax $198.60]


         <5300-00 Wages>, 510
 98 -1   Eric P Mork                            Priority      WAGES                    $12,850.00                 $0.00           $8,397.47
         3960 Sweet Bay Ct                      07/19/16                                $8,397.47
                                                              [Gross Wage $12850.00 Less Taxes = Net $8397.47 FICA $796.70
         Wichita, KS 67226                                    Income Tax $2827.00 Medicare $186.33 KS Income Tax $642.50]
                                                              Wages (sales commision), compensation package terms; wages (11
                                                              usc 507(a)(4)) $12,850 and Contributions are deducted pre tax and
                                                              are not being paid in to a plan, but instead directly to the employee,
                                                              therefore they are being paid as wage claims.



                                 Case 16-10759        Doc# 568       Filed 08/16/21        Page 61 of 95
 Printed: 08/13/21 04:33 PM                                                                                                Page: 45

                                             Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                            Claims Bar Date:    08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./         Amount Filed/                  Paid             Claim
Number   <Category>, Priority                  Date Filed    Notes                   Allowed                   to Date          Balance
         <5300-00 Wages>, 510
 99 -1   Decker Electric, Inc.                 Secured       S247                  $1,089,453.95                  $0.00     $1,089,453.95
         4500 West Harry                       07/21/16                            $1,089,453.95
                                                             Ntcs to: Decker Electric, Inc., co William B. Sorensen, Jr., 300 N.
         Wichita, KS 67209                                   Mead Ste 200, Wichita, KS 67202; Goods and services performed;
                                                             Secured-- Mechanic's lien in 3rd party property; unsecured claim at
                                                             bar.


         <4120-00 Real Estate--Non-consensual Liens (judgments, mechanics liens)>, 100
 HLF-1   Hinkle Law Firm LLC                   Admin Ch. 7                             $2,471.00              $2,471.00              $0.00
         301 North Main Street, Suite 2000     04/28/16                                $2,471.00
                                                             Per 3/15/17, Order; INVOICE #228459; $2,471.00. Payment was
         Wichita, KS 67202-4820                              turned over to estate instead of Hinkle Law Firm. All other invoices will
                                                             be paid directly to Hinkle Law Firm from the 401K funds.


         <3991-00 Other Professional Fees>, 200
100 -1   Fastenal                              Unsecured     OTKS                      $7,512.36                  $0.00          $7,512.36
         2001 Theurer Blvd                     07/21/16                                $7,512.36
                                                             INWIN0237 $1,952.31; KSNEW0267 $1,480.61; KSOTT0899
         Winona, MN 55987                                    $3,631.61; NEMCC0625 $447.63; Goods sold.


         <7100-00 General Unsecured § 726(a)(2)>, 610
101 -1   Adkins Energy LLC                     Unsecured                             $478,937.07                  $0.00        $478,937.07
         4350 W Galena Rd                      07/21/16                              $478,937.07
                                                             Cost to complete the WB work on a fixed price contract.
         Lena, IL 61048
         <7100-00 General Unsecured § 726(a)(2)>, 610
102 -1   JCI Industries, Inc.                  Unsecured     CUST ID                 $190,567.52                  $0.00        $190,567.52
         1161 SE Hamblen Rd                    07/21/16      4005399                 $190,567.52


                                                             Inv #8110534 $70,987.82; Inv #8110535 $70,987.82; Inv #8110019
         Lee's Summit, MO 64081                              $34,341.00; Inv #8113943 $14,250.88. Notices to: C/O David E Shay,
                                                             Esq, 2323 Grand Blvd, #100, Kansas City, MO 64108.


         <7100-00 General Unsecured § 726(a)(2)>, 610
103 -1   James Jackson                         Priority      ESTIMATED                 $5,634.00                  $0.00          $3,681.82
         575 Pine Ridge Street, #3             07/22/16                                $3,681.82
                                                             [Gross Wage $5634.00 Less Taxes = Net $3681.82 FICA $349.31
         Marshfield, MO 65706                                Income Tax $1239.48 Medicare $81.69 KS Income Tax $281.70]
                                                             Wages (11 usc 507(a)(4))


         <5300-00 Wages>, 510



                                 Case 16-10759       Doc# 568       Filed 08/16/21         Page 62 of 95
 Printed: 08/13/21 04:33 PM                                                                                             Page: 46

                                           Exhibit C- Claims Register
                                          Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:   08/15/16
 Claim   Claimant Name /                      Claim Type/   Claim Ref./        Amount Filed/                 Paid            Claim
Number   <Category>, Priority                 Date Filed    Notes                  Allowed                  to Date         Balance
104 -1   Central Bank and Trust Co.           Unsecured                           $2,428,224.76                 $0.00    $2,428,224.76
         co Foulston Siefkin LLP              07/22/16                            $2,428,224.76
         1551 N Waterfront Pkwy Ste 100                     Money loaned; Borrower: Prairie Horizon Advanced Fuels, LLC;
         Wichita, KS 67206                                  Guarantor: WB Services, LLC; Construction loan; Collateral- Real
                                                            estate mortgage dated 1/26/15 ($11,200) covering property located at
                                                            1660 East 100 Road, Phillipsburg, Phillips County, Kanas; Security
                                                            Agreement dated 1/1/16 in the name of Prairie Horizon Advanced
                                                            Fuels, LLC.


         <7100-00 General Unsecured § 726(a)(2)>, 610
105 -1   Fremar Corporation                   Unsecured                                 $5,827.90               $0.00        $5,827.90
         5720 N. Broadway                     07/22/16                                  $5,827.90
                                                            Materials purchased and delivered to Debtor site.
         Wichita, KS 67219
         <7100-00 General Unsecured § 726(a)(2)>, 610
106 -1   Jogler, LLC                          Unsecured     WBSERV                      $6,653.45               $0.00        $6,653.45
         6646 Complex Drive                   07/25/16                                  $6,653.45
                                                            Goods sold- level gauge.
         Baton Rouge, LA 70809
         <7100-00 General Unsecured § 726(a)(2)>, 610
107 -1   Eric Stewart                         Priority      WAGES                       $3,587.95               $0.00        $2,344.72
         329 Poplar Rd                        07/27/16                                  $2,344.72
                                                            [Gross Wage $3587.95 Less Taxes = Net $2344.72 FICA $222.45
         Bronson, KS 66716                                  Income Tax $789.35 Medicare $52.03 KS Income Tax $179.40]
                                                            Services performed/wages (11 USC 507(a)(4).


         <5300-00 Wages>, 510
108 -1   Dillon King                          Priority      WAGES                       $5,314.00               $0.00        $3,472.70
         1274 Bethel Church Rd                08/01/16                                  $3,472.70
                                                            [Gross Wage $5314.00 Less Taxes = Net $3472.70 FICA $329.47
         Summerville, GA 30747                              Income Tax $1169.08 Medicare $77.05 KS Income Tax $265.70]
                                                            Work performed from 2/14/16 until 3/2/16 (11 USC 507(a)(4). Claim
                                                            indicates that WB would not provide proof of wages owed.


         <5300-00 Wages>, 510
109 -1   American Express Travel Related      Unsecured                                $53,968.85               $0.00       $53,968.85
         Services Company Inc                 08/02/16                                 $53,968.85
         c o Becket and Lee LLP,PO Box 3001                 Credit card.
         Malvern, PA 19355-0701
         <7100-00 General Unsecured § 726(a)(2)>, 610




                                Case 16-10759       Doc# 568       Filed 08/16/21          Page 63 of 95
 Printed: 08/13/21 04:33 PM                                                                                                Page: 47

                                            Exhibit C- Claims Register
                                          Case: 16-10759 WB SERVICES, LLC
                                                                                                             Claims Bar Date:    08/15/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number   <Category>, Priority                    Date Filed    Notes                   Allowed                  to Date          Balance
110 -1   Loren Michael Tripp                     Priority      WAGES                     $3,676.45                 $0.00          $2,402.56
         co Clayton D. Ketter,Phillips Murrah P.C 08/02/16                               $2,402.56
         101 North Robinson Ave., 13th Floor                   [Gross Wage $3676.45 Less Taxes = Net $2402.56 FICA $227.94
         Oklahoma City, OK 73102                               Income Tax $808.82 Medicare $53.31 KS Income Tax $183.82]
                                                               Employee wages, salaries & expense reimbursement.


         <5300-00 Wages>, 510
111 -1   AimNorth Communications, Inc            Unsecured     INVOICE                  $19,578.62                 $0.00         $19,578.62
         12295 SW 90th St                        08/03/16      #160301                  $19,578.62


                                                               Services performed.
         Andover, KS 67002
         <7100-00 General Unsecured § 726(a)(2)>, 610
112 -1   Steinberger Construction, Inc.          Secured                                $78,255.42                 $0.00         $78,255.42
         PO Box 75037                            08/03/16                               $78,255.42
                                                               Services performed; Mechanic's lien on 751 W State Road 114,
         Wichita, KS 67275-5037                                Rensselaer, Indiana 47978 as well as on all buildings, other structures
                                                               and improvements located thereon connected therewith for work and
                                                               labor done, etc.


         <4120-00 Real Estate--Non-consensual Liens (judgments, mechanics liens)>, 100
113P-1   Iowa Department of Revenue              Priority      0851                      $8,080.80                 $0.00          $8,080.80
         Attn Bankruptcy Unit                    08/04/16      WITHHOLDING               $8,080.80
         P O Box 10471                                         6/30/15


                                                               Taxes $7,800.00; interest $280.80. Penalties $780.00.
         Des Moines, IA 50306
         <5800-00 Claims of Governmental Units>, 570
113U-1   Iowa Department of Revenue              Unsecured     0851                        $780.00                 $0.00           $780.00
         Attn Bankruptcy Unit                    08/04/16      WITHHOLDING                 $780.00
         P O Box 10471                                         6/30/15


                                                               Taxes $7,800.00; interest $280.80. Penalties $780.00.
         Des Moines, IA 50306
         <7400-00 Subordinated General Unsecured (Equitably or consensually subordinated)>, 630
114 -1   Mitternight, Inc.                       Unsecured                             $312,220.95                 $0.00        $312,220.95
         PO Box 489                              08/05/16                              $312,220.95
                                                               Creditor is seeking rejection of pending contract, which will permit
         Satsuma, AL 36572                                     creditor to reduce claim by liquidating subject equipment. Supporting
                                                               documents attached to Motion filed as Doc #80.
                                                               19 1122 No change to claim amt.


         <7100-00 General Unsecured § 726(a)(2)>, 610


                                Case 16-10759          Doc# 568      Filed 08/16/21         Page 64 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 48

                                          Exhibit C- Claims Register
                                       Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:   08/15/16
 Claim   Claimant Name /                      Claim Type/    Claim Ref./        Amount Filed/                Paid            Claim
Number   <Category>, Priority                 Date Filed     Notes                  Allowed                 to Date         Balance
115 -1   Central National Bank                Unsecured                           $5,734,350.98                $0.00     $5,734,350.98
         100 Rim Rock Drive                    08/08/16                           $5,734,350.98
                                                             Ntcs to: Donald G. Rensch; Money loaned, guaranty obligation *assets
         Junction City, KS 66441                             of Green Energy Products, LLC securing the debt. Borrowers: Green
                                                             Energy Products LLC; WB Holding LLC; WB Services, LLC. Security:
                                                             Real Estate Mortgage dated 1/17/13 in the name of Sedgwick
                                                             Centures, LLC in the amount of $500,000 on property commonly
                                                             known as 250 E. Industrial Dr, Sedgwick, KS; Real Estate mortgage
                                                             dated 1/17/14 in the name of Sedgwick Ventures, LLC in the amount
                                                             of $1,200,000 on the property commonly known as 250 E Industrial
                                                             Dr., Sedgwick, KS; Assignment of Leases and Rents in the name of
                                                             Sedgwick Ventures, LLC dated 1/17/14 in the amount of $1,200,000
                                                             on the property commonly known as 250 E Industrial Dr., Sedgwick,
                                                             KS; Security Agreement dated 1/17/13 in the name of Green Energy
                                                             Products LLC; Security Agreement dated 1/17/14 in the name of
                                                             Green Energy Products, LLC; Assignment of Life Insurance in the
                                                             name of Ronald J Beemiller II dated 1/17/13; Assignment of Life
                                                             Insurance in the name of Eric J Vogel dated 1/17/13; Loan Agreement
                                                             dated 1/17/14. 1/27/15- Modification Agreement to Promissory Note-
                                                             added collateral- Amended and Restated Mortgage dated 7/23/14;
                                                             Amended and Restated Security Agreement dated 7/23/14;
                                                             Assignment of Leases and Rents dated 7/23/14; Assignment of Lease
                                                             dated 7/23/14. 1/27/16- Modification Agreement to Promissory Note-
                                                             extended maturity date.


         <7100-00 General Unsecured § 726(a)(2)>, 610
116 -1   Coleman Materials LLC                Unsecured      INVOICE                  $1,221.20                $0.00         $1,221.20
         P.O. Box 771481                       08/08/16      #C41021 &                $1,221.20
                                                             34756


                                                             Goods sold; Inv #C41021 $520.00 & #34756 $701.20
         Wichita, KS 67213
         <7100-00 General Unsecured § 726(a)(2)>, 610
117 -1   Kansas Department of Labor           Secured                                $12,979.16                $0.00        $12,979.16
         Legal Services                        08/09/16                              $12,979.16
         401 SW Topeka Blvd                                  State Unemployment Taxes $12,601.13 + Interest of $378.03; Quarter
         Topeka, KS 66603                                    4 2015; Secured by all property, real or personal, belonging to such
                                                             person. Basis: Perfection not predicate (Ch 44 -717,719).


         <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>, 100
118 -1   Tim Livesay                          Priority       WAGES                    $3,000.00                $0.00         $1,960.50
         1207 Berry Ave.                       08/09/16                               $1,960.50
                                                             [Gross Wage $3000.00 Less Taxes = Net $1960.50 FICA $186.00
         Newton, KS 67114                                    Income Tax $660.00 Medicare $43.50 KS Income Tax $150.00]
                                                             Services performed; Wages (11 USC 507(a)(4).


                                 Case 16-10759      Doc# 568       Filed 08/16/21          Page 65 of 95
 Printed: 08/13/21 04:33 PM                                                                                                   Page: 49

                                              Exhibit C- Claims Register
                                             Case: 16-10759 WB SERVICES, LLC
                                                                                                             Claims Bar Date:      08/15/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./         Amount Filed/                 Paid               Claim
Number   <Category>, Priority                    Date Filed    Notes                   Allowed                  to Date            Balance
         <5300-00 Wages>, 510
119 -1   FedEx Tech Connect Inc as assignee of Unsecured       392356100                 $1,427.14                 $0.00           $1,427.14
         FedEx Express/Ground/Freight/Office 08/09/16                                    $1,427.14
         3965 Airways Blvd, Module G, 3rd Floor                Services.
         Memphis, TN 38116-5017
         <7100-00 General Unsecured § 726(a)(2)>, 610
120 -1   Quality Industrial Products, Inc.       Unsecured     S101                     $76,249.54                 $0.00         $76,249.54
         Attn: Michael Thomas                    08/10/16                               $76,249.54
         14001 Norby Road                                      Ntcs to: Joseph M. Feierabend, 4520 Main Street, Suite 1570, Kansas
         Grandview, MO 64030                                   City, MO 64111; Goods sold and delivered; Mechanic's lien in 3rd
                                                               party property; unsecured claim at bar. Multiple invoices.
                                                               Amended 2/22/17.


         <7100-00 General Unsecured § 726(a)(2)>, 610
121 -1   Fabsco Fin Air, LLC                     Unsecured                              $63,647.00                 $0.00         $63,647.00
         PO Box 988                              08/10/16                               $63,647.00
                                                               Good specifically built for and delivered to WB Services, LLC. No
         Sapulpa, OK 74066                                     supporting documentation.


         <7100-00 General Unsecured § 726(a)(2)>, 610
122 -1   Bruce Helmick                           Priority      WAGES                     $5,264.00                 $0.00           $3,440.02
         1004 Dandelion Dr                       08/11/16                                $3,440.02
                                                               [Gross Wage $5264.00 Less Taxes = Net $3440.02 FICA $326.37
         Clarksville, TN 37042                                 Income Tax $1158.08 Medicare $76.33 KS Income Tax $263.20]
                                                               Services performed; Wages (11 USC 507(a)(4).


         <5300-00 Wages>, 510
123 -1   Cardinal Ethanol                        Unsecured                             $137,349.91                 $0.00        $137,349.91
         co Martin Pringle Oliver Wallace &      08/11/16                              $137,349.91
         Bauer                                                 Fabrication and Installation Agreement.
         100 N Broadway Ste 500
         Wichita, KS 67202
         <7100-00 General Unsecured § 726(a)(2)>, 610
124 -1   Wilson & Company Inc                    Unsecured                              $68,190.00                 $0.00         $68,190.00
         4900 Lang Ave NE                        08/11/16                               $68,190.00
         Albuquerque, NM 87109
         <7100-00 General Unsecured § 726(a)(2)>, 610
125 -1   Mid-Missouri Energy, LLC                Unsecured                             $965,764.00                 $0.00        $965,764.00
         c/o Chris Wilson                        08/12/16                              $965,764.00
         15311 N. Saline Hwy 65                                Breach of Contract for Installation of LP Turbine Generator.
         Malta Bend, MO 35339
         <7100-00 General Unsecured § 726(a)(2)>, 610


                                 Case 16-10759         Doc# 568       Filed 08/16/21        Page 66 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 50

                                         Exhibit C- Claims Register
                                       Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:    08/15/16
 Claim   Claimant Name /                     Claim Type/   Claim Ref./         Amount Filed/                Paid              Claim
Number   <Category>, Priority                Date Filed    Notes                   Allowed                 to Date           Balance
126 -1   Richard Burkhart                    Priority      WAGES                     $1,865.79                $0.00           $1,219.30
         3834 N. Lake Ridge                  08/12/16                                $1,219.30
                                                           [Gross Wage $1865.79 Less Taxes = Net $1219.30 FICA $115.68
         Wichita, KS 67205                                 Income Tax $410.47 Medicare $27.05 KS Income Tax $93.29]
                                                           Employee payroll; wages (11 USC 507(a)(4))


         <5300-00 Wages>, 510
127 -1   Dawna Eldringhoff                   Priority      WAGES                     $3,542.20                $0.00           $2,314.83
         8 Flanigan Court                    08/12/16                                $2,314.83
                                                           [Gross Wage $3542.20 Less Taxes = Net $2314.83 FICA $219.62
         Augusta, KS 67010                                 Income Tax $779.28 Medicare $51.36 KS Income Tax $177.11]
                                                           Wages (11 USC 507(a)(4).


         <5300-00 Wages>, 510
128T-1   Ron Beemiller                       Priority      PMT TO IRS              $125,000.00                $0.00               $0.00
         2642 N Northshore Circle            08/12/16                                    $0.00
                                                           21 0405 Order filed disallowing this portion of claim.
         Wichita, KS 67205                                 Tax payments due to IRS ($125,000.00)[wage claim, and owner
                                                           loans.]


         <5800-00 Claims of Governmental Units>, 570
128U-1   Ron Beemiller                       Unsecured                             $293,097.17                $0.00         $293,097.17
         2642 N Northshore Circle            08/12/16                              $293,097.17
                                                           Owner loan/note payable of WB Services.
         Wichita, KS 67205
         <7100-00 General Unsecured § 726(a)(2)>, 610
128W-1   Ron Beemiller                       Priority      WAGES                    $12,850.00                $0.00           $8,397.47
         2642 N Northshore Circle            08/12/16                                $8,397.47
                                                           [Gross Wage $12850.00 Less Taxes = Net $8397.47 FICA $796.70
         Wichita, KS 67205                                 Income Tax $2827.00 Medicare $186.33 KS Income Tax $642.50]
                                                           Unpaid wages ($100,000.00)[tax payments due to IRS ($125,000.00),
                                                           owner loans] Wage cap is $12,850.


         <5300-00 Wages>, 510
129W-1   Julian Ariagno                      Priority      WAGES                    $12,126.91                $0.00           $7,924.93
         235 Ridgefield Circle               08/12/16                                $7,924.93
                                                           [Gross Wage $12126.91 Less Taxes = Net $7924.93 FICA $751.87
         Andover, KS 67002                                 Income Tax $2667.92 Medicare $175.84 KS Income Tax $606.35]
                                                           Wages (11 USC 507(a)(4)) $10,963.00 [and Contributions (11 USC
                                                           507(a)(5)) $1,000.00]. Wages (sales commision), compensation
                                                           package terms; wages (11 usc 507(a)(4)) $12,850 and Contributions
                                                           are deducted pre tax and are not being paid in to a plan, but instead
                                                           directly to the employee, therefore they are being paid as wage claims.


                                 Case 16-10759     Doc# 568      Filed 08/16/21         Page 67 of 95
 Printed: 08/13/21 04:33 PM                                                                                           Page: 51

                                          Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                        Claims Bar Date:    08/15/16
 Claim   Claimant Name /                     Claim Type/   Claim Ref./        Amount Filed/                Paid              Claim
Number   <Category>, Priority                Date Filed    Notes                  Allowed                 to Date           Balance
         <5300-00 Wages>, 510
130 -1   Haldor Topsoe, Inc.                 Unsecured     N/A                    $376,208.71                $0.00         $376,208.71
         17629 El Camino Real                08/12/16                             $376,208.71
         Suite 300                                         Goods sold.
         Houston, TX 77058
         <7100-00 General Unsecured § 726(a)(2)>, 610
131 -1   Dore Electric Inc                   Unsecured     MV15E3811606             $7,495.00                $0.00           $7,495.00
         c/o Shuttleworth Law Firm LLC       08/12/16                               $7,495.00
         6750 W 93rd St, Suite 110                         Goods sold and services performed.
         Overland Park, KS 66212                           9/6/17- Change of address.


         <7100-00 General Unsecured § 726(a)(2)>, 610
132W-1   Elizabeth Maury                     Priority      WAGES                    $3,681.24                $0.00           $2,405.69
         2880 Union St                       08/15/16                               $2,405.69
                                                           [Gross Wage $3681.24 Less Taxes = Net $2405.69 FICA $228.24
         Clearwater, FL 33759                              Income Tax $809.87 Medicare $53.38 KS Income Tax $184.06]
                                                           Missed wages ($2,823.58) & 401K contributions ($605.78) during
                                                           employment. Plus $251.88 per claim filed by US Dept of
                                                           LaborContributions are deducted pre tax and are not being paid in to a
                                                           plan, but instead directly to the employee, therefore they are being
                                                           paid as wage claims.
                                                           8/23/17- R'd 401K withdrawal request which has the address as 864 N
                                                           Redbud Ct, Valley Center, KS 67147.
                                                           10/16/18- Ntc of Change of Address to PO Box 41, Bentley, KS 67016.
                                                           8/23/19- Ntc of Change of Address to 2880 Union St, Clearwater, FL
                                                           33759.


         <5300-00 Wages>, 510
133 -2   East Kansas Agri-Energy, LLC        Unsecured                          $2,914,466.00                $0.00               $0.00
         Attn Tom Leitnaker                  08/15/16                                   $0.00
         1304 S Main St                                    Ntcs to: Husch Blackwell LLP/Mark T. Benedict, 4801 Main Street,
         Garnett, KS 66032                                 Suite 1000, Kansas City, MO 64112; Contract damages- default under
                                                           Design-Build Agreement.


         <7100-00 General Unsecured § 726(a)(2)>, 610
134 -1   East Kansas Agri-Energy, LLC        Unsecured     N/A                     $17,050.00                $0.00          $17,050.00
         Attn Tom Leitnaker                  08/15/16                              $17,050.00
         1304 S Main St                                    Ntcs to: Husch Blackwell LLP/Mark T. Benedict, 4801 Main Street,
         Garnett, KS 66032                                 Suite 1000, Kansas City, MO 64112; Goods and services.


         <7100-00 General Unsecured § 726(a)(2)>, 610




                                Case 16-10759      Doc# 568      Filed 08/16/21        Page 68 of 95
 Printed: 08/13/21 04:33 PM                                                                                              Page: 52

                                            Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:      08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./         Amount Filed/                Paid                Claim
Number   <Category>, Priority                  Date Filed    Notes                   Allowed                 to Date             Balance
135 -1   East Kansas Agri-Energy, LLC          Unsecured     N/A                       $1,449.93                $0.00             $1,449.93
         Attn Tom Leitnaker                    08/15/16                                $1,449.93
         1304 S Main St                                      Ntcs to: Husch Blackwell LLP/Mark T. Benedict, 4801 Main Street,
         Garnett, KS 66032                                   Suite 1000, Kansas City, MO 64112; Goods sold.


         <7100-00 General Unsecured § 726(a)(2)>, 610
135 -1   East Kansas Agri-Energy, LLC          Unsecured                               $1,449.93                $0.00             $1,449.93
         Husch Blackwell LLC Mark P Benedict   08/15/16                                $1,449.93
         4801 Main Street Suite 1000
         Kansas City, MO 64112
         <7100-00 General Unsecured § 726(a)(2)>, 610
136 -1   Apache Stainless Equipment Corp.      Unsecured     101591                  $135,906.90                $0.00           $135,906.90
         200 Industrial Drive                  08/15/16                              $135,906.90
                                                             Large Stainless Steel Tanks. Inv #197347 $36,943.80; Inv #197348
         Beaver Dam, WI 53916                                $20,954.40; Inv #197356 $2,346.50; Inv # 197357 $2,346.50; Inv
                                                             #197574 $68,400.60; Inv #198313 $68,576.60; Inv #198951
                                                             -$63,661.50 (credit).


         <7100-00 General Unsecured § 726(a)(2)>, 610
137 -1   Caleb Shelton                         Priority      WAGES                     $6,350.00                $0.00             $4,149.72
         442757 E. 160 Rd.                     08/15/16                                $4,149.72
                                                             [Gross Wage $6350.00 Less Taxes = Net $4149.72 FICA $393.70
         Bluejacket, OK 74333                                Income Tax $1397.00 Medicare $92.08 KS Income Tax $317.50]
                                                             Salary, per diem, vacation time (11 USC 507(a)(4)).


         <5300-00 Wages>, 510
138 -1   Haldeman-Homme, Inc.                  Secured       9069                     $81,435.92                $0.00            $81,435.92
         430 Industrial Blvd                   08/15/16                               $81,435.92
                                                             Goods furnished and installed per contract; Subcontractor's lien
         Minneapolis, MN 55413                               statement- Real Estate owned by East Kansas Agri-Energy and
                                                             located at 1304 Main St., Garnett, Anderson County, KS 66032.


         <4120-00 Real Estate--Non-consensual Liens (judgments, mechanics liens)>, 100
139 -1   American Warrior, Inc.                Unsecured     SECURED??             $5,000,000.00                $0.00      $5,000,000.00
         co Christopher A. McElgunn            08/15/16                            $5,000,000.00
         301 N Main St, Ste 1600                             Money loaned- Promissory note-security- 75,000 Class 1 units of WB
         Wichita, KS 67202                                   Services, LLC


         <7100-00 General Unsecured § 726(a)(2)>, 610




                                  Case 16-10759      Doc# 568         Filed 08/16/21      Page 69 of 95
 Printed: 08/13/21 04:33 PM                                                                                                Page: 53

                                          Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                            Claims Bar Date:    08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./         Amount Filed/                  Paid             Claim
Number   <Category>, Priority                  Date Filed    Notes                   Allowed                   to Date          Balance
140 -1   Prairie Horizon Advanced Fuels, LLC   Unsecured                           $7,204,992.95                  $0.00     $7,204,992.95
         1664 East 100 Road                    08/15/16                            $7,204,992.95
                                                             Ntcs to: Patricia A. Reeder, 5611 SW Barrington Ct. South, Topeka,
         Phillipsburg, KS 67661                              KS 66614. Claimant PHAF's claim is for damages for breach of
                                                             executory contract, the debor's Construction Agreement with Claimant
                                                             PHAF, which has been rejected by the bankruptcy estate (PACER Doc
                                                             No 84). The Construction Agreement specidifies that the damages are
                                                             the costs of completing the Work and reasonable attorney's fees which
                                                             exceed the unpaid contract price. The damages are a proposed
                                                             (estimated) amount.


         <7100-00 General Unsecured § 726(a)(2)>, 610
141 -1   Cecil O'Brate                         Unsecured                           $5,000,000.00                  $0.00     $5,000,000.00
         c/o Christopher A. McElgunn,Klenda    08/15/16                            $5,000,000.00
         Austerman LLC,301 N Main, Ste 1600                  Fraud
         Wichita, KS 67202
         <7100-00 General Unsecured § 726(a)(2)>, 610
142S-1   Cecil O'Brate                         Secured                             $1,000,000.00                  $0.00        $59,763.33
         c/o Christopher A. McElgunn,Klenda    08/15/16                               $59,763.33
         Austerman LLC,301 N Main, Ste 1600                  UCC filing secured by First Security Interest in all business assets
         Wichita, KS 67202                                   including contracts, contract receivables, A/R, Inventory and
                                                             Equipment.


         <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>, 100
142U-1   Cecil O'Brate                         Unsecured                          $13,000,000.00                  $0.00    $13,000,000.00
         c/o Christopher A. McElgunn,Klenda    08/15/16                           $13,000,000.00
         Austerman LLC,301 N Main, Ste 1600
         Wichita, KS 67202
         <7100-00 General Unsecured § 726(a)(2)>, 610
143 -1   Alltite, Inc                          Unsecured     WBSEKSSEDG                $3,348.70                  $0.00         $3,348.70
         c/o Jamie Mathias                     08/15/16                                $3,348.70
         1600 E Murdock St                                   Ntcs to: c/o Nicholas R Grillot,Hinkle Law Firm LLC, 301 N Main Suite
         Wichita, KS 67214                                   2000, Wichita, KS 67202-4820; Goods provided and services
                                                             performed; Inv #IN0009920 $966.00 and Inv #IN0009838 $2,382.70.


         <7100-00 General Unsecured § 726(a)(2)>, 610
144 -1   DBI Inc.                              Unsecured     N/A                      $12,633.00                  $0.00        $12,633.00
         5330 N. 57th Street                   08/16/16                               $12,633.00
                                                             NDT Services performed; Inv #56485 $1,817.00; Inv #56433
         Lincoln, NE 68507                                   $4,104.00; Inv #55897 $2,304.00; Inv #55855 $2,015.00; Inv #54504
                                                             $1,295.50; Inv #54366 $1,097.50.


         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620


                                Case 16-10759       Doc# 568         Filed 08/16/21        Page 70 of 95
 Printed: 08/13/21 04:33 PM                                                                                              Page: 54

                                         Exhibit C- Claims Register
                                       Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:    08/15/16
 Claim   Claimant Name /                      Claim Type/   Claim Ref./         Amount Filed/                 Paid              Claim
Number   <Category>, Priority                 Date Filed    Notes                   Allowed                  to Date           Balance
145 -1   Max Jantz Excavating, Inc.           Unsecured     N/A                      $56,883.11                  $0.00        $56,883.11
         PO Box 75037                         08/17/16                               $56,883.11
                                                            Services performed; 10/29/15 $12,755.20; 1/5/16 $17,822.91; and
         Wichita, KS 67275-5037                             10/29/15 $26,305.00. Claim indicates it is not secured and is secured
                                                            by Real Estate. 9/7/16- E-mail to Bruce's office- is the claim secured
                                                            or unsecured- listed in Sch F- please advise.


         <7100-00 General Unsecured § 726(a)(2)>, 610
146 -2   US Dept of Labor                     Priority      7642                     $15,328.95                  $0.00             $0.00
         Employee Benefits Security Admin,co 08/18/16                                     $0.00
         Jackie Waters,2300 Main Street Ste 1100            Funds will be paid out to participants at the last known address.
         Kansas City, MO 64108                              Participants will be added in individually as USDoL cannot accept
                                                            payments for the individuals. See 146A-2 through 146-2 or claims
                                                            filed by individuals. Contributions are deducted pre tax and are not
                                                            being paid in to a plan, but instead directly to the employee, therefore
                                                            they are being paid as wage claims.


         <5400-00 Contributions to Employee Benefit Plans>, 520
146A-2   Julian Ariagno                       Priority      9892                          $0.00                  $0.00             $0.00
         235 Ridgfield Circle                 04/28/16                                    $0.00
                                                            [Gross Wage $0.00 Less Taxes = Net $0.00]
         Andover, KS 67002                                  Included in #129. Contributions are deducted pre tax and are not
                                                            being paid in to a plan, but instead directly to the employee, therefore
                                                            they are being paid as wage claims.


         <5300-00 Wages>, 510
146B-2   Brandon Awtrey                       Priority      6909                        $292.03                  $0.00           $190.84
         1122 N Forestview                    04/28/16                                  $190.84
                                                            [Gross Wage $292.03 Less Taxes = Net $190.84 FICA $18.11 Income
         Wichita, KS 67235                                  Tax $64.25 Medicare $4.23 KS Income Tax $14.60]
                                                            Contributions are deducted pre tax and are not being paid in to a plan,
                                                            but instead directly to the employee, therefore they are being paid as
                                                            wage claims.


         <5300-00 Wages>, 510
146C-2   Marc Awtrey                          Priority      4471                        $615.75                  $0.00           $402.38
         613 W Main St                        04/28/16                                  $402.38
                                                            [Gross Wage $615.75 Less Taxes = Net $402.38 FICA $38.18 Income
         Valley Center, KS                                  Tax $135.47 Medicare $8.93 KS Income Tax $30.79]
                                                            Contributions are deducted pre tax and are not being paid in to a plan,
                                                            but instead directly to the employee, therefore they are being paid as
                                                            wage claims.


         <5300-00 Wages>, 510


                                Case 16-10759       Doc# 568       Filed 08/16/21        Page 71 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 55

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:    08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                  to Date          Balance
146D-2   Nathan Baker                      Priority      0787                        $427.71                 $0.00           $279.50
         900 12th St                       04/28/16                                  $279.50
                                                         [Gross Wage $427.71 Less Taxes = Net $279.50 FICA $26.52 Income
         Fulton, IL 61252                                Tax $94.10 Medicare $6.20 KS Income Tax $21.39]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146E-2   Jeffrey Becker                    Priority      8189                        $438.96                 $0.00           $286.86
         2326 Barker St                    04/28/16                                  $286.86
                                                         [Gross Wage $438.96 Less Taxes = Net $286.86 FICA $27.22 Income
         Clinton, IA 52732                               Tax $96.57 Medicare $6.36 KS Income Tax $21.95]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146F-2   Rodney Beek                       Priority      5396                         $52.75                 $0.00            $34.47
         1208 Moonstone Ct                 04/28/16                                   $34.47
                                                         [Gross Wage $52.75 Less Taxes = Net $34.47 FICA $3.27 Income
         Mason City, IA 50401                            Tax $11.61 Medicare $0.76 KS Income Tax $2.64]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146G-2   Eugene Bonnell                    Priority      2825                        $173.34                 $0.00           $113.28
         18117 33rd St                     04/28/16                                  $113.28
                                                         [Gross Wage $173.34 Less Taxes = Net $113.28 FICA $10.75 Income
         Maquoketa, IA 52060                             Tax $38.13 Medicare $2.51 KS Income Tax $8.67]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146H-2   Dean Camper                       Priority      7446                        $339.27                 $0.00           $221.72
         2311 N Shfford Cir                04/28/16                                  $221.72
                                                         [Gross Wage $339.27 Less Taxes = Net $221.72 FICA $21.03 Income
         Wichita, KS 67205                               Tax $74.64 Medicare $4.92 KS Income Tax $16.96]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.



                                Case 16-10759    Doc# 568       Filed 08/16/21        Page 72 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 56

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:    08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                  to Date          Balance
         <5300-00 Wages>, 510
146I-2   Tory Cooley                       Priority      7871                        $327.82                 $0.00           $214.24
         323 N Jackson Ave                 04/28/16                                  $214.24
                                                         [Gross Wage $327.82 Less Taxes = Net $214.24 FICA $20.32 Income
         Sedgwick, KS 67135                              Tax $72.12 Medicare $4.75 KS Income Tax $16.39]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146J-2   Juan Cruz                         Priority      2348                         $48.39                 $0.00            $31.62
         2052 S Pattie                     04/28/16                                   $31.62
                                                         [Gross Wage $48.39 Less Taxes = Net $31.62 FICA $3.00 Income
         Wichita, KS 67211                               Tax $10.65 Medicare $0.70 KS Income Tax $2.42]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146K-2   Eric Ellis                        Priority      9486                        $292.03                 $0.00           $190.84
         35205 W 13th St N                 04/28/16                                  $190.84
                                                         [Gross Wage $292.03 Less Taxes = Net $190.84 FICA $18.11 Income
         Cheney, KS 67025                                Tax $64.25 Medicare $4.23 KS Income Tax $14.60]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146L-2   Jason Gates                       Priority      4546                          $0.00                 $0.00             $0.00
         2149 130th ST                     04/28/16                                    $0.00
                                                         [Gross Wage $0.00 Less Taxes = Net $0.00]
         Mapleton, KS 66754                              Included in #27. Contributions are deducted pre tax and are not being
                                                         paid in to a plan, but instead directly to the employee, therefore they
                                                         are being paid as wage claims.


         <5300-00 Wages>, 510
146M-2   John Goeschel                     Priority      7239                        $378.20                 $0.00           $247.16
         2888 Highway 67                   04/28/16                                  $247.16
                                                         [Gross Wage $378.20 Less Taxes = Net $247.16 FICA $23.45 Income
         Camanche, IA 52730                              Tax $83.20 Medicare $5.48 KS Income Tax $18.91]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.



                                Case 16-10759    Doc# 568       Filed 08/16/21        Page 73 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 57

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance
         <5300-00 Wages>, 510
146N-2   Charles Goodrich                  Priority      8067                        $504.33                $0.00           $329.58
         130 S Stoneridge St               04/28/16                                  $329.58
                                                         [Gross Wage $504.33 Less Taxes = Net $329.58 FICA $31.27 Income
         Valley Center, KS 67147                         Tax $110.95 Medicare $7.31 KS Income Tax $25.22]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146O-2   Bryce Gould                       Priority      7124                        $175.18                $0.00           $114.48
         1457 N Smith Ct, Apt 3            04/28/16                                  $114.48
                                                         [Gross Wage $175.18 Less Taxes = Net $114.48 FICA $10.86 Income
         Wichita, KS 67212                               Tax $38.54 Medicare $2.54 KS Income Tax $8.76]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146P-2   Shannon Hallowell                 Priority      4789                        $163.14                $0.00           $106.61
         4530 S Ida                        04/28/16                                  $106.61
                                                         [Gross Wage $163.14 Less Taxes = Net $106.61 FICA $10.11 Income
         Wichita, KS 67216                               Tax $35.89 Medicare $2.37 KS Income Tax $8.16]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146Q-2   Dale Hammerschmidt                Priority      8801                        $588.27                $0.00           $384.44
         1445 N Dry Creek Ct               04/28/16                                  $384.44
                                                         [Gross Wage $588.27 Less Taxes = Net $384.44 FICA $36.47 Income
         Derby, KS 67037                                 Tax $129.42 Medicare $8.53 KS Income Tax $29.41]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146R-2   Roger Hansen                      Priority      4663                        $313.80                $0.00           $205.06
         702 9th St                        04/28/16                                  $205.06
                                                         [Gross Wage $313.80 Less Taxes = Net $205.06 FICA $19.46 Income
         Camanche, IA 52730                              Tax $69.04 Medicare $4.55 KS Income Tax $15.69]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.

                                Case 16-10759    Doc# 568       Filed 08/16/21        Page 74 of 95
 Printed: 08/13/21 04:33 PM                                                                                          Page: 58

                                        Exhibit C- Claims Register
                                      Case: 16-10759 WB SERVICES, LLC
                                                                                                       Claims Bar Date:   08/15/16
 Claim   Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority              Date Filed    Notes                   Allowed                 to Date          Balance
         <5300-00 Wages>, 510
146S-2   Kevin Houzenga                    Priority      9646                        $876.09                $0.00           $572.53
         4084 220th St                     04/28/16                                  $572.53
                                                         [Gross Wage $876.09 Less Taxes = Net $572.53 FICA $54.32 Income
         Clinton, IA 52732                               Tax $192.74 Medicare $12.70 KS Income Tax $43.80]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146T-2   Lance Johnson                     Priority      8457                        $350.25                $0.00           $228.88
         1015 Pershing Blvd                04/28/16                                  $228.88
                                                         [Gross Wage $350.25 Less Taxes = Net $228.88 FICA $21.72 Income
         Clinton, IA 52732                               Tax $77.06 Medicare $5.08 KS Income Tax $17.51]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146U-2   Dennis Kalp                       Priority      7139                        $188.84                $0.00           $123.41
         512 Plumwood Dr                   04/28/16                                  $123.41
                                                         [Gross Wage $188.84 Less Taxes = Net $123.41 FICA $11.71 Income
         Rose Hill, KS 67133                             Tax $41.54 Medicare $2.74 KS Income Tax $9.44]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146V-2   Rossner Landsbaum                 Priority      6490                        $678.54                $0.00           $443.42
         501 Edinborough Circle            04/28/16                                  $443.42
                                                         [Gross Wage $678.54 Less Taxes = Net $443.42 FICA $42.07 Income
         Bentley, KS 67016                               Tax $149.28 Medicare $9.84 KS Income Tax $33.93]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.


         <5300-00 Wages>, 510
146W-2   Hollie Lintz                      Priority      8781                        $292.64                $0.00           $191.25
         1402 N Washington                 04/28/16                                  $191.25
                                                         [Gross Wage $292.64 Less Taxes = Net $191.25 FICA $18.14 Income
         Sedgwick, KS 67135                              Tax $64.38 Medicare $4.24 KS Income Tax $14.63]
                                                         Contributions are deducted pre tax and are not being paid in to a plan,
                                                         but instead directly to the employee, therefore they are being paid as
                                                         wage claims.

                                Case 16-10759    Doc# 568       Filed 08/16/21        Page 75 of 95
 Printed: 08/13/21 04:33 PM                                                                                               Page: 59

                                              Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                            Claims Bar Date:     08/15/16
 Claim   Claimant Name /                        Claim Type/   Claim Ref./         Amount Filed/                 Paid              Claim
Number   <Category>, Priority                   Date Filed    Notes                   Allowed                  to Date           Balance
         <5300-00 Wages>, 510
146X-2   Rick Malone                            Priority      5643                        $504.33                 $0.00           $329.58
         589 Woodland Dr                        04/28/16                                  $329.58
                                                              [Gross Wage $504.33 Less Taxes = Net $329.58 FICA $31.27 Income
         Clinton, IA 52732                                    Tax $110.95 Medicare $7.31 KS Income Tax $25.22]
                                                              Contributions are deducted pre tax and are not being paid in to a plan,
                                                              but instead directly to the employee, therefore they are being paid as
                                                              wage claims.


         <5300-00 Wages>, 510
146Y-2   Brandon Maloy                          Priority      2558                          $0.00                 $0.00             $0.00
         1643 N 2nd St                          04/28/16                                    $0.00
                                                              [Gross Wage $0.00 Less Taxes = Net $0.00]
         Seward, NE 68434                                     Included in #78. Contributions are deducted pre tax and are not being
                                                              paid in to a plan, but instead directly to the employee, therefore they
                                                              are being paid as wage claims.


         <5300-00 Wages>, 510
146Z-2   Elizabeth Maury                        Priority      4973                          $0.00                 $0.00             $0.00
         2880 Union St                          04/28/16                                    $0.00
                                                              [Gross Wage $0.00 Less Taxes = Net $0.00]
         Clearwater, FL 33759                                 10/16/18- Ntc of Change of Address to PO Box 41, Bentley, KS 67016.
                                                              Included in POC 132W-1.
                                                              8/23/19- Ntc of Change of Address to 2880 Union St, Clearwater, FL
                                                              33759.


         <5300-00 Wages>, 510
147 -1   Timothy Clyde Hunter                   Priority      WAGES                     $6,200.00                 $0.00          $4,051.70
         151 South 1st Street                   08/22/16                                $4,051.70
                                                              [Gross Wage $6200.00 Less Taxes = Net $4051.70 FICA $384.40
         Fort Towson, OK 74735                                Income Tax $1364.00 Medicare $89.90 KS Income Tax $310.00]
                                                              Services performed (wages and per diem)


         <5300-00 Wages>, 510
148 -1   Illinois Department of Employment      Priority      8342                      $2,965.18                 $0.00          $2,965.18
         Security                               10/14/16                                $2,965.18
         33 S. State Street Bankruptcy Unit                   State unemployment tax: 1/15 $465 +$110.99 interest; 2/15 $465
         10th Floor                                           +82.86 interest; 3/15 $465 + $54.73 interest; 4/15 $465 + $26.60
         Chicago, IL 60603                                    interest; 1/16 $415; 2/15 $415.


         <5800-00 Claims of Governmental Units>, 570




                                Case 16-10759         Doc# 568       Filed 08/16/21        Page 76 of 95
 Printed: 08/13/21 04:33 PM                                                                                                Page: 60

                                             Exhibit C- Claims Register
                                          Case: 16-10759 WB SERVICES, LLC
                                                                                                             Claims Bar Date:     08/15/16
 Claim   Claimant Name /                           Claim Type/   Claim Ref./        Amount Filed/                Paid              Claim
Number   <Category>, Priority                      Date Filed    Notes                  Allowed                 to Date           Balance
149 -1   Campbell Concrete Construction LLC        Unsecured     N/A                     $12,943.25                $0.00          $12,943.25
         P O Box 788                               01/03/17                              $12,943.25
         Hoxie, KS 67740
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620
150 -1   Chemaqua                                  Unsecured     7818                     $4,384.85                $0.00           $4,384.85
         NCH Corporation, Credit Dept              02/06/17                               $4,384.85
         2727 Chemsearch Blvd
         Irving, TX 75062
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620
151P-1   Ohio Department of Taxation               Priority      2016 TAXES               $2,000.50                $0.00           $2,000.50
         Attorney General of the State of Ohio     02/24/17                               $2,000.50
         150 E Gay St, 21st Fl                                   Ntcs to: Ohio Department of Taxation, PO Box 530, Columbus, OH
         Columbus, OH 43215                                      43216.


         <5800-00 Claims of Governmental Units>, 570
151U-1   Ohio Department of Taxation               Unsecured     2016                       $300.00                $0.00            $300.00
         Bankruptcy Division                       02/24/17      PENALTIES                  $300.00
         P.O. Box 530

         Columbus, OH 43216
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620
152 -1   Texas Comptroller of Public Accounts      Unsecured     FRANCHISE                $3,898.25                $0.00           $3,898.25
         Office of the Attorney General            03/10/17      TAX CH 171               $3,898.25
         P O Box 12548 MC-008

         Austin, TX 78711
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620
153 -1   Interstates Construction Services, Inc.   Unsecured     11 USC 502(D)           $87,531.72                $0.00          $87,531.72
         c/o Ryan Visser                           05/30/17      SETTLEMENT              $87,531.72
         1520 North Main Street
                                                                 Ntcs to: Eric C. Rajala, 11936 W 119th St, PMB 304, Overland Park,
         Sioux City, IA 51250                                    KS 66213.


         <7100-00 General Unsecured § 726(a)(2)>, 610
154 -1   Cogent Inc d/b/a Lee Mathews              Unsecured                              $6,790.00                $0.00           $6,790.00
         Equipment                                 07/12/17                               $6,790.00
         c/o Shuttleworth Law Firm LLC                           3/9/20- Ntc of Change of address to 6750 W 93rd St, Suite 110,
         6750 W 93rd St, Ste 110                                 Overland Park, KS 66212.
         Overland Park, KS 66212
         <7100-00 General Unsecured § 726(a)(2)>, 610




                                Case 16-10759            Doc# 568       Filed 08/16/21       Page 77 of 95
 Printed: 08/13/21 04:33 PM                                                                                              Page: 61

                                          Exhibit C- Claims Register
                                        Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:    08/15/16
 Claim   Claimant Name /                       Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number   <Category>, Priority                  Date Filed    Notes                   Allowed                  to Date          Balance
155 -1   Dean E. Norris, Inc.                  Unsecured                               $7,434.33                 $0.00          $7,434.33
         P.O. Box 47719                        08/24/17                                $7,434.33
                                                             Ntcs to: Foulston Siefkin LLP, c/o Shannon D Wead, 1551 N
         Wichita, KS 67201                                   Waterfront Pkwy, #100, Wichita, KS 67206.


         <7100-00 General Unsecured § 726(a)(2)>, 610
156 -1   Shred-It USA LLC                      Unsecured                                 $210.38                 $0.00           $210.38
         7734 S 133rd Street                   09/13/17                                  $210.38
         Omaha, NE 68138
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620
157 -1   HABCO Inc                             Unsecured     4721/ 502(H)              $5,000.00                 $0.00          $5,000.00
         Attn: Tim Buyse                       10/30/17      SETTLEMENT                $5,000.00
         248 E Berg Rd
                                                             Ntcs to: Clark, Mize & Linville Chtd., Attn: Aaron Martin, PO Box 380,
         Salina, KS 67401                                    Salina, KS 67402.


         <7100-00 General Unsecured § 726(a)(2)>, 610
158P-1   IL Dept of Revenue Bankruptcy Section Priority      8342                      $1,864.78                 $0.00          $1,864.78
         PO Box 19035                          11/01/17      WITHHOLDING               $1,864.78


                                                             3/31/14 Withholding & 12/31/15 Withholding.
         Springfield, IL 62794-9035
         <5800-00 Claims of Governmental Units>, 570
158U-1   IL Dept of Revenue Bankruptcy Section Unsecured     8342                        $506.99                 $0.00           $506.99
         PO Box 19035                          11/01/17      PENALTIES                   $506.99


                                                             3/31/14 & 12/31/15 Penalties.
         Springfield, IL 62794-9035
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620
159 -1   Gilbert Industries Inc                Unsecured     PREFERENCE               $62,000.00                 $0.00         $62,000.00
         PO Box 680                            11/06/17      SETTLEMENT               $62,000.00


         Sparta, MO 65753
         <7100-00 General Unsecured § 726(a)(2)>, 610
160 -1   Tranter Inc                           Unsecured     PREFERENCE              $115,000.00                 $0.00        $115,000.00
         c o Michael D Fielding,Husch Blackwell 03/12/18     SETTLEMENT              $115,000.00
         LLP,4801 Main St Ste 1000

         Kansas City, MO 64112
         <7100-00 General Unsecured § 726(a)(2)>, 610




                                  Case 16-10759      Doc# 568      Filed 08/16/21         Page 78 of 95
 Printed: 08/13/21 04:33 PM                                                                                              Page: 62

                                               Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:   08/15/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./        Amount Filed/                Paid            Claim
Number   <Category>, Priority                    Date Filed    Notes                  Allowed                 to Date         Balance
161P-1   TDOR co Attorney General BK Unit        Priority                                 $561.70                $0.00          $561.70
         Bankruptcy Unit c/o Attorney General    05/31/18                                 $561.70
         Nashville, TN 37202
         <5800-00 Claims of Governmental Units>, 570
161U-1   TDOR co Attorney General BK Unit        Unsecured                                 $88.12                $0.00           $88.12
         Bankruptcy Unit c/o Attorney General    05/31/18                                  $88.12
         Nashville, TN 37202
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620
162 -1   TDOR co Attorney General BK Unit        Priority                                 $169.17                $0.00          $169.17
         Bankruptcy Unit c/o Attorney General    05/31/18                                 $169.17
         Nashville, TN 37202
         <5800-00 Claims of Governmental Units>, 570
163 -1   Professional Engineering Consultants    Unsecured     PREFERENCE              $20,000.00                $0.00        $20,000.00
         PA                                      06/26/18      SETTLEMENT              $20,000.00
         PEC c/o Rod Young
         303 South Topeka                                      Ntcs to: Professional Engineering Consultants, Foulston Siefkin LLP
         Wichita, KS 67202                                     c/o Shannon D Wead, 1551 N Waterfront Pkwy #100, Wichita, KS
                                                               67206.


         <7100-00 General Unsecured § 726(a)(2)>, 610
164 -1   Wheeler Services, Inc.                  Unsecured     PREFERENCE              $11,341.14                $0.00        $11,341.14
         Christopher York, Esq.,York Gaskill     07/13/18      SETTLEMENT              $11,341.14
         1815 Satellite Blvd, #404

         Duluth, GA 30097
         <7100-00 General Unsecured § 726(a)(2)>, 610
165 -1   Coyle Mechanical Supply, Inc.           Unsecured     PREFERENCE               $5,000.00                $0.00         $5,000.00
         Joel A. Kunin                           03/11/19      SETTLEMENT               $5,000.00
         2227 South State Route 157

         Edwardsville, IL 62025
         <7100-00 General Unsecured § 726(a)(2)>, 610
166 -1   Nebraska Department of Revenue          Priority      1984                     $5,817.21                $0.00         $5,817.21
         Attention B ankruptcy Unit              04/28/16                               $5,817.21
         P O Box 94818                                         2015 Partnership income taxes
         Lincoln, NE 68509-4818
         <5800-00 Claims of Governmental Units>, 570
166 -1   Nebraska Department of Revenue          Unsecured     1984                     $1,452.75                $0.00         $1,452.75
         Attention B ankruptcy Unit              04/28/16                               $1,452.75
         P O Box 94818                                         2015 Partnership income taxes
         Lincoln, NE 68509-4818
         <7100-00 General Unsecured § 726(a)(2)>, 610


                                  Case 16-10759        Doc# 568       Filed 08/16/21       Page 79 of 95
 Printed: 08/13/21 04:33 PM                                                                                              Page: 63

                                          Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                           Claims Bar Date:    08/15/16
 Claim    Claimant Name /                      Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number    <Category>, Priority                 Date Filed    Notes                   Allowed                  to Date          Balance
21SU-1    Kansas Department of Revenue         Unsecured     8342/ 808739              $4,291.65                 $0.00         $4,291.65
          Civil Tax Enforcement                05/20/16                                $4,291.65
          PO Box 12005                                       Penalty.
          Topeka, KS 66601-3005
          <7400-00 Subordinated General Unsecured (Equitably or consensually subordinated)>, 630
146AA-2   Mike Morris                          Priority      2773                        $491.73                 $0.00           $321.34
          6528 W Childs St                     04/28/16                                  $321.34
                                                             [Gross Wage $491.73 Less Taxes = Net $321.34 FICA $30.49 Income
          Wichita, KS 67205                                  Tax $108.18 Medicare $7.13 KS Income Tax $24.59]
                                                             Contributions are deducted pre tax and are not being paid in to a plan,
                                                             but instead directly to the employee, therefore they are being paid as
                                                             wage claims.


          <5300-00 Wages>, 510
146BB-2   Brandon Peregrine                    Priority      7799                          $0.00                 $0.00             $0.00
          502 Linden St                        04/28/16                                    $0.00
                                                             [Gross Wage $0.00 Less Taxes = Net $0.00]
          Tarkio, MO 64491                                   Included in #50. Contributions are deducted pre tax and are not being
                                                             paid in to a plan, but instead directly to the employee, therefore they
                                                             are being paid as wage claims.


          <5300-00 Wages>, 510
146CC-2 Johna Pierce                           Priority      9405                          $0.00                 $0.00             $0.00
          3636 W 44th St S #310                04/28/16                                    $0.00
                                                             [Gross Wage $0.00 Less Taxes = Net $0.00]
          Wichita, KS 67217                                  4/25/17- Ntc of Change of address to 3636 W 44th St S #310, Wichita,
                                                             KS 67217. Included in #10. Contributions are deducted pre tax and are
                                                             not being paid in to a plan, but instead directly to the employee,
                                                             therefore they are being paid as wage claims.


          <5300-00 Wages>, 510
146DD-2 Kevin Rogers                           Priority      5993                        $339.68                 $0.00           $221.98
                                               04/28/16                                  $221.98
                                                             [Gross Wage $339.68 Less Taxes = Net $221.98 FICA $21.06 Income
                                                             Tax $74.73 Medicare $4.93 KS Income Tax $16.98]
                                                             Contributions are deducted pre tax and are not being paid in to a plan,
                                                             but instead directly to the employee, therefore they are being paid as
                                                             wage claims.
          <5300-00 Wages>, 510




                                  Case 16-10759      Doc# 568       Filed 08/16/21        Page 80 of 95
 Printed: 08/13/21 04:33 PM                                                                                           Page: 64

                                         Exhibit C- Claims Register
                                       Case: 16-10759 WB SERVICES, LLC
                                                                                                        Claims Bar Date:    08/15/16
 Claim    Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number    <Category>, Priority              Date Filed    Notes                   Allowed                  to Date          Balance
146EE-2   Benjamin Root                     Priority      2163                      $1,236.90                 $0.00           $808.30
                                            04/28/16                                  $808.30
                                                          [Gross Wage $1236.90 Less Taxes = Net $808.30 FICA $76.69
                                                          Income Tax $272.12 Medicare $17.94 KS Income Tax $61.85]
                                                          Contributions are deducted pre tax and are not being paid in to a plan,
                                                          but instead directly to the employee, therefore they are being paid as
                                                          wage claims.
          <5300-00 Wages>, 510
146FF-2   Dan Rueger                        Priority      6930                        $400.60                 $0.00           $261.79
          2706 Robin Ridge                  04/28/16                                  $261.79
                                                          [Gross Wage $400.60 Less Taxes = Net $261.79 FICA $24.84 Income
          Enid, OK 73703                                  Tax $88.13 Medicare $5.81 KS Income Tax $20.03]
                                                          Contributions are deducted pre tax and are not being paid in to a plan,
                                                          but instead directly to the employee, therefore they are being paid as
                                                          wage claims.


          <5300-00 Wages>, 510
146GG-2 Virgil Schmidt                      Priority      9228                        $320.34                 $0.00           $209.35
                                            04/28/16                                  $209.35
                                                          [Gross Wage $320.34 Less Taxes = Net $209.35 FICA $19.86 Income
                                                          Tax $70.47 Medicare $4.64 KS Income Tax $16.02]
                                                          Contributions are deducted pre tax and are not being paid in to a plan,
                                                          but instead directly to the employee, therefore they are being paid as
                                                          wage claims.
          <5300-00 Wages>, 510
146HH-2 Dale Selman                         Priority      6694                        $143.15                 $0.00            $93.54
          PO Box 982                        04/28/16                                   $93.54
                                                          [Gross Wage $143.15 Less Taxes = Net $93.54 FICA $8.88 Income
          Hugo, OK 74743                                  Tax $31.49 Medicare $2.08 KS Income Tax $7.16]
                                                          Contributions are deducted pre tax and are not being paid in to a plan,
                                                          but instead directly to the employee, therefore they are being paid as
                                                          wage claims.


          <5300-00 Wages>, 510
146II-2   Gene Siedenberg                   Priority      4183                        $411.48                 $0.00           $268.90
                                            04/28/16                                  $268.90
                                                          [Gross Wage $411.48 Less Taxes = Net $268.90 FICA $25.51 Income
                                                          Tax $90.53 Medicare $5.97 KS Income Tax $20.57]
                                                          Contributions are deducted pre tax and are not being paid in to a plan,
                                                          but instead directly to the employee, therefore they are being paid as
                                                          wage claims.
          <5300-00 Wages>, 510




                                 Case 16-10759    Doc# 568       Filed 08/16/21        Page 81 of 95
 Printed: 08/13/21 04:33 PM                                                                                            Page: 65

                                         Exhibit C- Claims Register
                                       Case: 16-10759 WB SERVICES, LLC
                                                                                                         Claims Bar Date:    08/15/16
 Claim    Claimant Name /                   Claim Type/   Claim Ref./         Amount Filed/                 Paid              Claim
Number    <Category>, Priority              Date Filed    Notes                   Allowed                  to Date           Balance
146JJ-2   James Sleder                      Priority      0533                        $105.50                  $0.00            $68.94
          1646 Fabrique St                  04/28/16                                   $68.94
                                                          [Gross Wage $105.50 Less Taxes = Net $68.94 FICA $6.54 Income
          Wichita, KS 67218                               Tax $23.21 Medicare $1.53 KS Income Tax $5.28]
                                                          Contributions are deducted pre tax and are not being paid in to a plan,
                                                          but instead directly to the employee, therefore they are being paid as
                                                          wage claims.


          <5300-00 Wages>, 510
146KK-2   Eric Stewart                      Priority      2802                          $0.00                  $0.00             $0.00
          329 Poplar St                     04/28/16                                    $0.00
                                                          [Gross Wage $0.00 Less Taxes = Net $0.00]
          Bronson, KS 66716                               Included in #107. Contributions are deducted pre tax and are not
                                                          being paid in to a plan, but instead directly to the employee, therefore
                                                          they are being paid as wage claims.


          <5300-00 Wages>, 510
146LL-2   Joe Supik                         Priority      7322                         $62.14                  $0.00            $40.61
          930 S Vine St                     04/28/16                                   $40.61
                                                          [Gross Wage $62.14 Less Taxes = Net $40.61 FICA $3.85 Income
          Hobart, IN 46342                                Tax $13.67 Medicare $0.90 KS Income Tax $3.11]
                                                          Contributions are deducted pre tax and are not being paid in to a plan,
                                                          but instead directly to the employee, therefore they are being paid as
                                                          wage claims.


          <5300-00 Wages>, 510
146MM-2 Joan Taylor                         Priority      0573                          $0.00                  $0.00             $0.00
          77 High Ridge St                  04/28/16                                    $0.00
          PO Box 574                                      [Gross Wage $0.00 Less Taxes = Net $0.00]
          Fieldale, VA 24089                              Included in #31. Contributions are deducted pre tax and are not being
                                                          paid in to a plan, but instead directly to the employee, therefore they
                                                          are being paid as wage claims.


          <5300-00 Wages>, 510
146NN-2 Robert Taylor                       Priority      3111                          $0.00                  $0.00             $0.00
          77 High Ridge St                  04/28/16                                    $0.00
          PO Box 574                                      [Gross Wage $0.00 Less Taxes = Net $0.00]
          Fieldale, VA 24089                              Included in #32. Contributions are deducted pre tax and are not being
                                                          paid in to a plan, but instead directly to the employee, therefore they
                                                          are being paid as wage claims.


          <5300-00 Wages>, 510




                                 Case 16-10759    Doc# 568       Filed 08/16/21        Page 82 of 95
 Printed: 08/13/21 04:33 PM                                                                                             Page: 66

                                          Exhibit C- Claims Register
                                       Case: 16-10759 WB SERVICES, LLC
                                                                                                          Claims Bar Date:    08/15/16
 Claim    Claimant Name /                     Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
Number    <Category>, Priority                Date Filed    Notes                   Allowed                  to Date          Balance
146OO-2 Scott Trego                           Priority      2860                        $297.00                 $0.00           $194.09
          324 Greenwood Ct                    04/28/16                                  $194.09
                                                            [Gross Wage $297.00 Less Taxes = Net $194.09 FICA $18.41 Income
          Cheney, KS 67025                                  Tax $65.34 Medicare $4.31 KS Income Tax $14.85]
                                                            Contributions are deducted pre tax and are not being paid in to a plan,
                                                            but instead directly to the employee, therefore they are being paid as
                                                            wage claims.


          <5300-00 Wages>, 510
146PP-2   Matthew Vogel                       Priority      4645                        $142.57                 $0.00            $93.16
          2506 E Kite                         04/28/16                                   $93.16
                                                            [Gross Wage $142.57 Less Taxes = Net $93.16 FICA $8.84 Income
          Wichita, KS 67219                                 Tax $31.37 Medicare $2.07 KS Income Tax $7.13]
                                                            Contributions are deducted pre tax and are not being paid in to a plan,
                                                            but instead directly to the employee, therefore they are being paid as
                                                            wage claims.


          <5300-00 Wages>, 510
146QQ-2 Whit Walker                           Priority      7588                        $105.50                 $0.00            $68.94
          4847 N Emerald Ct                   04/28/16                                   $68.94
                                                            [Gross Wage $105.50 Less Taxes = Net $68.94 FICA $6.54 Income
          Maize, KS 67101                                   Tax $23.21 Medicare $1.53 KS Income Tax $5.28]
                                                            Contributions are deducted pre tax and are not being paid in to a plan,
                                                            but instead directly to the employee, therefore they are being paid as
                                                            wage claims.


          <5300-00 Wages>, 510
146RR-2 David Wheeler                         Priority      9134                        $584.06                 $0.00           $381.69
                                              04/28/16                                  $381.69
                                                            [Gross Wage $584.06 Less Taxes = Net $381.69 FICA $36.21 Income
                                                            Tax $128.49 Medicare $8.47 KS Income Tax $29.20]
                                                            Contributions are deducted pre tax and are not being paid in to a plan,
                                                            but instead directly to the employee, therefore they are being paid as
                                                            wage claims.
          <5300-00 Wages>, 510
146SS-2   Rick Wheeler                        Priority      1877                        $128.57 *               $0.00            $84.02
                                              04/28/16                                   $84.02
                                                            [Gross Wage $128.57 Less Taxes = Net $84.02 FICA $7.97 Income
                                                            Tax $28.29 Medicare $1.86 KS Income Tax $6.43]
                                                            Contributions are deducted pre tax and are not being paid in to a plan,
                                                            but instead directly to the employee, therefore they are being paid as
                                                            wage claims.
          <5300-00 Wages>, 510



                               Case
            (*) Denotes objection     16-10759
                                  to Amount Filed   Doc# 568       Filed 08/16/21        Page 83 of 95
   Printed: 08/13/21 04:33 PM                                                                                            Page: 67

                                           Exhibit C- Claims Register
                                         Case: 16-10759 WB SERVICES, LLC
                                                                                                          Claims Bar Date:    08/15/16
  Claim    Claimant Name /                    Claim Type/   Claim Ref./         Amount Filed/                 Paid             Claim
 Number    <Category>, Priority               Date Filed    Notes                   Allowed                  to Date          Balance
 146TT-2   Thomas Woosley                     Priority      8667                          $0.00                 $0.00                 $0.00
           742 Paek Hill St                   04/28/16                                    $0.00
                                                            [Gross Wage $0.00 Less Taxes = Net $0.00]
           Bowling Green, KY 42101                          Included in #60. Contributions are deducted pre tax and are not being
                                                            paid in to a plan, but instead directly to the employee, therefore they
                                                            are being paid as wage claims.


           <5300-00 Wages>, 510
 146UU-2 Chris Pruitt                         Priority      5347                          $0.00                 $0.00                 $0.00
           3218 N Tee Time                    04/28/16                                    $0.00
                                                            [Gross Wage $0.00 Less Taxes = Net $0.00]
           Wichita, KS 67205                                Included in #41. Contributions are deducted pre tax and are not being
                                                            paid in to a plan, but instead directly to the employee, therefore they
                                                            are being paid as wage claims.


           <5300-00 Wages>, 510
           U.S. Bankruptcy Court              Admin Ch. 7 COURT COSTS                $10,850.00                 $0.00         $10,850.00
CCOSTS-1 167 U.S. Courthouse                  04/28/16                               $10,850.00
         401 North Market Street                            17-05023 Davis v. Interstates Construction Services, Inc. (closed)
           Wichita, KS 67202                                17-05027 Davis v. Control Application & Maintenance, Inc. (closed)
                                                            17-05031 Davis v. Best Supply Co., Inc. (closed)
                                                            17-05032 Davis v. Control-Tech, Inc. (closed)
                                                            17-05033 Davis v. F & H Insulation Sales & Services, Inc. (closed)
                                                            17-05035 Davis v. Kaiser (closed)
                                                            17-05036 Davis v. Dean E. Norris, Inc. (closed)
                                                            17-05037 Davis v. D & K Tanks, LLC (closed)
                                                            17-05040 Davis v. Swanson Flo, Co. (closed)
                                                            17-05042 Davis v. Habco, Inc. (closed)
                                                            17-05043 Davis v. Matheson Tri-Gas, Inc. (closed)
                                                            17-05044 Davis v. Westco International, Inc. (closed)
                                                            17-05048 Davis v. Coyle Mechanical Supply, Inc. (closed)
                                                            17-05049 Davis v. United Rentals (North America), Inc. (closed)
                                                            17-05062 Davis v. IntegroEnergy Group, Inc. (closed)
                                                            17-05069 Davis v. Gilbert Industries, Inc. (closed)
                                                            17-05070 Davis v. Hajoca Corporation (closed)
                                                            17-05071 Davis v. Valves and Industrial Resources, L.P. (closed)
                                                            17-05072 Davis v. Sulzer Pumps Solutions, Inc. (closed)
                                                            17-05074 Davis v. Kice Industries, Inc. (closed)
                                                            17-05075 Davis v. Tranter, Inc. (closed)
                                                            17-05104 Davis v. Mid-Tec, Inc. (closed)
                                                            17-05105 Davis v. Born, Inc. (closed)
                                                            17-05106 Davis v. Triplett, Woolf & Garretson, LLC (closed)
                                                            17-05107 Davis v. Dore Electric, Inc. (closed)
                                                            17-05110 Davis v. Kenny Pipe & Supply, Inc. (closed)
                                                            17-05124 Davis v. Professional Engineering Consultants, P.A. (closed)
                                                            17-05125 Davis v. RIX Industries (closed)

                                   Case 16-10759    Doc# 568       Filed 08/16/21        Page 84 of 95
   Printed: 08/13/21 04:33 PM                                                                                                Page: 68

                                              Exhibit C- Claims Register
                                           Case: 16-10759 WB SERVICES, LLC
                                                                                                               Claims Bar Date:   08/15/16
  Claim     Claimant Name /                       Claim Type/    Claim Ref./         Amount Filed/                 Paid            Claim
 Number     <Category>, Priority                  Date Filed     Notes                   Allowed                  to Date         Balance
                                                                 17-05126 Davis v. Curtiss-Wright Corporation (closed)
                                                                 17-05127 Davis v. Ultraflote, LLC (closed)
                                                                 17-05128 Davis v. Hughes Machinery. a FCX Performance Inc.
                                                                 Company (closed)
           <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>, 200
           Kuckelman & Stockemer                  Admin Ch. 7                                   $0.00           $21,537.50        $9,110.00
ACCTFEE- 1000 North Tyler                         04/28/16                                $30,647.50
1                                                                3/14/18, order - $2,950.00;
           Wichita, KS 67212                                     6/5/18, order- $750.00;
                                                                 3/8/19, order - $11,950;
                                                                 1/6/20, order - $5,887.50;
                                                                 Invoice #24439 dated 1/15/21 for $5,137.50;
                                                                 Invoice #24895 dated 5/5/21 for $1,800;
                                                                 Invoice #24896 dated 5/5/21 for $2,172.50.


           <3410-00 Accountant for Trustee Fees (Other Firm)>, 200
ATYEXKHJ- Davis & Jack, L.L.C.                    Admin Ch. 7 KENNETH H                         $0.00             $855.15            $0.00
1         2121 W. Maple                           04/28/16       JACK                       $855.15
           POB 12686                                             EXPENSES


                                                                 8/9/17- $237.15; 11/29/17 $326.00; 11/13/18 $292.00
           Wichita, KS 67277-2686
           <3120-00 Attorney for Trustee Expenses (Trustee Firm)>, 202
ATYFECBD Davis & Jack, L.L.C.                     Admin Ch. 7 CARL B DAVIS                      $0.00                $0.00           $0.00
-1       2121 W. Maple                            04/28/16                                      $0.00
         POB 12686
           Wichita, KS 67277-2686
           <3110-00 Attorney for Trustee Fees (Trustee Firm)>, 203


ATYFEKHJ- Davis & Jack, L.L.C.                    Admin Ch. 7 KENNETH H                         $0.00          $137,212.49           $0.00
1         2121 W. Maple                           04/28/16       JACK FEES               $137,212.49
          POB 12686
                                                                 8/9/17- $59,726.37; 11/29/18 $24,438.36; 6/21/18 $32,340.20;
           Wichita, KS 67277-2686                                11/13/18 $13,626.24; 7/31/19 $7,081.32


           <3110-00 Attorney for Trustee Fees (Trustee Firm)>, 203

                                                                                         Case Total:           $191,525.67   $50,160,750.15




                                   Case 16-10759        Doc# 568        Filed 08/16/21          Page 85 of 95
                                    TRUSTEE'S PROPOSED DISTRIBUTION                                       Exhibit D

            Case No.: 16-10759
            Case Name: WB SERVICES, LLC
            Trustee Name: Carl B. Davis
                                                Balance on hand:                            $          839,282.06
              Claims of secured creditors will be paid as follows:

 Claim        Claimant                                Claim Allowed Amount Interim Payments               Proposed
 No.                                                Asserted       of Claim          to Date              Payment
   19 -1      PumpingSol, Inc.                  138,415.91           138,415.91                 0.00           0.00
   37S-1      Southwest National Bank            37,255.75            37,255.75                 0.00           0.00
   39 -1      Simmons First National            406,000.66           406,000.66                 0.00           0.00
              Bank
   58 -2      Mid-Tec, Inc.                     618,826.81           618,826.81                 0.00           0.00
   99 -1      Decker Electric, Inc.           1,089,453.95       1,089,453.95                   0.00           0.00
  112 -1      Steinberger Construction,          78,255.42            78,255.42                 0.00           0.00
              Inc.
  117 -1      Kansas Department of               12,979.16            12,979.16                 0.00           0.00
              Labor
  138 -1      Haldeman-Homme, Inc.               81,435.92            81,435.92                 0.00           0.00
  142S-1      Cecil O'Brate                   1,000,000.00            59,763.33                 0.00           0.00
                                                Total to be paid to secured creditors:      $                0.00
                                                Remaining balance:                          $          839,282.06

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                            Total Requested Interim Payments           Proposed
                                                                                       to Date          Payment
Trustee, Fees - Carl B. Davis                                         55,310.99                 0.00      55,310.99
Trustee, Expenses - Carl B. Davis                                     10,326.55           9,203.72         1,122.83
Attorney for Trustee, Fees - Davis & Jack, L.L.C.                    137,212.49      137,212.49                0.00
Attorney for Trustee, Expenses - Davis & Jack, L.L.C.                   855.15             855.15              0.00
Accountant for Trustee, Fees - Kuckelman & Stockemer                  30,647.50          21,537.50         9,110.00
Auctioneer Fees - Scott Auction                                       15,880.00          15,880.00             0.00
Auctioneer Expenses - Scott Auction                                    2,768.98           2,768.98             0.00
Charges, U.S. Bankruptcy Court                                        10,850.00                 0.00      10,850.00
Other Fees: Allen, Gibbs & Houlik, LC                                   890.50             890.50              0.00
Other Expenses: Kansas Investigative Services, Inc.                       56.00             56.00              0.00

   UST Form 101-7-TFR (05/1/2011)
                         Case 16-10759        Doc# 568       Filed 08/16/21       Page 86 of 95
Other Fees: Hinkle Law Firm LLC                                        2,471.00             2,471.00             0.00
Other Fees: Kansas Investigative Services, Inc.                          650.33              650.33              0.00
                              Total to be paid for chapter 7 administration expenses:         $           76,393.82
                              Remaining balance:                                              $          762,888.24

                Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments           Proposed
                                                                                         to Date          Payment
                                                        None
                              Total to be paid for prior chapter administrative expenses:     $                0.00
                              Remaining balance:                                              $          762,888.24

              In addition to the expenses of administration listed above as may be allowed by the
         Court, priority claims totaling $1,280,501.42 must be paid in advance of any dividend to
         general (unsecured) creditors.
               Allowed priority claims are:
 Claim         Claimant                                        Allowed Amount Interim Payments             Proposed
 No                                                                   of Claim          to Date            Payment
               KANSAS DEPARTMENT OF LABOR                              5,184.71                   0.00       2,719.19
               INTERNAL REVENUE SERVICE                                  115.53                   0.00          60.59
               INTERNAL REVENUE SERVICE                                  494.00                   0.00         259.08
               INTERNAL REVENUE SERVICE                               11,411.59                   0.00       5,984.93
               INTERNAL REVENUE SERVICE                                1,023.36                   0.00         536.71
               INTERNAL REVENUE SERVICE                                2,668.85                   0.00       1,399.71
   10 -1       Johna K Pierce                                            839.98                   0.00         839.98
   17 -1       Eric Johnson                                            3,990.00                   0.00       3,990.00
   21P-1       Kansas Department of Revenue                           25,413.32                   0.00      13,328.29
   27 -1       Jason Gates                                             5,642.42                   0.00       5,642.42
   29 -1       Curtis Dean                                             4,398.09                   0.00       4,398.09
   31 -1       Joan Marie Taylor                                       3,874.06                   0.00       3,874.06
   32 -1       Robert Gregory Taylor                                   4,681.78                   0.00       4,681.78
   34 -1       Adam Belyamani                                          8,319.22                   0.00       8,319.22
   40 -1       Gage Lemons                                             4,003.89                   0.00       4,003.89
   41 -1       Chris Pruitt                                            4,413.08                   0.00       4,413.08
   47 -1       Wisconsin Department of Revenue                           931.19                   0.00         488.37


   UST Form 101-7-TFR (05/1/2011)
                          Case 16-10759         Doc# 568        Filed 08/16/21      Page 87 of 95
50 -1    Brandon Peregrine                                 5,925.14          0.00       5,925.14
57P-1    Internal Revenue Service                      1,019,721.21          0.00     534,803.64
60 -1    Thomas Woosley                                    4,250.01          0.00       4,250.01
62 -1    Christopher Dale Carter                          10,315.52          0.00      10,315.52
66 -1    Jacob Dawson                                      1,903.20          0.00       1,903.20
67 -1    Jeremiah Dawson                                   3,173.27          0.00       3,173.27
69 -1    Keith Baldwin                                     5,620.00          0.00       5,620.00
72 -1    Summer Austin                                     2,344.20          0.00       2,344.20
78 -1    Brandon Maloy                                     4,846.78          0.00       4,846.78
79 -1    Joseph Jackson                                    2,224.00          0.00       2,224.00
83 -1    Kiel Robert Ulery                                 3,995.87          0.00       3,995.87
88 -1    Office of the County Counselor                      52.91           0.00          27.75
91 -1    Brook Bird                                        4,559.48          0.00       4,559.48
97 -1    Andres Murillo                                    3,972.00          0.00       3,972.00
98 -1    Eric P Mork                                      12,850.00          0.00      12,850.00
103 -1   James Jackson                                     5,634.00          0.00       5,634.00
107 -1   Eric Stewart                                      3,587.95          0.00       3,587.95
108 -1   Dillon King                                       5,314.00          0.00       5,314.00
110 -1   Loren Michael Tripp                               3,676.45          0.00       3,676.45
113P-1   Iowa Department of Revenue                        8,080.80          0.00       4,238.06
118 -1   Tim Livesay                                       3,000.00          0.00       3,000.00
122 -1   Bruce Helmick                                     5,264.00          0.00       5,264.00
126 -1   Richard Burkhart                                  1,865.79          0.00       1,865.79
127 -1   Dawna Eldringhoff                                 3,542.20          0.00       3,542.20
128W-1   Ron Beemiller                                    12,850.00          0.00      12,850.00
129W-1   Julian Ariagno                                   12,126.91          0.00      12,126.91
132W-1   Elizabeth Maury                                   3,681.24          0.00       3,681.24
137 -1   Caleb Shelton                                     6,350.00          0.00       6,350.00
146B-2   Brandon Awtrey                                     292.03           0.00        292.03
146C-2   Marc Awtrey                                        615.75           0.00        615.75
146D-2   Nathan Baker                                       427.71           0.00        427.71
146E-2   Jeffrey Becker                                     438.96           0.00        438.96
146F-2   Rodney Beek                                         52.75           0.00          52.75

 UST Form 101-7-TFR (05/1/2011)
                   Case 16-10759          Doc# 568   Filed 08/16/21   Page 88 of 95
146G-2    Eugene Bonnell                                      173.34           0.00      173.34
146H-2    Dean Camper                                         339.27           0.00      339.27
146I-2    Tory Cooley                                         327.82           0.00      327.82
146J-2    Juan Cruz                                            48.39           0.00       48.39
146K-2    Eric Ellis                                          292.03           0.00      292.03
146M-2    John Goeschel                                       378.20           0.00      378.20
146N-2    Charles Goodrich                                    504.33           0.00      504.33
146O-2    Bryce Gould                                         175.18           0.00      175.18
146P-2    Shannon Hallowell                                   163.14           0.00      163.14
146Q-2    Dale Hammerschmidt                                  588.27           0.00      588.27
146R-2    Roger Hansen                                        313.80           0.00      313.80
146S-2    Kevin Houzenga                                      876.09           0.00      876.09
146T-2    Lance Johnson                                       350.25           0.00      350.25
146U-2    Dennis Kalp                                         188.84           0.00      188.84
146V-2    Rossner Landsbaum                                   678.54           0.00      678.54
146W-2    Hollie Lintz                                        292.64           0.00      292.64
146X-2    Rick Malone                                         504.33           0.00      504.33
147 -1    Timothy Clyde Hunter                               6,200.00          0.00     6,200.00
148 -1    Illinois Department of Employment Security         2,965.18          0.00     1,555.12
151P-1    Ohio Department of Taxation                        2,000.50          0.00     1,049.18
158P-1    IL Dept of Revenue Bankruptcy Section              1,864.78          0.00      978.00
161P-1    TDOR co Attorney General BK Unit                    561.70           0.00      294.59
162 -1    TDOR co Attorney General BK Unit                    169.17           0.00       88.72
166 -1    Nebraska Department of Revenue                     5,817.21          0.00     3,050.90
146AA-2   Mike Morris                                         491.73           0.00      491.73
146DD-2   Kevin Rogers                                        339.68           0.00      339.68
146EE-2   Benjamin Root                                      1,236.90          0.00     1,236.90
146FF-2   Dan Rueger                                          400.60           0.00      400.60
146GG-2   Virgil Schmidt                                      320.34           0.00      320.34
146HH-2   Dale Selman                                         143.15           0.00      143.15
146II-2   Gene Siedenberg                                     411.48           0.00      411.48
146JJ-2   James Sleder                                        105.50           0.00      105.50
146LL-2   Joe Supik                                            62.14           0.00       62.14

 UST Form 101-7-TFR (05/1/2011)
                       Case 16-10759    Doc# 568       Filed 08/16/21   Page 89 of 95
146OO-2        Scott Trego                                               297.00                 0.00         297.00
146PP-2        Matthew Vogel                                             142.57                 0.00         142.57
146QQ-2        Whit Walker                                               105.50                 0.00         105.50
146RR-2        David Wheeler                                             584.06                 0.00         584.06
146SS-2        Rick Wheeler                                              128.57                 0.00         128.57
                                                 Total to be paid for priority claims:      $          762,888.24
                                                 Remaining balance:                         $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 46,241,431.51 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1 -1         Midwest Crane & Rigging LLC                            13,555.00                 0.00              0.00
  2 -1         Westar Energy Inc                                       8,185.25                 0.00              0.00
  3 -1         Mayer Specialty Services LLC                           23,540.00                 0.00              0.00
  4 -1         Burris Fabrication                                      1,601.93                 0.00              0.00
  5 -1         Depco Pump Company Inc.                                   494.43                 0.00              0.00
  6 -1         Westmor Fluid Solutions, LLC                           11,798.78                 0.00              0.00
  7 -1         Salisbury Supply                                          307.16                 0.00              0.00
  8 -1         Hammer Scale Co Inc                                       337.88                 0.00              0.00
  9 -1         AIRGAS USA LLC                                            599.15                 0.00              0.00
 11 -1         Martin Machine & Welding Inc.                           5,000.00                 0.00              0.00
 12 -1         WestMor Industries, LLC                                 9,620.88                 0.00              0.00
 13 -1         Brand Plumbing Inc                                      2,220.86                 0.00              0.00
 14 -1         CenCon of Kansas, LLC                                   4,308.03                 0.00              0.00
 15 -1         Big Tool Store LLC                                        835.60                 0.00              0.00
 16 -1         DeRosset Company                                        4,204.16                 0.00              0.00
 18 -1         Sign Language Interpreting Services                       546.00                 0.00              0.00
 20 -1         Calvin Opp Concrete, Inc.                              65,041.49                 0.00              0.00


  UST Form 101-7-TFR (05/1/2011)
                          Case 16-10759         Doc# 568       Filed 08/16/21       Page 90 of 95
21U-1   Kansas Department of Revenue                      4,291.65          0.00     0.00
22 -1   Anton Paar                                       13,238.90          0.00     0.00
23 -1   Pendleco LLC                                      7,185.63          0.00     0.00
24 -1   Swanson Flo                                       8,978.37          0.00     0.00
25 -1   Air Capital Equipment, Inc.                      96,204.33          0.00     0.00
26 -1   International Fire Protection Inc                47,411.33          0.00     0.00
28 -1   Steel Fabrications, Inc.                          5,779.63          0.00     0.00
30 -1   Foulston Siefkin LLP                             37,904.00          0.00     0.00
33 -1   JFD Tube & Coil Products, Inc.                   29,415.00          0.00     0.00
35 -1   Enegren                                           2,600.46          0.00     0.00
36 -3   Wells Brothers, Inc.                             15,932.73          0.00     0.00
38 -1   Bowman Construction Co., Inc.                   593,581.31          0.00     0.00
42 -1   AIRGAS USA LLC                                    1,672.82          0.00     0.00
43 -1   AIRGAS USA LLC                                    2,375.99          0.00     0.00
44 -1   Reintjes & Hiter Co., Inc.                        2,079.57          0.00     0.00
46 -1   Foerster Testing Limited                           728.00           0.00     0.00
48 -1   Can It Services, LLC                              1,476.00          0.00     0.00
49 -1   NCK Quarries, LLC                                20,932.56          0.00     0.00
51 -1   P4 Consulting LLC                               105,117.15          0.00     0.00
52 -1   Coating Specialties, LLC                         98,300.80          0.00     0.00
53 -1   Piping Technology & Products, Inc.                4,450.35          0.00     0.00
54 -1   B & M Steel & Welding                             1,097.10          0.00     0.00
55 -1   Big River Rubber & Gasket, Inc.                   1,141.09          0.00     0.00
56 -1   Ferguson Enterprises, Inc.                        3,140.35          0.00     0.00
57U-1   Internal Revenue Service                        283,779.73          0.00     0.00
59 -1   Wex Bank                                         24,526.82          0.00     0.00
61 -1   Trenton Agri Products LLC                         5,400.00          0.00     0.00
63 -1   CornerBank co Rick Griffin,Samantha           1,642,443.77          0.00     0.00
        Woods
64 -1   Midwest Steel Fabricators                        73,496.00          0.00     0.00
65 -1   Applied Industrial Technologies                    466.69           0.00     0.00
68 -1   F&H Insulation Sales and Services Inc            56,754.00          0.00     0.00
70 -1   Baughman Company                                  1,750.00          0.00     0.00

UST Form 101-7-TFR (05/1/2011)
                  Case 16-10759          Doc# 568   Filed 08/16/21   Page 91 of 95
71 -1    ICM, Inc                                        10,403.09          0.00     0.00
73 -1    Precision Fitting and Gauge Co.                 45,065.74          0.00     0.00
74 -1    Sentry Equipment Corp                            1,613.78          0.00     0.00
75 -1    Team Industrial Services, Inc                   44,736.50          0.00     0.00
76 -1    IMA Inc                                         17,500.00          0.00     0.00
77 -1    Protego USA, Inc.                               21,907.35          0.00     0.00
80 -1    Total Quality Logistics LLC                      4,400.00          0.00     0.00
81 -1    Bilfinger Water Technologies Inc                48,949.45          0.00     0.00
82 -1    Total Electric Inc.                             97,807.37          0.00     0.00
84 -1    Sigma Engineers & Constructors, Inc.            10,893.27          0.00     0.00
85 -1    Praxair Distribution Inc                        29,046.58          0.00     0.00
86 -1    Hajoca Corp                                     50,412.56          0.00     0.00
87 -1    Electro Controls Inc                            33,745.00          0.00     0.00
89 -1    United Telephone Company of                       340.52           0.00     0.00
         Kansas/dbaCenturyLink
90 -1    Johnson Controls, Inc.                          63,373.45          0.00     0.00
92 -1    Arkema Inc                                     190,519.35          0.00     0.00
93 -1    Steel Building Sales LLC                        17,404.00          0.00     0.00
94 -1    Pumping Solutions, Inc.                           731.18           0.00     0.00
95 -1    Indiana Steel Fabricating Inc                  200,000.00          0.00     0.00
96 -1    Engineers-Architects PC                         35,610.00          0.00     0.00
100 -1   Fastenal                                         7,512.36          0.00     0.00
101 -1   Adkins Energy LLC                              478,937.07          0.00     0.00
102 -1   JCI Industries, Inc.                           190,567.52          0.00     0.00
104 -1   Central Bank and Trust Co.                   2,428,224.76          0.00     0.00
105 -1   Fremar Corporation                               5,827.90          0.00     0.00
106 -1   Jogler, LLC                                      6,653.45          0.00     0.00
109 -1   American Express Travel Related                 53,968.85          0.00     0.00
111 -1   AimNorth Communications, Inc                    19,578.62          0.00     0.00
114 -1   Mitternight, Inc.                              312,220.95          0.00     0.00
115 -1   Central National Bank                        5,734,350.98          0.00     0.00
116 -1   Coleman Materials LLC                            1,221.20          0.00     0.00
119 -1   FedEx Tech Connect Inc as assignee of            1,427.14          0.00     0.00

 UST Form 101-7-TFR (05/1/2011)
                    Case 16-10759        Doc# 568   Filed 08/16/21   Page 92 of 95
120 -1   Quality Industrial Products, Inc.                      76,249.54                  0.00     0.00
121 -1   Fabsco Fin Air, LLC                                    63,647.00                  0.00     0.00
123 -1   Cardinal Ethanol                                      137,349.91                  0.00     0.00
124 -1   Wilson & Company Inc                                   68,190.00                  0.00     0.00
125 -1   Mid-Missouri Energy, LLC                              965,764.00                  0.00     0.00
128U-1   Ron Beemiller                                         293,097.17                  0.00     0.00
130 -1   Haldor Topsoe, Inc.                                   376,208.71                  0.00     0.00
131 -1   Dore Electric Inc                                        7,495.00                 0.00     0.00
134 -1   East Kansas Agri-Energy, LLC                           17,050.00                  0.00     0.00
135 -1   East Kansas Agri-Energy, LLC                             1,449.93                 0.00     0.00
135 -1   East Kansas Agri-Energy, LLC                             1,449.93                 0.00     0.00
136 -1   Apache Stainless Equipment Corp.                      135,906.90                  0.00     0.00
139 -1   American Warrior, Inc.                              5,000,000.00                  0.00     0.00
140 -1   Prairie Horizon Advanced Fuels, LLC                 7,204,992.95                  0.00     0.00
141 -1   Cecil O'Brate                                       5,000,000.00                  0.00     0.00
142U-1   Cecil O'Brate                                      13,000,000.00                  0.00     0.00
143 -1   Alltite, Inc                                             3,348.70                 0.00     0.00
145 -1   Max Jantz Excavating, Inc.                             56,883.11                  0.00     0.00
153 -1   Interstates Construction Services, Inc.                87,531.72                  0.00     0.00
154 -1   Cogent Inc d/b/a Lee Mathews Equipment                   6,790.00                 0.00     0.00
155 -1   Dean E. Norris, Inc.                                     7,434.33                 0.00     0.00
157 -1   HABCO Inc                                                5,000.00                 0.00     0.00
159 -1   Gilbert Industries Inc                                 62,000.00                  0.00     0.00
160 -1   Tranter Inc                                           115,000.00                  0.00     0.00
163 -1   Professional Engineering Consultants PA                20,000.00                  0.00     0.00
164 -1   Wheeler Services, Inc.                                 11,341.14                  0.00     0.00
165 -1   Coyle Mechanical Supply, Inc.                            5,000.00                 0.00     0.00
166 -1   Nebraska Department of Revenue                           1,452.75                 0.00     0.00
                         Total to be paid for timely general unsecured claims:         $          0.00
                         Remaining balance:                                            $          0.00




 UST Form 101-7-TFR (05/1/2011)
                    Case 16-10759          Doc# 568       Filed 08/16/21         Page 93 of 95
            Tardily filed claims of general (unsecured) creditors totaling $ 34,964.84 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 144 -1        DBI Inc.                                             12,633.00                 0.00               0.00
 149 -1        Campbell Concrete Construction LLC                   12,943.25                 0.00               0.00
 150 -1        Chemaqua                                               4,384.85                0.00               0.00
 151U-1        Ohio Department of Taxation                               300.00               0.00               0.00
 152 -1        Texas Comptroller of Public Accounts                   3,898.25                0.00               0.00
 156 -1        Shred-It USA LLC                                          210.38               0.00               0.00
 158U-1        IL Dept of Revenue Bankruptcy Section                     506.99               0.00               0.00
 161U-1        TDOR co Attorney General BK Unit                           88.12               0.00               0.00
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 5,071.65 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 113U-1        Iowa Department of Revenue                                780.00               0.00               0.00
 21SU-1        Kansas Department of Revenue                           4,291.65                0.00               0.00
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




  UST Form 101-7-TFR (05/1/2011)
                          Case 16-10759        Doc# 568       Filed 08/16/21       Page 94 of 95
UST Form 101-7-TFR (05/1/2011)
                 Case 16-10759   Doc# 568   Filed 08/16/21   Page 95 of 95
